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      1                     UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
      2                           MARSHALL DIVISION

      3
           REMBRANDT WIRELESS               |   DOCKET NO. 2:13CV213
      4    TECHNOLOGIES, LP                 |
                                            |   JANUARY 20, 2015
      5                                     |
           VS.                              |
      6                                     |   9:05 A.M.
                                            |
      7    SAMSUNG ELECTRONICS CO           |
           LTD., ET AL                      |   MARSHALL, TEXAS
      8
          --------------------------------------------------------
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                         VOLUME 1 OF 1, PAGES 1 THROUGH 187
     10
                  REPORTER'S TRANSCRIPT OF PRETRIAL CONFERENCE
     11
                         BEFORE THE HONORABLE ROY S. PAYNE
     12                   UNITED STATES MAGISTRATE JUDGE

     13   --------------------------------------------------------

     14 APPEARANCES:

     15 FOR THE PLAINTIFF:            DEMETRIOS ANAIPAKOS
                                      AMIR ALAVI
     16                               JAMIE AYCOCK
                                      KYRIL TALANOV
     17                               AHMAD, ZAVITSANOS, ANAIPAKOS,
                                        ALAVI & MENSING
     18                               3460 ONE HOUSTON CENTER
                                      1221 MCKINNEY STREET
     19                               HOUSTON, TEXAS 77010

     20                               MICHAEL HEIM
                                      ERIC ENGER
     21                               BLAINE LARSON
                                      HEIM, PAYNE & CHORUSH
     22                               600 TRAVIS, SUITE 6710
                                      HOUSTON, TEXAS 77002
     23
                                      JOHNNY WARD
     24                               WARD & SMITH
                                      1127 JUDSON ROAD, SUITE 220
     25                               LONGVIEW, TEXAS 75606


                                Tonya B. Jackson, RPR-CRR
                                        409.654.2833
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                                                                               2
      1 FOR THE DEFENDANTS:           GABRIELLE HIGGINS
                                      REBECCA HERMES
      2                               ROPES & GRAY
                                      1900 UNIVERSITY AVENUE
      3                               6TH FLOOR
                                      EAST PALO ALTO, CALIFORNIA 94303
      4
                                      JESSE JENNER
      5                               ROPES & GRAY
                                      1211 AVENUE OF THE AMERICAS
      6                               NEW YORK, NEW YORK 10036

      7                               JEFFREY SHERWOOD
                                      DICKSTEIN SHAPIRO
      8                               1825 EYE STREET NW
                                      WASHINGTON, DC 20006
      9
                                      GERARD HADDAD
     10                               JENNIFER BIANROSA
                                      DICKSTEIN SHAPIRO
     11                               1633 BROADWAY
                                      NEW YORK, NEW YORK 10019
     12
                                      MICHAEL SMITH
     13                               SIEBMAN BURG PHILLIPS & SMITH
                                      113 EAST AUSTIN STREET
     14                               MARSHALL, TEXAS 75671

     15

     16 COURT REPORTER:               TONYA B. JACKSON, RPR-CRR
                                      FEDERAL OFFICIAL REPORTER
     17                               300 WILLOW, SUITE 239
                                      BEAUMONT, TEXAS 77701
     18

     19

     20     PROCEEDINGS REPORTED USING COMPUTERIZED STENOTYPE;
           TRANSCRIPT PRODUCED VIA COMPUTER-AIDED TRANSCRIPTION.
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           1                (OPEN COURT, ALL PARTIES PRESENT.)

           2                THE COURT:    For the record, we're here this

           3 morning for the pretrial conference in Rembrandt versus

           4 Samsung, which is Case No. 2:13-213 on our docket.

09:05AM    5                Would counsel state their appearances for the

           6 record.

           7                MR. WARD:    Good morning, your Honor.

           8                THE COURT:    Good morning, Mr. Ward.

           9                MR. WARD:    Johnny Ward, along with Eric Enger,

09:05AM   10 Amir Alavi, Demetrios Anaipakos, and Mike Heim with me at

          11 counsel table; Jamie Aycock, Blaine Larson, Alisa Lipski,

          12 Kyril Talanov, and Andrea Caswell who is our legal

          13 assistant with the AZA firm and she's going to be helping

          14 us with computer graphics this morning.

09:06AM   15                THE COURT:    Very good.      Thank you, Mr. Ward.

          16                Good morning, Mr. Smith.

          17                MR. SMITH:    Thank you, your Honor.        For

          18 Samsung, Michael Smith; and with me at counsel table is

          19 Gabrielle Higgins, Jesse Jenner, Jeff Sherwood, Gerry

09:06AM   20 Haddad; and then in the first row, Ms. Rebecca Hermes and

          21 Jennifer BianRosa.         We are ready to proceed.

          22                Oh, and also we have our director of

          23 litigation Ms. Michelle Yang in the gallery.              And we are

          24 ready to proceed, your Honor.

09:06AM   25                THE COURT:    Very well.      Thank you, Mr. Smith.


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           1                Let me start off with just the logistical

           2 items.   This case is the first case up on the February 9

           3 trial docket for Judge Gilstrap.             There are other cases

           4 on that docket; but this is the case that is set first.

09:06AM    5 So, you can count on that.

           6                Jury selection will start that morning.               Voir

           7 dire is currently at 40 minutes per side, I think is what

           8 Judge Gilstrap is going with at this time.              I think that

           9 local counsel on both sides are familiar with the -- with

09:07AM   10 Judge Gilstrap's requirements for voir dire; but I'll

          11 just repeat that his practice is that the parties can use

          12 the first three minutes or so for background and case

          13 introduction purposes.        The rest of it should be

          14 specifically questioning the jury panel -- in other

09:07AM   15 words, trying to elicit the jury's feelings and

          16 experience on matters -- rather than arguing the case to

          17 the jury.      And he does occasionally cut people off who

          18 wander into argument.        So, counsel should bear that in

          19 mind.

09:08AM   20                He will allow four peremptory strikes and seat

          21 a jury of eight jurors.         The jury will be presented with

          22 jury notebooks once they're seated and will -- I'll get

          23 Mr. Walter to send you out an e-mail with more details.

          24 I think that the practice on that is well familiar to

09:08AM   25 local counsel as far as what the contents of those jury


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           1 notebooks should be, but obviously the patents at issue

           2 and the court's claim construction chart.

           3                If you have stipulations -- I don't recall

           4 there being any material stipulations in the pretrial

09:09AM    5 order in this case.       If there are any stipulations that

           6 you want to present to the jury, then I think the favored

           7 way to do that would be by a stipulation that can be

           8 included in the jury notebook as opposed to reading those

           9 to the jury.

09:09AM   10                And obviously, then, the -- one of the most

          11 important features is a witness page for each witness

          12 that you'll call to the trial; and that would also

          13 include witnesses whose testimony will be presented by

          14 deposition, the idea being that there will be a page that

09:09AM   15 the jurors can take notes on that will have the photo of

          16 the witness and help them remember during deliberation

          17 exactly who that witness was and thereby help them

          18 remember, when the parties disagree about what the

          19 witnesses said.      They'll be in a better position to

09:10AM   20 evaluate the arguments on those things.             So, that's an

          21 important feature that there be such a page for each

          22 witness in the book.        Typically those are provided at the

          23 time the notebooks are delivered before the trial starts.

          24 There are occasions when you're not able to get the photo

09:10AM   25 of a witness before the trial starts; and, so, those can


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                                           409.654.2833
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           1 be supplemented, as long as the jury gets them before the

           2 testimony begins.

           3                I think Judge Gilstrap's current practice is

           4 to conduct the voir dire and swear the jury in and then

09:11AM    5 break for lunch.       So, the lunch may be a little early or

           6 a little late based on just when that completes; but the

           7 evidence will start after lunch and typically the

           8 openings after lunch as well.

           9                I think you can plan on 30 to 35 minutes per

09:11AM   10 side for openings.       Closings, the judge will give you

          11 those during the trial.         We'll confirm.      If it's any

          12 different, it will be in an e-mail that you'll get as far

          13 as the length of the openings.           But it will be in that

          14 range, and we'll specify exactly what it is.

09:12AM   15                It's very important that Judge Gilstrap wants

          16 to not keep the jury waiting during the time when they're

          17 here.   So, he will be available, starting at 7:30 each

          18 day, to take up any contested matters before the jury

          19 reports for service.        We're going to go over a protocol

09:12AM   20 for you to meet and confer about any issues that come up

          21 during the trial, and part of that -- an important part

          22 of that protocol will be that you notify the judge's

          23 office the evening before if you are going to need time

          24 to take something up the next morning.

09:13AM   25                Breaking news on the length of the openings


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           1 and closings.       25 minutes for the openings, 35 minutes

           2 for the closings.        That's the latest information.

           3                And I don't recall seeing an agreement of the

           4 parties about that.         Mr. Ward and Mr. Smith, have you

09:13AM    5 discussed that?       Do you have any agreements on how you're

           6 going to notify each other about the order of witnesses

           7 and the exhibits or demonstratives that will be used?

           8                MR. WARD:    We have not discussed that, your

           9 Honor.     We'll do that.      I don't think that will be a

09:14AM   10 problem.       It's fairly pretty standard.         What's the

          11 court's deadline for when he wants to be notified?                    Is it

          12 9:00 o'clock?       Is it 8:00 o'clock?        Or is there a

          13 deadline?

          14                THE COURT:     I mean, it's usually by agreement,

09:14AM   15 frankly; but I would think that -- I mean, what we're

          16 asking now is that you notify the law clerk -- in this

          17 case Mr. Walter -- about any disputes the evening before;

          18 and, you know, if you have particular constraints that

          19 set a particular time -- typically it's, you know, by

09:14AM   20 10:00 p.m.; but I don't -- we can vary that.               If there's

          21 a need to be able to contact somebody somewhere and

          22 they're not available until later, I mean, that's

          23 something that can be worked out.

          24                MR. WARD:    Okay.

09:15AM   25                THE COURT:     The hope is that y'all can make an


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           1 agreement that satisfies your needs.            I mean, as a

           2 default, I would -- in terms of the order of witnesses, I

           3 would typically say if you don't agree on something

           4 different, then you should notify the other side by the

09:15AM    5 end of the trial day who you're going to call.              But if

           6 you want to agree on 6:00 or 7:00 or some later time,

           7 that's fine.

           8               MR. WARD:    Certainly.

           9               THE COURT:    And I don't know if you have a

09:15AM   10 need to -- or if you want to agree to disclose

          11 demonstratives.      That's something you can work in.               Our

          12 goal, you know, is just to make sure that if you've got a

          13 dispute, that it gets aired before the jury is in the

          14 box.   And as long as the system you come up with avoids,

09:15AM   15 you know, disruption of the trial, then you won't have

          16 any problem from us.

          17               MR. SMITH:    We'll get together on that, your

          18 Honor, and see if we can come up with something by

          19 agreement.

09:16AM   20               THE COURT:    Okay.    I would expect that we're

          21 probably going to end up getting back together on

          22 exhibits and deposition cuts.          So, we can just make sure

          23 this gets resolved by that date.            However, you may

          24 surprise me and be ready to take care of all those today,

09:16AM   25 but anyway.


                                  Tonya B. Jackson, RPR-CRR
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           1               MR. WARD:    As usual, I think limines will

           2 inform a lot of the exhibits, although there are some

           3 categories that we might be able to get some guidance

           4 from the court outside of the limines that we're ready to

09:16AM    5 take up on the exhibits, just to kind of give you a

           6 heads-up.

           7               THE COURT:    Okay.    One thing about witnesses

           8 that is I think becoming well known to local counsel at

           9 least, it's important that you instruct your team that

09:16AM   10 Judge Gilstrap expects the formality of the proceedings

          11 to be maintained in the sense that witnesses are to be

          12 referred to only by full names or last names, not just by

          13 first names.     And that's something that while you're

          14 talking to witnesses you should go over.             So, anyway,

09:17AM   15 thank you.

          16               MR. WARD:    One item we didn't discuss -- and

          17 it's because we just e-mailed it, and I didn't e-mail it

          18 to Mr. Walter.      It was e-mailed to Mr. First -- was the

          19 juror questionnaire.       We might be a day late and a dollar

09:17AM   20 short, but we at least agreed on it and e-mailed it to

          21 Mr. First.     I e-mailed it at 8:00 o'clock this morning.

          22 It's identical with the exception of Samsung's name in

          23 rather than Apple's name.         But just to bring that to the

          24 court's attention.

09:17AM   25               THE COURT:    It's my understanding that that's


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           1 the same questionnaire that Judge Gilstrap has approved

           2 now for the SmartFlash trial which is the next week.

           3               MR. WARD:    Correct.

           4               THE COURT:    And I understand from our jury

09:18AM    5 coordinator that that is timely, that we can use that.

           6 Both sides are in agreement with the document that was

           7 sent in or not?

           8               Have you had a chance to look at that,

           9 Mr. Smith?

09:18AM   10               MR. SMITH:    I have, your Honor; and we are in

          11 agreement with it.

          12               THE COURT:    Okay.     Then we will get that sent

          13 out, and it will be available for you on that Thursday

          14 afternoon before Monday the 9th.

09:18AM   15               MR. WARD:    And will we get the juror -- in

          16 addition to the juror questionnaire, the identities of

          17 the jury panel, do we get that on that Thursday before as

          18 well?

          19               THE COURT:    Yes.

09:18AM   20               MR. WARD:    Okay.    Thank you.

          21               THE COURT:    Okay.     Thank you both.

          22               It is Judge Gilstrap's practice also that any

          23 Rule 50(a) motions should be reserved until the close of

          24 all the evidence and that the record will indicate here

09:19AM   25 that you're protected on waiting until the close of all


                                  Tonya B. Jackson, RPR-CRR
                                          409.654.2833
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           1 the evidence.     There is no need to urge those motions

           2 when the plaintiff rests as long as they're asserted

           3 after the close of all the evidence, and the judge will

           4 give you an opportunity to do so.

09:19AM    5               There will also be an informal charge

           6 conference after the close of all the evidence.

           7               What is the status of the jury instructions?

           8 Has a joint set been offered or filed by the parties?

           9               Mr. Smith?

09:19AM   10               MR. SMITH:    Interpreting "joint" broadly, yes,

          11 it has, your Honor.

          12               THE COURT:    Okay.

          13               MR. ALAVI:    Your Honor, as a strict

          14 instructionist, I'd say that we have not.             I believe the

09:20AM   15 parties have agreed to try to work through and see if we

          16 can submit a joint instruction for the court to consider,

          17 and we'll take that up again and work on it.

          18               THE COURT:    Okay.    Then, you know, what we

          19 mean by "joint" is a single document that doesn't just

09:20AM   20 have competing paragraphs.          In other words, if y'all are

          21 in agreement on all but a sentence or two of a section,

          22 we would ask that the joint document simply single out

          23 the sentence or two that are not agreed to so that we can

          24 focus the dispute as much as possible.            It's not

09:20AM   25 particularly helpful to the court to have two very


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                                          409.654.2833
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           1 similar but materially different offerings.              We want to

           2 be able to tell where you agree and disagree, and

           3 certainly you're much more likely to get instructions

           4 that resemble what you're offering if you focus the

09:21AM    5 dispute as much as possible.         So, that's what we mean by

           6 "joint"; and you've got a lot of past instructions to

           7 guide you in that regard.         I'm sure that that's something

           8 that local counsel on both sides have great access to

           9 but -- let's see.

09:21AM   10               Craig, when do we need to get those filed?

          11               (Discussion off the record between the court

          12 and the law clerk.)

          13               THE COURT:    So, what we'd ask in that regard

          14 is if you can file your joint set by February the 2nd,

09:21AM   15 the Monday before the Monday of trial.            And whenever I

          16 talk about jury instructions, I'm talking about a verdict

          17 form as well.     So, to the extent you can agree on the

          18 format of a verdict form, that will be helpful.               And

          19 certainly you know the court has practices and, you know,

09:22AM   20 to the extent you can get close to what the court has

          21 done in the past, again you're more likely to get the

          22 things that are important to you.

          23               Okay.   I know that you're still working on

          24 objections to exhibits; but just to confirm, the practice

09:22AM   25 will be that at the end of this process there will be a


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           1 list of preadmitted exhibits.          Those exhibits can be used

           2 by either side, you know, at any stage of the case

           3 without any further foundation or introduction.

           4               However, as the trial goes along, we will ask

09:23AM    5 the parties to submit lists at the end of each day or

           6 beginning of the next day of the exhibits that have

           7 actually been used in front of the jury because it is not

           8 all of the preadmitted exhibits that will form part of

           9 the record.     It is only the preadmitted exhibits that are

09:23AM   10 used in front of the jury.         And, so, we're going to ask

          11 you by either the end of the day, if you can get it done

          12 then, or the beginning of the next day to submit to the

          13 courtroom deputy clerk a list -- an agreed list of the

          14 exhibits that are used; and those will be the exhibits

09:23AM   15 that will be available for the jury to review during

          16 deliberation if they want to and will be considered a

          17 part of the record for appeal.          But anything that is not

          18 on that preadmitted exhibit list will not be available to

          19 be used during the trial unless it is truly impeachment.

09:24AM   20               And impeachment is fairly narrowly construed.

          21 It's not a matter of rebuttal; it's not a matter of

          22 contradiction.      It's a matter of showing that the witness

          23 has previously said or done something -- or I guess

          24 actually has previously said something that is directly

09:24AM   25 contrary to the testimony offered in court.


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                                          409.654.2833
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           1               Any questions about those procedures from

           2 either side?

           3               MR. SMITH:    No, your Honor.

           4               MR. ALAVI:    I have one.      And I'll meet and

09:24AM    5 confer with opposing counsel about this.             But I think

           6 both sides have conditional exhibits on their list; so, I

           7 think both sides want to talk about if we preadmit those

           8 and then -- there's an exhibit, for example, that

           9 defendants have listed as conditional, they're not going

09:25AM   10 to want us to use them because they're not fully offering

          11 them.   So, perhaps we could meet and confer on that and

          12 figure out a solution to that.          Both sides have that

          13 issue on their exhibit list, unless the court has already

          14 dealt with that before and has a proposed solution.

09:25AM   15               THE COURT:    Well, I've dealt with it before;

          16 and we don't have a conditional exhibit list.              I mean,

          17 there will occasionally be an exhibit that will not be

          18 put on the preadmitted list because it needs a foundation

          19 that can only be laid in court and those will be

09:25AM   20 specified and, you know, you'll have to lay that

          21 foundation before you can use it.           That's a pretty narrow

          22 category, given what the federal rules now say about

          23 authentication and the like.         So -- but I don't

          24 understand -- if what you're describing as conditional is

09:26AM   25 "We're not sure if we want to use it," that is not a


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           1 category of -- well, I guess I'll wait until I hear the

           2 argument on just what you mean by that.

           3               MR. ALAVI:     This was perfect guidance for us,

           4 your Honor.

09:26AM    5               THE COURT:     Okay.

           6               MR. ALAVI:     I think most of them fall out

           7 based on how motions in limine are resolved.               That was a

           8 question that popped up, and your guidance gives us what

           9 we need.      Thank you.

09:26AM   10               THE COURT:     Okay.    And with respect to

          11 deposition cuts, the same thing.             I mean, we will work it

          12 down to where all of the deposition designations are

          13 either agreed to or resolved.           You may still -- either

          14 side may still decide not to play some deposition based

09:27AM   15 on the decisions that they make at trial, but we're not

          16 going to leave it so that there are any objections to

          17 those available deposition clips that have not been

          18 resolved.

          19               When you're working on your protocol regarding

09:27AM   20 notification about order of witnesses and all, you should

          21 also decide what protocol you want to develop on exchange

          22 of demonstratives.         The court has typically not required

          23 any exchange of demonstratives to be used for

          24 cross-examination but certainly occasionally the parties

09:28AM   25 agree to it and that's available if you want to.                But the


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           1 goal is to make sure that any objections to

           2 demonstratives are aired before the trial starts that day

           3 so that there isn't any need to slow things down for

           4 them.     So, as long as your protocol takes care of that,

09:28AM    5 then it will be fine.         And if you have any more questions

           6 about exactly how that should work, we'll take those up

           7 when you've met and conferred and come up with it.

           8               All right.     The -- as far as the length, I saw

           9 that the parties indicated that they agreed the case

09:28AM   10 could be resolved in five days.           Looking at this and

          11 looking at the way Judge Gilstrap has been handling

          12 these, I don't see anything in this case that would

          13 indicate that the parties need more than ten hours per

          14 side; but I'll want to hear any arguments that the

09:29AM   15 parties may have about that.

          16               Do you -- Mr. Ward or --

          17               MR. WARD:     Ten hours is fine with the

          18 plaintiff, your Honor.

          19               THE COURT:     Mr. Smith?

09:29AM   20               MR. SMITH:     Your Honor, I think we would ask

          21 for 12.    It's to some extent contingent on what the

          22 court's rulings are on the pending motions and limine

          23 motions.      But if we have to develop a lot of issues

          24 through cross-examination, we think that this would be a

09:29AM   25 case where we'd like to have up to 12 hours per side.


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           1               THE COURT:     Okay.    Well, I'll give you a

           2 chance to re-urge that then when we finish the motions in

           3 limine and we'll see.         At this point I'm going to say ten

           4 hours per side, but that's subject to revisiting if

09:29AM    5 necessary.

           6               One thing I -- I saw in the record that the

           7 parties had agreed to, I believe, and the court had

           8 appointed Judge Michel as the mediator in this matter and

           9 I saw a reference to a mediation that occurred in July.

09:30AM   10 Has there been any further mediation since then?

          11               MR. ANAIPAKOS:      Good morning, your Honor.

          12 Demetrios Anaipakos.        There has not.       We had the one

          13 session with Judge Michel and none since then.

          14               THE COURT:     All right.      Is there any reason

09:30AM   15 why there should not be any further effort in that

          16 regard?

          17               MR. ANAIPAKOS:      We wouldn't object to it, your

          18 Honor.

          19               THE COURT:     All right.

09:30AM   20               MR. SHERWOOD:      Your Honor, Jeff Sherwood for

          21 Samsung.      We don't certainly have any objection to having

          22 further mediation.

          23               THE COURT:     All right.      Well, what -- have

          24 there been any settlement discussions since the mediation

09:31AM   25 session in July?


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           1               MR. SHERWOOD:     There have not, your Honor.

           2               MR. ANAIPAKOS:     No, your Honor.

           3               MR. SHERWOOD:     The parties were quite far

           4 apart, your Honor.       That's why it didn't seem productive.

09:31AM    5               THE COURT:    All right.      Well, I may consult

           6 with Judge Michel; and we'll get back to the parties on

           7 that.   Thank you.

           8               MR. ANAIPAKOS:     Your Honor, if I might.

           9 Although we would certainly be happy to go back to

09:31AM   10 Judge Michel, I have found in other cases that he is

          11 quite difficult to schedule.         So, we would also -- to the

          12 extent it's appropriate, we would agree to a mediator

          13 other than Judge Michel for scheduling purposes.

          14               THE COURT:    Okay.    All right.

09:31AM   15               Mr. Sherwood.

          16               MR. SHERWOOD:     Well, I think in the first

          17 instance we ought to find out if Judge Michel can squeeze

          18 us into his schedule because he obviously knows the case

          19 and knows the history.        That makes the most sense to me,

09:31AM   20 your Honor.

          21               THE COURT:    And I'm not hearing anything

          22 different from plaintiff's counsel.           Okay.    Thank you.

          23               All right.    I know that there is a motion to

          24 stay pending IPR review that was filed back last summer.

09:32AM   25 I know that there's been a recent -- or more recent


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           1 update based on what the PTAB did with that petition.

           2 It's my understanding that the PTAB has not granted

           3 review on a significant number of claims from the '580

           4 and at least one of the asserted claims from the '228,

09:32AM    5 unless I have those backwards.           But I -- so, my intention

           6 would be to formally deny that motion for stay; but if

           7 the parties have any further argument that they want to

           8 offer not in terms of case law but in terms of why it

           9 would make sense in this case to wait, I'll hear those

09:33AM   10 arguments.

          11               MR. SHERWOOD:      Your Honor, Jeff Sherwood for

          12 Samsung.      Just very briefly.      The court is correct that

          13 the PTAB has not instituted trial with respect to all of

          14 the claims; and, in fact, we got an e-mail last night, I

09:33AM   15 guess, from the plaintiff saying that it has reduced the

          16 scope of its claims to just those that are not instituted

          17 for trial with the PTAB.

          18               However, with respect to the '580, we strongly

          19 believe that there are certain things that the PTAB

09:33AM   20 overlooked; and as a consequence of the PTAB's rulings on

          21 the initial petitions, we filed additional petitions,

          22 which was our right to do, about three months ago.                    So,

          23 the timing with respect to those is that the statutory

          24 deadline for a decision will not run its course for about

09:34AM   25 another three months.         Decision could be made sooner;


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           1 but, you know, at this point nobody obviously knows how

           2 that's going to go.

           3               With respect to the '228 patent, the PTAB

           4 instituted trial on every claim except one; and Rembrandt

09:34AM    5 has notified us that it is only going to trial with

           6 respect to that one claim on the '228.            We think here

           7 again the PTAB overlooked some things with respect to

           8 that decision.      We have a pending motion for rehearing

           9 with respect to that one, and we have the right and will

09:34AM   10 file sometime this -- or have filed, I guess -- I knew it

          11 was going to happen this month -- additional petitions

          12 with respect to that patent.

          13               So, every one of them remain -- every claim,

          14 that is -- remains before the PTAB either for some trial

09:34AM   15 action -- admittedly not with respect to the ones that

          16 Rembrandt now asserts -- or, you know, we have asserted

          17 additional rights with respect to those.             So, what I'd

          18 like to just say to the court -- and I appreciate where

          19 we are in the proceedings and how the court may view

09:35AM   20 this; but, nonetheless, I -- Samsung has timely filed

          21 these petitions.      It has operated entirely within the

          22 ambit of the AIA and the PTAB's rules.            The motion to

          23 stay seeks to give Samsung the benefit of those rights

          24 and to have this review before the PTAB before the

09:35AM   25 jury -- a jury is required to actually sit and hear these


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           1 issues.

           2               I don't think -- and, you know, this is in our

           3 papers; so, I'm not going to -- if I understand the

           4 court, you're not asking me to reargue the motion; and

09:35AM    5 I'm not going to do that.

           6               THE COURT:    That's right.

           7               MR. SHERWOOD:     But I don't see that there is

           8 any prejudice here, recognizing of course that a lot of

           9 work has gone into getting ready to take this case to

09:36AM   10 trial.    So, that's where we stand today, your Honor.

          11               THE COURT:    All right.      Thank you,

          12 Mr. Sherwood.

          13               MR. SHERWOOD:     So, your Honor, just to be

          14 totally clear, we are still asking for a stay.

09:36AM   15               THE COURT:    I do understand that, and you're

          16 not waiving any position.         I guarantee that.

          17               MR. SHERWOOD:     Thank you.

          18               THE COURT:    Sure.

          19               MR. HEIM:    Your Honor, I'm happy to respond if

09:36AM   20 you'd like to hear a response.

          21               THE COURT:    Particularly as to the claims

          22 being asserted.      That would be helpful for me to know

          23 what your position on that is.

          24               MR. HEIM:    Absolutely, your Honor.         So,

09:36AM   25 Samsung has filed ten IPRs with respect to these two


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           1 patents, the '580 patent and the '228 patent.              There were

           2 decisions -- the initial decisions were issued by the

           3 Patent and Trademark Office in September for the '580 and

           4 in December for the '228 patent.            With respect to both of

09:36AM    5 those decisions, there are certain claims that the PTAB

           6 has indicated that it is not going to institute an IPR;

           7 and with respect to those claims, Rembrandt is going to

           8 assert a subset of those claims.            In other words, the

           9 only claims that are going to be asserted at trial in

09:37AM   10 this case are claims for which the PTAB has denied

          11 instituting an IPR.

          12               So, with respect to those claims, if we look

          13 at the reasons that the courts typically look at for

          14 issuing a stay, absolutely none of those apply here.                 The

09:37AM   15 stay is not going to simplify the issues because the PTAB

          16 denied instituting IPR on those claims.

          17               THE COURT:    And you don't need to address the

          18 factors.

          19               MR. HEIM:    Okay.

09:37AM   20               THE COURT:    I understand your position on

          21 them.   But which of the claims are you still asserting?

          22 I guess that's what I'm asking.

          23               MR. HEIM:    The claims that we're going to

          24 assert at trial, your Honor, are '580 claims 2, 19, 52,

09:37AM   25 and 59 and claim -- '228 patent claim 21.             All of those


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           1 claims have not been rejected or an IPR instituted on any

           2 of those claims.

           3               Defendant has filed additional IPRs, three

           4 additional IPRs, after the one-year date.             They are

09:38AM    5 seeking to make new arguments, enjoin their previous

           6 IPRs.   The PTAB is reviewing that right now.             There has

           7 been an opposition to that motion for joinder.              No

           8 telling when that's going to be decided.             If it is

           9 decided, I'm relatively confident that there are going to

09:38AM   10 be appeals that flow from that joinder decision.

          11               THE COURT:    Okay.    Well, I understand that

          12 Samsung is within its rights in pursuing all of the

          13 appeals and review that the PTAB has to offer; but I am

          14 going to deny the motion to stay with respect to the

09:38AM   15 asserted claims and will issue something in writing that

          16 formalizes that for the record.          But I just want the

          17 parties to know that's coming.

          18               MR. SHERWOOD:     Your Honor, just one other

          19 thing that I should have mentioned when I was up before.

09:39AM   20 In the e-mail, what Rembrandt says is that it's only

          21 asserting these five claims now and reserves the right to

          22 assert additional claims in the future, which I would say

          23 is sort of a "two bites at the apple" kind of strategy

          24 here.   And I think that those claims that they are not

09:39AM   25 asserting that they have said they're going to drop need


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           1 to be dismissed with prejudice.

           2               THE COURT:    Well --

           3               MR. SHERWOOD:     And if they weren't dismissed

           4 with prejudice, your Honor, then it seems to me that's

09:39AM    5 ample basis for a stay.

           6               THE COURT:    I tell you, that is an issue that

           7 is not before me at the moment and if it needs to be

           8 presented by either side, they can do so and we'll take

           9 it up on that basis; but I'm not going to address that by

09:40AM   10 the seat of my pants.

          11               MR. SHERWOOD:     So, your Honor, I understand

          12 then we could file a motion with respect to that?

          13               THE COURT:    Absolutely.

          14               MR. SHERWOOD:     Thank you, your Honor.

09:40AM   15               THE COURT:    Okay.     And by the "absolutely,"

          16 I'm not trying to communicate that I have a particular

          17 position on it.      I'm just saying you're free to file one.

          18               MR. SHERWOOD:     I understood, your Honor.

          19               THE COURT:    Okay.     There was an objection to

09:40AM   20 certain witnesses that I think -- I know the defendant

          21 filed an objection to certain of plaintiff's witnesses,

          22 and it may be true that there is an objection going the

          23 other way.     But if there are objections to witnesses that

          24 are not reflected in the motions in limine which we're

09:40AM   25 about to take up, tell me that now.


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           1               Is there some objection beyond the motions

           2 in limine?     Mr. Enger?

           3               MR. ENGER:    Your Honor, I'll let defense

           4 counsel speak for themselves; but I understand that the

09:41AM    5 three witnesses that are the subject of objections are

           6 all going to be covered in the motions in limine.

           7               THE COURT:    Okay.     That's good.     Everybody is

           8 in agreement?

           9               MR. SHERWOOD:     Yes, your Honor.

09:41AM   10               THE COURT:    All right.      Then let's turn to the

          11 motions in limine.

          12               MR. ANAIPAKOS:       Your Honor, might I ask one

          13 more housekeeping question?

          14               THE COURT:    Yes.

09:41AM   15               MR. ANAIPAKOS:       Is there a particular

          16 preference or practice that the court has with respect to

          17 publishing exhibits to the jury that have obviously been

          18 preadmitted?

          19               THE COURT:    All of the exhibits are presented

09:41AM   20 to the jury through the document display system, if

          21 that's what you mean, as opposed to being in paper.

          22               MR. ANAIPAKOS:       Correct, your Honor.

          23               THE COURT:    Yeah.     They're -- you know, I'm

          24 not going to say it will never happen; but I have not yet

09:41AM   25 heard of a reason why the court has agreed to give the


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           1 jury any paper exhibits.         I mean, other than the contents

           2 of the jury notebooks that we've been over, those are the

           3 only things that the jury typically has in paper.                And if

           4 you have a -- an argument you want to present on why we

09:42AM    5 should vary that on a particular thing, you're free to

           6 make it; but the expectation is that all the exhibits

           7 will be shown to them through the electronic system.                  And

           8 that obviously is free for both sides to review that -- I

           9 think everybody -- the local counsel I know are familiar

09:42AM   10 with it.      There are screens that the jurors have now in

          11 the jury box that they didn't have previously and, so, I

          12 don't know if everybody has worked with the newer

          13 equipment up there, but that's the way it's presented to

          14 the jury.

09:43AM   15               MR. ANAIPAKOS:      Thank you, your Honor.

          16               THE COURT:     All right.      Okay.    Who wants to

          17 present the plaintiff's side of its motions in limine?

          18               MR. ANAIPAKOS:      Your Honor, Demetrios

          19 Anaipakos.     It looks like we've divided that by motion,

09:43AM   20 if that's appropriate with the court.

          21               THE COURT:     All right.      Well, let's take them

          22 up in whatever order you want to.

          23               MR. ANAIPAKOS:      Your Honor, I'll address the

          24 first handful.

09:43AM   25               THE COURT:     Okay.


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           1               MR. ANAIPAKOS:     On the first motion in limine,

           2 your Honor, I believe that we are largely in agreement.

           3 This is the motion that relates to the use of what we

           4 consider to be disparaging terms, "patent troll," things

09:43AM    5 like that.     It appears as though Samsung has agreed to

           6 limit its use to the term "patent assertion entity" and

           7 also wants to be able to make the point that Rembrandt

           8 does not make or sell products.

           9               Your Honor, in our view, that's acceptable;

09:44AM   10 but it really is a question of degree.            If the suggestion

          11 is so repetitive with every witness at every turn, as in

          12 other cases we have found that to be, and there is some

          13 suggestion that the fact that the entity asserts patents

          14 is somehow nefarious or immoral, then we would want to

09:44AM   15 revisit that with the court.         But with that context, sort

          16 of a limitation on the manner in which the terms are

          17 used, we would be in agreement, I believe, on Motion

          18 in Limine No. 1.

          19               THE COURT:    All right.      Let me ask you if you

09:44AM   20 can argue this one in connection with what I think is the

          21 last one of the defendants' motions in limine regarding

          22 the Intellectual Discovery entity.           Because it seems to

          23 me in my mind that those two are somewhat related.

          24               MR. ANAIPAKOS:     Your Honor, Mr. Enger can

09:45AM   25 address that; but you've correctly predicted where we


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           1 would go with that.        At least my sense is that if we did

           2 get in -- sort of cross the line that I tried to

           3 describe, albeit imperfectly, a moment ago, that that

           4 would, in our view, open the door to a discussion of

09:45AM    5 Samsung's investments in nonpracticing entities.               But if

           6 Mr. Enger has something material to add, I'll step aside.

           7               THE COURT:    All right.

           8               MR. ENGER:    Your Honor, my co-counsel

           9 Mr. Anaipakos pretty much correctly summarized our

09:45AM   10 position.     If the line is crossed to suggest that

          11 Rembrandt as a patent assertion entity is doing something

          12 wrong or there's something immoral or improper about that

          13 type of entity, there's evidence that Samsung is a major

          14 shareholder in a company called "Intellectual Discovery"

09:46AM   15 which does the exact same thing.            What's good for the

          16 goose is good for the gander.          If they can make the

          17 arguments about us, we should be able to return and make

          18 the same arguments about Samsung.

          19               THE COURT:    And, so, my understanding is that

09:46AM   20 you're saying that if a line is drawn that gives you

          21 whatever protection you think you need on this issue,

          22 that you do not intend to pursue the Intellectual

          23 Discovery issue?

          24               MR. ENGER:    That's correct, your Honor.

09:46AM   25               THE COURT:    Let me hear from counsel for


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           1 defendant.

           2               Mr. Sherwood.

           3               MR. SHERWOOD:     Thank you, your Honor.

           4               So, I think Mr. Anaipakos has fairly stated or

09:46AM    5 understood our position from our brief.             We're not -- we

           6 agree not to use all these terms like "patent troll,"

           7 "bounty hunter," so forth, that are in their brief.                   We

           8 do think that we are entitled to inform the jury with

           9 respect to what Rembrandt actually is, which is a patent

09:47AM   10 assertion entity, and it's a fine enough term for us to

          11 use and to reflect that it doesn't sell products and that

          12 sort of thing.

          13               If I understand the back and forth that's

          14 going on here, what they're saying in effect is that if

09:47AM   15 we open the door -- in other words, we go beyond what

          16 we're agreeing to here -- that they would have a right to

          17 respond with respect to the Intellectual Discovery, or

          18 whatever it's called, investment that Samsung has.                   And I

          19 understand that; and I don't have any problem with that,

09:47AM   20 your Honor.

          21               THE COURT:    I just want to have this line as

          22 clearly defined as possible so that hopefully we don't

          23 have to get into -- or Judge Gilstrap doesn't have to get

          24 into at trial whether it's been crossed.             So, my goal

09:47AM   25 right now is to make sure that both sides are very clear


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                                          409.654.2833
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           1 and the court is clear on what the line is so that we

           2 won't have that problem.        This is not the first time this

           3 issue has come up; but in the past when it's come up, it

           4 has come up so late in the case, as in late in the trial,

09:48AM    5 that that was the way it was resolved.            And I think it's

           6 being raised on a timely basis now; so, I just want to

           7 make sure.

           8               So, what you're saying is that the court can

           9 grant Motion in Limine No. 1 except as to your ability to

09:48AM   10 argue and put on evidence that Rembrandt is a patent

          11 assertion entity and that it does not manufacture or sell

          12 products in this field.

          13               MR. SHERWOOD:     Right, right.      The only other

          14 little thing I would add is that to the extent they try

09:48AM   15 to argue commercial success as an indicator of

          16 nonobviousness, we could of course say that they have had

          17 no commercial success to point to because they have no

          18 product that they've sold.

          19               THE COURT:    And certainly -- yeah, my -- I

09:49AM   20 wouldn't think that argument would implicate this line

          21 but --

          22               MR. SHERWOOD:     I'm just trying to be careful

          23 here.    That's all, your Honor.

          24               THE COURT:    And I appreciate that.

09:49AM   25               MR. SHERWOOD:     And because you asked for that,


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           1 I want to be thorough about this.

           2               THE COURT:    And I'm not disagreeing with you.

           3 I'm just trying to think through whether that's something

           4 I need to further explore on the record, but I don't

09:49AM    5 think I need to.

           6               Any other way in which you think we could get

           7 close to this line that we ought to take up now?

           8               MR. SHERWOOD:     I don't think so, your Honor.

           9               THE COURT:    Well, the effect of granting the

09:49AM   10 motion is that if you decide there is something else that

          11 you feel is close to it, then you should raise that at a

          12 bench conference or out of the presence of the jury.

          13               MR. SHERWOOD:     Right, right.      Yes, right.       I

          14 understand, your Honor.        That's in limine, in other

09:49AM   15 words.

          16               THE COURT:    Yes.

          17               MR. SHERWOOD:     Right.      And, so, I think also

          18 that would mean that our No. 14 would be granted.

          19               THE COURT:    That is where I think we're going.

09:50AM   20 Unless the door was opened because of a violation of this

          21 ruling on Motion in Limine No. 1, then they would not be

          22 entitled to get into in any way the Intellectual

          23 Discovery.

          24               MR. SHERWOOD:     Right, right, yes.

09:50AM   25               THE COURT:    Okay.


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                                          409.654.2833
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           1               MR. SHERWOOD:     That's my understanding, your

           2 Honor.

           3               THE COURT:    Good.    Is there anything --

           4               MR. SHERWOOD:     I guess Mr. Jenner is saying if

09:50AM    5 they attempt to violate this ruling --

           6               THE COURT:    Well, I'm going to grant 14 also

           7 when we get there so that you will have that protection

           8 as well.

           9               MR. SHERWOOD:     Okay.    Great.    Thank you, your

09:50AM   10 Honor.

          11               THE COURT:    Okay.    Anything else on that,

          12 Mr. Anaipakos, that we need to take up?

          13               MR. ANAIPAKOS:     No, your Honor.       Thank you.

          14               THE COURT:    Okay.    Then we're on to No. 2.

09:51AM   15               MR. ANAIPAKOS:     Your Honor, I would hope that

          16 No. 2 is likewise simple to resolve.            It seems like it's

          17 really twofold in my mind.          One is that we don't believe

          18 there's a need to review or a relevant purpose in

          19 reviewing the ownership structure of Rembrandt, what

09:51AM   20 entities own what patent rights, what entities are the

          21 parent entities, the subsidiaries, et cetera.              It doesn't

          22 seem relevant to any claim or defense.

          23               And, also, your Honor, we would request that

          24 the court grant the motion in limine as to the term

09:51AM   25 "corporate shell."       It seems to suggest that there's some


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           1 nefarious purpose to having an entity that only holds the

           2 patent, which isn't countenanced by the law.              And

           3 interestingly enough, your Honor, in defendants'

           4 response, in Tab D they included this court's order in

09:51AM    5 the SSL case which in Motion in Limine No. 10 explicitly

           6 granted the motion in limine as to the phrase "corporate

           7 shell."   So, for the same reasons, we would request that

           8 the court grant the motion as to that term.

           9               THE COURT:    Okay.    Mr. Sherwood, I guess my

09:52AM   10 question would be:       Is there anything within the scope of

          11 this motion regarding Rembrandt's corporate structure

          12 that you do intend to or need to get into?

          13               MR. SHERWOOD:     Well, so, the only thing I was

          14 going to say, your Honor, the phrase "corporate shell" I

09:52AM   15 don't think of as being pejorative; but what's behind it,

          16 in my view, is the notion that Rembrandt is a company

          17 that consists only of investors who are investing in

          18 litigation.     So, whether we accomplish that without

          19 having used the phrase "corporate shell," I don't have a

09:53AM   20 problem with that per se.         All I'm trying to say is,

          21 again, we want to be able to make sure the jury

          22 understands who the plaintiff is and that the plaintiff

          23 doesn't have any products, doesn't have anything else

          24 that it does other than acquire intellectual property for

09:53AM   25 the purpose of bringing lawsuits -- or licensing the


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           1 property, I should say.

           2               THE COURT:    All right.      Mr. Anaipakos?

           3               MR. ANAIPAKOS:     And, your Honor, I think

           4 therein lies the problem.         It seems to me that their

09:53AM    5 concern is addressed with the court's prior ruling;

           6 namely, they can say that we're a patent assertion

           7 entity.   They certainly can make the point that this

           8 company holds this patent and no other substantial

           9 assets, and I think that that accomplishes what they seek

09:53AM   10 to do.    But we think it would be highly inappropriate and

          11 prejudicial to get into investors and what the purpose of

          12 an investment in Rembrandt is.          Presumably, as a public

          13 company in Samsung, we could look to a variety of nature

          14 of their investors and speculate on the reasons for

09:54AM   15 investing there.      So, that doesn't seem relevant to any

          16 claim or defense.      So, it seems to me, your Honor, that

          17 provided they're allowed to make the point the court has

          18 already articulated, that this is a patent assertion

          19 entity, doesn't make or sell anything, I think their

09:54AM   20 concern is addressed.

          21               THE COURT:    Well, I guess I heard one

          22 additional perhaps corollary of "patent assertion entity"

          23 that was not made express in the argument a moment ago;

          24 and that is that the business of Rembrandt is to license

09:54AM   25 and to litigate.      And I'm assuming that -- from what


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           1 you're saying, that that falls within your understanding

           2 of what they're allowed under that ruling to get into.

           3               MR. ANAIPAKOS:     I think that the -- the

           4 business of Rembrandt to license intellectual property, I

09:55AM    5 think that's fair, your Honor.          I think the suggestion

           6 that our business is solely to litigate would be unduly

           7 prejudicial and inaccurate, very candidly.

           8               THE COURT:    Well, they're not saying, as far

           9 as I know, solely to litigate.          But if it is that it is

09:55AM   10 to license and to litigate, is that something that you

          11 have an argument against?

          12               MR. ANAIPAKOS:     I think we could live with

          13 that, your Honor, to be candid about it.             I think --

          14 again, it's a question of degree; but there's no doubt

09:55AM   15 that we are asserting these patents and litigating them.

          16               THE COURT:    I've handled enough of these

          17 trials to know that this is something that we're going to

          18 hear early and often; so, I want to make sure that we're

          19 addressing it.

09:55AM   20               MR. ANAIPAKOS:     Right.     As Mr. Ward points

          21 out, that's precisely the concern.           So, if it in fact is

          22 going to be early and often, your Honor, I don't have a

          23 problem with the characterization of our company as one

          24 that seeks to license its intellectual property.               If the

09:56AM   25 line is that we are a company that exists to file


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           1 lawsuits and that's the early and often mantra we're

           2 going to hear, I think that, your Honor, would be unduly

           3 prejudicial.

           4               THE COURT:    Well, how can the business of

09:56AM    5 Rembrandt be explained if it doesn't include

           6 "litigation"?     I mean, that -- I know there are -- the

           7 nice word is "to litigate."         The word that we'll hear is

           8 "sue people."     But what I'm asking is what kind of

           9 reasoned argument is there to prevent that?

09:56AM   10               MR. ANAIPAKOS:     Your Honor, I think they would

          11 be entitled to say that part of what Rembrandt does is

          12 file lawsuits to enforce the intellectual property it

          13 owns.   What I'm objecting to is the characterization that

          14 that's the sole purpose of Rembrandt, that that's the

09:57AM   15 only reason we exist.        There's plenty of intellectual

          16 property that we can license and have licensed without

          17 litigation.

          18               THE COURT:    Okay.    All right.

          19               Mr. Sherwood, I just -- what I want to do is

09:57AM   20 make sure that this line is, like I say, clear so that we

          21 don't get into the matters involved in your Motion

          22 in Limine No. 14.      And what we had talked about before

          23 was granted except as to the status of Rembrandt as a

          24 patent assertion entity and the fact that they don't

09:57AM   25 manufacture or sell products.          You may view it as


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           1 corollary, but I want to be clear about it.

           2               Saying that they -- their only business is to

           3 sue people is something a little different than what we

           4 addressed before, and I just don't want you to think that

09:57AM    5 you can do something that doesn't open the door as to

           6 Intellectual Discovery and not be clear about that.

           7               MR. SHERWOOD:     So, your Honor, I think I -- I

           8 meant to correct myself to say "license" and "as

           9 necessary litigate."       That is what I understand their

09:58AM   10 business model to be.        That's what I think Mr. Anaipakos

          11 has said they can live with.

          12               I do think it's a corollary, your Honor,

          13 because I think when you say "patent assertion entity,"

          14 well, that's just -- the jury doesn't know what that term

09:58AM   15 means until they come and --

          16               THE COURT:    Right.

          17               MR. SHERWOOD:     -- sit in the box, right?            And

          18 that's what it means.

          19               THE COURT:    Well, that's why what I want to --

09:58AM   20 the line I want to draw here, I want it to be as clear as

          21 I can.   Let's talk about what the actual arguments are

          22 going to be; and if your actual argument is going to be,

          23 you know, that their business is to license and sue

          24 people, then let's get it out there so that we won't have

09:58AM   25 something come up at the trial that was not discussed


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                                          409.654.2833
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           1 here, is what my concern is.

           2               MR. SHERWOOD:     Right, right.      Well, I think

           3 I've understood that that is something that we are going

           4 to say and that the only issue here is whether we're

09:59AM    5 beating that drum so often that Mr. Anaipakos thinks that

           6 it's prejudicial.      I don't intend to do that, but I do

           7 believe that we have the right to alert the jury to who

           8 the plaintiff is and what their business model is.                   And

           9 from looking at the cases where this issue has been

09:59AM   10 raised before and -- you know, they're in our pleading --

          11 the court has generally agreed with that.             And, so, to

          12 the extent it's a matter of degree, I can represent to

          13 the court we're not going to, you know, overdo it.

          14               THE COURT:    And the reason why I'm being

09:59AM   15 specific about this is you're right, in the past we have

          16 generally simply said we deny motions like No. 1.               But

          17 now that's being coupled with the issue about

          18 Intellectual Discovery for you or in Apple cases it's

          19 about Rockstar, their investment in an entity that

10:00AM   20 asserts patents.      And, so, the calculus is a little bit

          21 different; and that's why I'm spending more time on it

          22 now because I think that in return for keeping that issue

          23 out of the case -- by "that" I mean the Intellectual

          24 Discovery or Rockstar issue out of the case -- we're also

10:00AM   25 regulating a little closer what the defendants can argue


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           1 on the front end.

           2               And, so, while I know you've got, I'm sure,

           3 lots of cases you could cite where we have not granted

           4 the kind of relief that the plaintiff is seeking here,

10:01AM    5 the reason we're getting into it is because the issue is

           6 a little different now.        So, I'm -- what I'm encouraging

           7 you to do is to be as explicit about what you want to

           8 preserve the right to argue as possible.             So, if what

           9 you're intending to say is -- you know, whatever the

10:01AM   10 business model is of Rembrandt, whatever it is you want

          11 to argue to the jury, let's talk about that now in

          12 whatever terms you want to use with the jury so that --

          13 otherwise, there's going to be an immediate issue raised

          14 to the judge that you've crossed this line and that opens

10:01AM   15 that door and I don't want to go there if possible.

          16               MR. SHERWOOD:     I understand, your Honor.

          17               THE COURT:    So, you're comfortable with

          18 that -- you'll be telling the jury as far as -- what

          19 you'll be telling the jury about their business model is

10:02AM   20 that it's to license and litigate, not just litigate.

          21               MR. SHERWOOD:     That's right, your Honor.

          22               THE COURT:    Okay.    And as I say, I think

          23 that's incumbent in the term "patent assertion entity"

          24 which everyone has agreed and the court has previously

10:02AM   25 permitted to be used.        The jury is entitled to an


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           1 explanation as to what that actually means and that

           2 Rembrandt is such an entity.

           3               THE COURT:    Okay.

           4               MR. WARD:    Your Honor?

10:02AM    5               MR. SHERWOOD:     If I could just say one other

           6 thing while I'm up here.

           7               MR. WARD:    I'm sorry.

           8               MR. SHERWOOD:     There is also, with respect to

           9 the structure more generally, a trail, shall we say, an

10:02AM   10 acquisition trail with respect to these patents that led

          11 through a couple of Rembrandt entities.             Summit

          12 Technology I think is one of them.           So, we certainly

          13 don't want this ruling to somehow prevent us from tracing

          14 that path before the jury as well.

10:03AM   15               THE COURT:    I think there's a separate motion

          16 that would address that in more detail, but I am not

          17 addressing that in this ruling.          I don't think that we're

          18 talking about the assignment history of these patents in

          19 what we're discussing right now.

10:03AM   20               MR. SHERWOOD:     Thank you, your Honor.

          21               MR. WARD:    And, your Honor, very briefly,

          22 since we're previewing what arguments might come up and

          23 the court is interested in where that line gets crossed,

          24 you know, Samsung has to realize this gun kicks as hard

10:03AM   25 as it shoots.     They want to shoot at us and say we file


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           1 lawsuits and we sue people when our intellectual property

           2 is trespassed upon; but Samsung has got to be careful

           3 about beating this drum because Samsung files lawsuits

           4 when its intellectual property is trespassed upon as

10:03AM    5 well.   So, I've -- you know.

           6               THE COURT:    That would be another motion that

           7 is not in front of me at the moment; but if Samsung wants

           8 to prevent you from getting into that, then I expect

           9 that's something I'll hear about from Samsung.

10:04AM   10               MR. WARD:    I just -- my point is depending on

          11 what they argue and how they argue it -- and I understand

          12 there's some trial strategy that goes on that both

          13 parties don't say "Here's what I'm going to argue and

          14 here's how I'm going to attack you" but I can see a

10:04AM   15 scenario where if they do cross the line, where we will

          16 be approaching the court to say, you know, they were

          17 permitted to say that we're a patent assertion entity and

          18 we filed a lawsuit in this case because they're

          19 trespassing on our intellectual property.             But if they do

10:04AM   20 what I typically hear Samsung has done in the past where

          21 I've tried lawsuits against them, they say, "This company

          22 exists to sue people," which you've heard that very same

          23 argument.

          24               So, I just want to highlight that there's that

10:04AM   25 issue that they have to be careful what they say because


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           1 they have some of the same -- I don't want to say

           2 problems -- but the same activity.

           3               THE COURT:     Well, the one issue that is tied

           4 to this ruling on your Motion in Limine No. 1 is the

10:05AM    5 Intellectual Discovery issue that's in their Motion

           6 No. 14; and, so, what I'm saying is that they'll be -- I

           7 mean, you'll be foreclosed from going into Intellectual

           8 Discovery as long as they abide by this ruling.                The

           9 issue that you presented about whether Samsung itself, as

10:05AM   10 opposed to this other entity Intellectual Discovery, sues

          11 people is something that, you know, you can explore with

          12 Samsung's witnesses unless that's an issue that gets

          13 addressed later.

          14               MR. WARD:     All right.       Thank you.

10:05AM   15               THE COURT:     Okay.

          16               MR. ANAIPAKOS:      Your Honor, if I could just

          17 address the court's question on how specifically we

          18 thought that these terms might be used.              I can at least

          19 share my concern and at least from my perspective what

10:05AM   20 would not be acceptable; and that is if defense counsel

          21 tries to draw the stark contrast and says, "We're

          22 Samsung.      We're the largest electronics company in the

          23 world.     We employ thousands of engineers.           And on the

          24 other hand, you have Rembrandt.           That's a patent

10:06AM   25 assertion entity which by the way, ladies and gentlemen,


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           1 means they sue people.        That's what they do.        That's

           2 their business.      They license and sue people."          That to

           3 me, your Honor, is the type of contrast that goes too far

           4 and at least in our view would invite a discussion of

10:06AM    5 Samsung's investment in that type of an entity.

           6               THE COURT:    Well, you're not disputing that

           7 Samsung has the right to argue that they have thousands

           8 of engineers and sell products everywhere.

           9               MR. ANAIPAKOS:     Of course not, your Honor.

10:06AM   10               THE COURT:    And as long as they include that

          11 your business is both to license and to litigate, I'm not

          12 understanding how the fact that they say those things

          13 together would be a potential violation of this.

          14               MR. ANAIPAKOS:     I would simply say, your

10:07AM   15 Honor, that if they -- it depends on how it's delivered.

          16 If it was delivered as the court just did, I would agree.

          17 But if the focus is, "This is a patent assertion entity.

          18 That means they're in the business of lawsuits.               These

          19 people make money by suing people," things along that

10:07AM   20 line, I think that would open the door to their

          21 investment as well.        It's really the focus of the

          22 comments.

          23               If the focus of the comments is, "Look, these

          24 people are just repetitive suers, that's what they're in

10:07AM   25 the business of doing," things along those lines, I think


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           1 that's qualitatively different.

           2               THE COURT:    Well, you can certainly ask the

           3 trial judge for whatever relief you think; but I want the

           4 record to be clear that my ruling on this motion

10:07AM    5 in limine is only that as long as they put licensing and

           6 litigating together, they're free to point out that that

           7 is the business model of Rembrandt.

           8               MR. ANAIPAKOS:     Thank you, your Honor.

           9               THE COURT:    Okay.    As to the corporate

10:08AM   10 structure, which is in No. 2, I don't know that I heard

          11 from you, Mr. Sherwood.        Help me out.      Is there something

          12 in that that -- aside from the issue about the ownership

          13 history of the asserted parties, that you want to be able

          14 to go into?

10:08AM   15               MR. SHERWOOD:     Your Honor, the only thing is

          16 that there is actually -- and it's actually an exhibit in

          17 the deposition of -- well, I'm not sure whose deposition.

          18 But there is an exhibit that explains the pathway that

          19 these patents traveled essentially through the Rembrandt

10:08AM   20 corporate structure; and this is just simply a matter of

          21 being able to explore how they got from Zhone to

          22 Rembrandt Wireless.        That's all.      It's a historical,

          23 archeological, chronological kind of thing.              There's no

          24 intent for there to be some sort of pejorative or

10:09AM   25 negative message with respect to that.


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                                          409.654.2833
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           1               THE COURT:    But again that relates to the

           2 ownership history of these patents?

           3               MR. SHERWOOD:     Yes, your Honor.       Yes, your

           4 Honor.

10:09AM    5               THE COURT:    Okay.

           6               MR. SHERWOOD:     And this drawing, which was

           7 obviously hand-drawn at a deposition, is DX 1120, just

           8 for the record.

           9               THE COURT:    All right.      Mr. Anaipakos, I can

10:09AM   10 tell you that any objection to that specific exhibit

          11 we'll take up in connection with the offer of that; but

          12 as far as this motion in limine goes, do you have any

          13 argument against granting it except as to the ownership

          14 history of the asserted patents?

10:10AM   15               MR. ANAIPAKOS:     As to chain of title, your

          16 Honor, absolutely not.        We would be fine with a

          17 discussion of chain of title.          That is not what is

          18 contained in the exhibit which was just shown to your

          19 Honor.   I can address that if the court would like.

10:10AM   20               THE COURT:    Well, we can get -- when we get to

          21 that exhibit, we can take that up then.

          22               MR. ANAIPAKOS:     Very well, your Honor.

          23               THE COURT:    But as to this Motion in Limine

          24 No. 2, I am granting that except as to the ownership

10:10AM   25 history of the asserted patent.


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           1               MR. ANAIPAKOS:     Thank you, your Honor.

           2               MR. SHERWOOD:     And, your Honor, just to be

           3 clear, obviously what we've just discussed about license

           4 and litigate, I don't know if that's embraced in the

10:10AM    5 ruling on 1 or 2 but --

           6               THE COURT:    I think that's just No. 1.          I

           7 don't see how that would relate to corporate structure.

           8               MR. SHERWOOD:     That's fine, your Honor.

           9 That's fine.

10:10AM   10               THE COURT:    Okay.    All right.      No. 3, where do

          11 we stand on that?

          12               MR. ANAIPAKOS:     Your Honor, candidly, on No. 3

          13 I was a little bit confused as to where we stood.               I

          14 didn't expect this to be controversial, that evidence

10:11AM   15 regarding unrelated lawsuits on both sides should be at

          16 this point limined out.        I read the defendants' response;

          17 and it seemed in my mind to create, respectfully, a bit

          18 of a straw man.      We are not trying to argue that the

          19 defendants cannot make the argument that our

10:11AM   20 specifications do not sufficiently disclose a basis for

          21 the claims in the lawsuit.          That is something that we

          22 acknowledge they have the right to make, and we will

          23 debate.   So, that's simply not what we are trying to do

          24 with respect to this motion in limine.            But the existence

10:11AM   25 of other lawsuits and results in other lawsuits is not


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                                          409.654.2833
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           1 relevant and should be properly granted as a motion

           2 in limine.

           3               THE COURT:     All right.

           4               Ms. Higgins.

10:12AM    5               MS. HIGGINS:     Yes, your Honor.       I think, first

           6 and foremost, the problem that we have with this motion

           7 is we really don't know what they're getting at.               It's

           8 vague; it's overbroad; and, you know, we don't see any

           9 lines being drawn here.        And, so, in the first instance,

10:12AM   10 we respectfully request that the motion be denied because

          11 it is overbroad; and if there is a specific issue that

          12 plaintiff's counsel has, it should be raised on a

          13 case-by-case basis.        We were then left, if you see our

          14 opposition, your Honor, to quite frankly try to guess at

10:12AM   15 what plaintiffs were getting at; and what we are

          16 concerned about is we do not want to be precluded here

          17 from presenting relevant, nonprejudicial evidence and I

          18 think specifically with respect to damages.

          19               We mention in our motion Georgia-Pacific

10:13AM   20 Factor No. 5, the relationship between the licensor and

          21 licensee, which once again could get into this, you know,

          22 specific testimony about Rembrandt's business, license

          23 and litigate.     You know, there could also be evidence --

          24 there's a pending motion, your Honor, a motion for

10:13AM   25 summary judgment, regarding marking.            There are


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                                          409.654.2833
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           1 agreements here in this case where, you know, if we get

           2 into that -- this is an example.             You know, we believe

           3 that Rembrandt has no policy of requiring its licensees

           4 to mark.      And of course if something comes up with

10:13AM    5 respect to Rembrandt witness' testimony on the stand, we

           6 of course would be entitled to impeach that witness with

           7 a statement that was made in another litigation.                So, you

           8 know, in summary, it's the overbreadth of this motion

           9 that is the main problem for us.

10:14AM   10               THE COURT:     Well, and just to try and flesh

          11 this out a little better, I know that there's an issue

          12 about the BlackBerry license that I guess we'll get into.

          13 Other than other licenses that may have been entered into

          14 by Rembrandt, is there any previous litigation involving

10:14AM   15 Rembrandt that Samsung intends to introduce or refer to

          16 in this case?

          17               MS. HIGGINS:      The specifics that I have in

          18 mind, your Honor, are license related.

          19               THE COURT:     Okay.    And that's, frankly, an

10:14AM   20 issue that's easy to separate out.

          21               And I understand that if you have testimony of

          22 a witness that was given in some other case, you can

          23 impeach the witness with that without going into the

          24 other case.      Certainly you can just ask the witness if

10:15AM   25 they testified previously on such and such a date, such


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           1 and such a way.

           2               MS. HIGGINS:     Yes, your Honor.

           3               THE COURT:     All right.     So, what I'm hearing

           4 is my -- my indication is -- or my inclination is to say

10:15AM    5 that this will be granted except with respect to any

           6 licenses that become involved in the case and --

           7               MS. HIGGINS:     And, your Honor, there may be

           8 related communications that go along with the licenses as

           9 well.

10:15AM   10               THE COURT:     Okay.   I understand that and we'll

          11 take those up, but I -- I can frame it broadly so that it

          12 would be except as to matters that relate to licenses

          13 entered into in other litigation.           Okay.

          14               MS. HIGGINS:     Thank you, your Honor.

10:16AM   15               THE COURT:     Thank you, Ms. Higgins.

          16               Is there anything further I need to hear from

          17 plaintiffs on that?

          18               MR. ANAIPAKOS:     No, your Honor.

          19               THE COURT:     Well, then, I'm going to say

10:16AM   20 that --

          21               MR. SMITH:     Your Honor?

          22               THE COURT:     Yes, Mr. Smith.

          23               MR. SMITH:     I had one clarification on that.

          24 When Mr. Anaipakos described the motion, he talked about

10:16AM   25 other lawsuits by both sides limined out.             I was just


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           1 wanting a clarification to the court's order.              Other

           2 lawsuits from both sides are limined out with the

           3 exception the court stated, or is it just lawsuits by

           4 Rembrandt?

10:16AM    5               THE COURT:    Well, I am happy to expand the

           6 scope of it along the lines that were issued.              And let me

           7 inquire from the other side.         Thank you, Mr. Smith.

           8               MR. ALAVI:    Your Honor, if I can address that,

           9 because it relates to damages.

10:16AM   10               THE COURT:    All right.      Would you go to the

          11 mic.

          12               MR. ALAVI:    I think it's a similar caveat as

          13 Samsung's counsel pointed out.          In Samsung's damage

          14 report, the damage expert is relying on a license that

10:17AM   15 Samsung entered into in another piece of litigation and

          16 one of the lines of impeachment with that damage expert

          17 is the history of that litigation and what led to the

          18 licensing, things that he did not consider about that

          19 case when he argued that that is a comparable license

10:17AM   20 that should set the license rate for this case.               So, we

          21 think what's good for the goose is good for the gander in

          22 terms of we won't talk about Samsung's other litigation

          23 with the exception that to the extent their expert is

          24 going to stand up and say "Samsung entered into a license

10:17AM   25 in this other case," we're entitled to cross-examine and


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           1 impeach the expert about what he did and did not do with

           2 respect to that license and that litigation to determine

           3 whether or not it was a comparable license and whether or

           4 not his opinions on that license are consistent with his

10:18AM    5 criticisms of our experts about license agreements.

           6               THE COURT:     All right.     And what I'm going to

           7 do, then, is just say that Motion in Limine No. 3 is

           8 granted, that it will apply to both sides, and that it

           9 excludes any reference to other litigation involving

10:18AM   10 either party except as to matters relating to licenses

          11 from that litigation.        And those are matters we'll take

          12 up separately if necessary, but this -- so, all we're

          13 talking about here is litigation not relating to licenses

          14 that are at issue in the case.

10:18AM   15               MR. ALAVI:     That's fine, your Honor.

          16               THE COURT:     Everybody is okay with that?

          17               MS. HIGGINS:     Yes, your Honor.

          18               THE COURT:     Okay.   No. 4.

          19               MR. ANAIPAKOS:     Yes, your Honor.

10:19AM   20               THE COURT:     This is one, frankly, that is new

          21 to me.   So, tell me what it is you're concerned about,

          22 Mr. Anaipakos.

          23               MR. ANAIPAKOS:     Yes, your Honor.       Specifically

          24 the concern is that there will be some argument or

10:19AM   25 evidence put on by Samsung that the fact that Rembrandt


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           1 had in its possession the Bluetooth + EDR specification

           2 is somehow improper or nefarious and that we did

           3 something illegal, improper, or immoral by filing claims

           4 with the patent office at the time that we had the

10:19AM    5 Bluetooth specification in hand.            The Kingsdown case and

           6 others make it quite clear that we're within our legal

           7 right, as Samsung does frequently as well, filing

           8 continuations and continuations-in-part.             So, the --

           9 ultimately the argument is, as the court is well aware,

10:20AM   10 whether there was adequate disclosure in the filings and

          11 in the specifications to support the claims.              We're not

          12 trying to hamstring that argument.

          13               Our concern is that they argue that somehow it

          14 was improper, unfair, not right for Samsung to have -- I

10:20AM   15 mean, for Rembrandt -- pardon me -- to have in its

          16 possession the Bluetooth specification.             That would be

          17 impermissible in that it suggests that activities around

          18 a continuation are somehow beneath the pale.

          19               THE COURT:    All right.

10:20AM   20               MR. HADDAD:     Your Honor, we want to just be

          21 very clear that we can go into the facts of the

          22 prosecution history, explain how that prosecution history

          23 unfolded.     It goes, as Mr. Anaipakos alluded, to our

          24 defenses under Section 112 -- 35 U.S.C., Section 112,

10:21AM   25 with respect to invalidity due to lack of written


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           1 description and invalidity due to enablement.               I don't

           2 think Rembrandt opposes that.           I just wanted to make it

           3 very clear.

           4               It also goes to the issue of willfulness, your

10:21AM    5 Honor, the timing of when the accused feature became

           6 public in 2004 and the claims weren't filed until 2009.

           7 That's just a fact of the prosecution and the history of

           8 this case, and that's -- we still want to be able to

           9 raise those factual issues, your Honor.

10:21AM   10               THE COURT:     Okay.    Thank you, Mr. Haddad.

          11               MR. ANAIPAKOS:      And, your Honor, the issues

          12 that -- the invalidity issues, et cetera, that are being

          13 raised, we have no issue with that.            Our issue is really

          14 precise.      It's that there be no suggestion that the fact

10:22AM   15 that we had the Bluetooth manual in our possession is

          16 somehow improper, that the filing of a continuation was

          17 somehow improper.       That's the limited issue on which

          18 we're seeking relief from the court.

          19               THE COURT:     Well, I'm -- frankly, I -- I think

10:22AM   20 this is a matter that's just going to have to be

          21 addressed, if necessary, on jury instructions.               To try

          22 and limine out implications is just difficult, and I --

          23 this is an issue that I don't think is clearly enough

          24 defined.      So, I'm going to deny No. 4.

10:22AM   25               And I understand No. 5.         Let me hear from the


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           1 defendants as to the limited issues asserted in that,

           2 which as I understand the motion is just whether Samsung

           3 is going to argue that the patents or claims asserted are

           4 limited to modems or do not encompass wireless networks.

10:23AM    5               MR. HADDAD:     Your Honor, we're not going to

           6 argue contrary to the claim construction that your Honor

           7 has issued in this case.        So, specifically that, we will

           8 not be arguing that.

           9               We will be arguing, as I mentioned in response

10:23AM   10 to Motion in Limine No. 4, that what's covered in the

          11 court's claim construction is not supported by the

          12 specification.      So, there will be arguments that --

          13 directed to our invalidity defenses with respect to

          14 enablement and written description.           In fact, in your

10:23AM   15 Honor's July 10th claim construction order, your Honor

          16 recognized that very defense and said, "Defendants'

          17 argument in this regard appears better suited to a

          18 written description challenge because validity analysis

          19 is not a regular part of the claim construction order."

10:24AM   20               THE COURT:    And I understand that.         I am

          21 interpreting this Motion in Limine No. 5 as limited to

          22 the two specific issues raised there, and that would be

          23 any argument that the claims are limited to modems and

          24 any argument that the claims do not encompass wireless

10:24AM   25 networks.     I'm not saying I necessarily agree with them.


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           1 I've got -- if there's an argument about that, I want to

           2 hear both sides.

           3               MR. HADDAD:     There's no argument, your Honor.

           4               THE COURT:    Okay.    So, you're not going to

10:24AM    5 take that position.

           6               MR. HADDAD:     Correct, your Honor.

           7               THE COURT:    Okay.    Then I am going to note

           8 that because Samsung has specifically indicated that

           9 they're not taking the positions that are indicated in

10:24AM   10 there, I'm going to make that notation but deny the

          11 motion.     Obviously the law is that, you know, you're

          12 bound by the claim construction.            I think both sides know

          13 that.     I don't issue limine rulings that just say "Follow

          14 the law."     So, if there's a specific issue beyond what I

10:25AM   15 just addressed, I want to hear about it; but otherwise,

          16 that's what I'm going to do.

          17               Mr. Enger, do you have a point you want to

          18 make?

          19               MR. ENGER:    Yes, your Honor.       I just want to

10:25AM   20 make very clear what the written description argument is

          21 that they say they're going to make.            If they're going to

          22 argue that the claims are not supported by the

          23 specification because the specification only discloses

          24 wired modems that do not communicate multilingually with

10:25AM   25 multilingual slaves, that's not proper.


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           1               What the argument needs to be framed as is the

           2 spec doesn't disclose a master communication device that

           3 communicates with so-called "multilingual tribute

           4 communication devices."        If they're going to try and, you

10:25AM    5 know, introduce modems and wired networks into that whole

           6 discussion, not only is that contrary to the court's

           7 claim construction order, it's actually contrary to the

           8 representation they made with respect to the motion to

           9 strike.

10:26AM   10               In that motion -- it's Docket No. 178 at

          11 page 16 -- they represented to the court that (reading)

          12 Samsung's wireless transmission written description and

          13 enablement arguments will not be presented at trial and

          14 Samsung withdraws those sections of Dr. Goodman's report.

10:26AM   15 So, that's a fine-tunement on this MIL that I want to

          16 make sure we're crystal-clear on.

          17               THE COURT:    I think we have failed the

          18 crystal-clear standard.

          19               MR. ENGER:    If -- there's more information I

10:26AM   20 can provide or --

          21               THE COURT:    Well, let me just say that I'm not

          22 going to try and anticipate every argument that Samsung

          23 might make and issue a ruling now as to whether or not it

          24 runs afoul of the claim construction order.              I mean, I

10:27AM   25 think Samsung is well aware that if they make an argument


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           1 that's contrary to claim construction, the court is going

           2 to tell the jury, you know, what the claim construction

           3 is; and that's a very painful thing to have happen.                  So,

           4 I don't expect them to do that.

10:27AM    5               But the only thing I did want to be clear

           6 about was you've made two specific issues in your motion.

           7 I wanted to make sure we addressed those.             I think we

           8 have.   Whether or not their argument on any other issue

           9 or more nuanced version of this runs afoul of it is

10:27AM   10 something we'll just have to wait and see what arguments

          11 they make.

          12               But I'm going to deny No. 5, pointing out in

          13 the ruling that Samsung indicated they're not going to

          14 make the two arguments that were at issue in that motion.

10:28AM   15 And as far as the rest of it, you know, the court has the

          16 claim construction and will hear if you think specific

          17 arguments run afoul of it.

          18               MR. ENGER:    Thank you, your Honor.

          19               MR. HADDAD:     Thank you, your Honor.

10:28AM   20               THE COURT:    Mr. Haddad, is there anything else

          21 you think would be helpful to discuss on that point?

          22               MR. HADDAD:     No, your Honor.      Thank you.

          23               THE COURT:    Okay.    On No. 6.

          24               MR. AYCOCK:     Jamie Aycock for Rembrandt.

10:28AM   25               For No. 6, your Honor, the rights of the


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           1 patents that are asserted here were sold as part of a

           2 portfolio for $5 million; and in the purchase agreement,

           3 the $5 million was allocated among 74 different patents

           4 and patent applications.        What we're asking for is for

10:28AM    5 you to exclude any reference to the pro rata allocation.

           6 We think that it's not relevant and it's highly

           7 prejudicial.     There's testimony from Rembrandt's

           8 corporate representative that no valuation was done as

           9 part of that allocation and that the allocation was made

10:29AM   10 to ensure consistent reporting the IRS.

          11               And we think this is very similar, your Honor,

          12 to an order that you issued just a few months ago in a

          13 case that was against Samsung.          We've cited that in our

          14 briefing.     But there you said that -- and it involved a

10:29AM   15 filing that was a 10-K filing with the SEC.

          16               THE COURT:    I remember the ruling.

          17               MR. AYCOCK:     Okay.    And there were a host of

          18 different business considerations that went into that

          19 allocation, and they were too far removed from the

10:29AM   20 hypothetical negotiation that's to be presented to the

          21 jurors.     Samsung, as you know, your Honor, has argued

          22 that that's different because it was a 10-K filing as

          23 opposed to an agreement between the parties.

          24               But here we don't think there's any reason

10:29AM   25 that that should be treated differently.             It was an


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           1 allocation.     The same considerations that you had then

           2 apply here.

           3               THE COURT:    What was the date of the

           4 transaction at issue?

10:30AM    5               MR. AYCOCK:     The transaction involving the

           6 purchase agreement?

           7               THE COURT:    Yes.

           8               MR. AYCOCK:     It was in 2007.

           9               THE COURT:    And it was a transaction between

10:30AM   10 what parties?

          11               MR. AYCOCK:     Well, it involved Zhone

          12 Technologies and Summit.        Rembrandt I don't believe was a

          13 party to this agreement.        Rembrandt is mentioned in the

          14 agreement.

10:30AM   15               THE COURT:    Who were the -- it was a sale by

          16 which entity to which entity?

          17               MR. AYCOCK:     It was from Zhone to Summit, and

          18 there were -- there's a subsequent history as well, your

          19 Honor, obviously.

10:30AM   20               THE COURT:    And you say it involved 74

          21 patents?

          22               MR. AYCOCK:     74 patents or patent

          23 applications.

          24               THE COURT:    All right.      Thank you.     Let me

10:31AM   25 hear from the defense on that.          Then I'll give you a


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           1 chance to respond, Mr. Aycock.

           2               MS. HIGGINS:     Your Honor, first I want to make

           3 clear that this agreement is between Zhone, who was a

           4 practicing entity at the time, and Summit; and while

10:31AM    5 Mr. Aycock said Rembrandt wasn't a party to the

           6 agreement, I think it's important to know that Summit is

           7 a Rembrandt entity.       It is a commonly-owned partner of

           8 other Rembrandt entities.

           9               First, with respect to the agreement itself, I

10:31AM   10 think it is also critical here that the allocation clause

          11 that we're talking about is an integral clause to the

          12 agreements in that this is a clause that was negotiated

          13 at arm's length between Zhone and this Rembrandt entity

          14 Summit.   The agreement includes specifically patents,

10:32AM   15 including, as part of the portfolio, applications which

          16 led to the patents-in-suit.         And, also, I understand that

          17 your Honor has in mind the facts from the MTel case that

          18 was referenced.

          19               Here I think it's really important to note

10:32AM   20 that these are the only assets -- patents are the only

          21 assets here.     We're not talking about the situation where

          22 an entire business, such as that SkyTel business, was

          23 being sold.     So, we don't have that same situation as in

          24 MTel where we're far removed from the hypothetical

10:33AM   25 negotiation.     In fact, here we actually have a Rembrandt


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           1 entity in 2007 negotiating a price for these patents.                In

           2 fact, 2007 is also the time I think you will hear -- you

           3 may hear later from Mr. Jenner, Mr. Weinstein,

           4 Rembrandt's expert, is also basing one of his

10:33AM    5 methodologies on chip price data from the late 2006-2007

           6 era.   It's very important to note that this is an

           7 after-the-fact unilateral allocation and -- excuse me --

           8 in the MTel case it was an after-the-fact unilateral

           9 allocation, and here we don't have that.             This is an

10:33AM   10 express clause within the agreement that explicitly says

          11 "purchase price shall be allocated pro rata among all

          12 assigned patents"; and that's Exhibit B, Samsung

          13 opposition at page 5.        That specific language right in

          14 the agreement is cited right there.

10:34AM   15               The agreement is crystal-clear.          It outright

          16 says the patents are to be allocated pro rata.              We heard

          17 from Rembrandt that, oh, well, this goes to tax purposes;

          18 and I submit to you, your Honor, that, you know, the

          19 agreement is the agreement and it's crystal-clear and

10:34AM   20 that's an improper use of parole evidence to vary the

          21 terms of the agreement.

          22               And, also, with respect to Rembrandt's

          23 position that this should not come in, this is a critical

          24 piece of evidence here.        This is a license that has to do

10:34AM   25 with the patents-in-suit.         It has to do with the very


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           1 party, Summit, who is a Rembrandt entity, who is, you

           2 know, sitting at that table at the hypothetical

           3 negotiation.     So, we think, both as a matter of relevance

           4 and a matter of what the jury should hear about, this is

10:35AM    5 highly relevant to this case.

           6               THE COURT:     You said this is a license?

           7               MS. HIGGINS:     This is a sale of the patents.

           8 There is a license back to the practicing entity, Zhone,

           9 in the agreement.

10:35AM   10               THE COURT:     Well, it's hard to say that this

          11 constituted any valuation of the 74 patents since they

          12 just said they would allocate it pro rata.             How do you

          13 think -- why should the court allow that to be offered as

          14 some indication of valuation of the patents?

10:35AM   15               I mean, it would be one thing if they went

          16 through and discussed the patents separately but --

          17               MS. HIGGINS:     Because respectfully, your

          18 Honor, that's what the parties agreed to.             If you look

          19 at -- it's Exhibit B, and it's also at page 5 of the

10:36AM   20 opposition.

          21               In the agreement itself, Zhone and Summit,

          22 this Rembrandt entity, agreed -- it says, "In

          23 consideration of the assignment of the assigned patents

          24 to Summit by company, Summit agrees to pay company the

10:36AM   25 lump sum of $5 million."        And then it goes on to say


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           1 "where the purchase price shall be allocated pro rata

           2 among all assigned patents."         So, that's what the parties

           3 agreed to, your Honor.        That is what is in the agreement.

           4               THE COURT:     I understand.     And my question is:

10:36AM    5 Why should I take that as a valuation of the patent as

           6 opposed to what it purports to be, which is just an

           7 allocation of the price for whatever consequences that

           8 might have?

           9               MS. HIGGINS:     Well, it's an allocation of the

10:37AM   10 price of the 60 patents and 14 patent applications that

          11 were assigned per this patent sale agreement.

          12               THE COURT:     All right.     I understand that

          13 argument.     Thank you.

          14               MR. AYCOCK:     If I may, your Honor, you're

10:37AM   15 right that this is an allocation, it's not a valuation.

          16 I think those are decidedly different terms.              Also -- and

          17 that's exactly what your ruling was in that MTel case.

          18 And I think actually there are reasons that in the MTel

          19 case the 10-K filing was actually even a more reliable

10:37AM   20 guide for valuation.        It was a public filing.        It was an

          21 internal valuation, not between just the parties that

          22 were in the confidential agreement --

          23               THE COURT:     What's your position, Mr. Aycock,

          24 as to the purpose of this allocation?

10:38AM   25               MR. AYCOCK:     There's actually testimony on


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           1 point from Rembrandt's corporate representative who says

           2 that this was to ensure that there was consistent

           3 reporting to the IRS by both parties.             It was easier to

           4 just make a straight pro rata allocation to all of the 74

10:38AM    5 patents or patent applications.

           6               THE COURT:     Does that have to do with some

           7 basis to be used in the event of a further sale of

           8 particular patents or --

           9               MR. AYCOCK:      I believe so.      It has to do with

10:38AM   10 capital gains and capitalization.            The reference has to

          11 do with -- it's for tax purposes.

          12               THE COURT:     All right.

          13               MS. HIGGINS:      Your Honor, that's obviously

          14 Rembrandt's position and the testimony of a Rembrandt

10:38AM   15 witness.      I would submit to you that that's parole

          16 evidence that repudiates the terms of the agreement which

          17 says that the allocation is pro rata.

          18               And in any event, what he's talking about goes

          19 to the weight here, not the admissibility of that

10:39AM   20 agreement and the pro rata allocation within the

          21 agreement.

          22               MR. AYCOCK:      Your Honor, if I may.        The

          23 situation is very different from the hypothetical

          24 negotiation here.       Samsung's expert doesn't contend

10:39AM   25 otherwise.      Here, there's no -- there is no assumption


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           1 that the patents are valid, that they infringe.               There's

           2 no knowledge about the extent of the use of the patent.

           3 This was four years before the hypothetical negotiation

           4 took place.     So, for all of those reasons, we also think

10:39AM    5 that they're not relevant and only likely to be highly

           6 prejudicial.

           7               THE COURT:     And, Mr. Aycock, you are not

           8 disputing that Samsung can offer evidence that the

           9 asserted patents were part of a portfolio that sold for

10:39AM   10 $5 million in 2007?

          11               MR. AYCOCK:     That's correct, your Honor.

          12 We're only talking about the pro rata allocation itself.

          13               THE COURT:     Okay.   Ms. Higgins.

          14               MS. HIGGINS:     I just wanted to add, your

10:40AM   15 Honor -- actually we're good.

          16               THE COURT:     Okay.   Thank you.

          17               I'm going to grant this motion in limine under

          18 Rule 403, with the finding that the pro rata allocation

          19 is based on many factors which are not related to an

10:40AM   20 actual valuation of these individual patents and that it

          21 would be unduly confusing to the jury and prejudicial to

          22 the plaintiff to allow that pro rata allocation.

          23               I think, frankly, the fact that the sale of

          24 the portfolio is coming in is more than adequate to allow

10:41AM   25 Samsung to get the benefit of that evidence.              So, as to


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           1 the pro rata allocation, that part will not be shown to

           2 the jury through evidence or argued to the jury.

           3               And we will take a recess now and then come

           4 back and finish up the motions in limine.

10:41AM    5               (Recess, 10:41 a.m. to 10:56 a.m.)

           6               THE COURT:    I think we're up to the

           7 plaintiff's Motion in Limine No. 7.

           8               Mr. Enger.

           9               MR. ENGER:    Yes, your Honor.       This motion

10:57AM   10 in limine seeks to exclude evidence and argument

          11 regarding Samsung's patents as a defense to infringement.

          12 From reading Samsung's response, it seems like they

          13 agree; they're not going to use their patents as a

          14 defense to infringement.        So, I'm not sure what the -- to

10:57AM   15 use the phrase "Where's the beef?"           I'm not sure what the

          16 problem is here.

          17               THE COURT:    All right.      Is there an issue that

          18 we need to address?

          19               MS. BIANROSA:     Your Honor, Jennifer BianRosa

10:57AM   20 for Samsung.     Samsung does agree that it won't use its

          21 own patents to make an argument that it doesn't infringe

          22 the Rembrandt patents-in-suit, but Samsung should be

          23 permitted to elicit testimony and make argument

          24 consistent with its damages expert report concerning what

10:57AM   25 type of organization Samsung is and that may relate in


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           1 part to the fact that Samsung does own patents.

           2               THE COURT:    Well, certainly there's no problem

           3 with Samsung mentioning the ownership of patents.               I

           4 think the only issue here is to whether there will be an

10:58AM    5 implication that that's a defense to infringement of the

           6 particular asserted claims, and what I'm hearing is that

           7 is not a problem.

           8               MS. BIANROSA:     That is not the intention.

           9               THE COURT:    Okay.    Then I'll show that that

10:58AM   10 one is granted by agreement.

          11               And I think that the specific reservation that

          12 you made about the testimony on the damages side that

          13 Samsung owns patents is not foreclosed by this ruling.

          14 Okay.

10:58AM   15               MR. ENGER:    Your Honor, are you ready for

          16 Motion in Limine No. 8?

          17               THE COURT:    Yes.

          18               MR. ENGER:    This is a limine motion that

          19 prohibits Samsung from criticizing the patent office or

10:59AM   20 its employees, calling patents monopolies, or otherwise

          21 denigrating the patent system.          Samsung's response again

          22 appears to agree to this motion in limine.             Samsung does

          23 point to two particular things it says it intends to do.

          24 It intends to refer generally to the content in the FJC

10:59AM   25 juror instructional video and to argue the propriety of


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           1 the examiner's ultimate determination to allow the

           2 patents-in-suit.

           3               Frankly, your Honor, either one of those two

           4 run afoul of this limine motion.            This is not what this

10:59AM    5 is designed to prohibit.        So, we don't really see a

           6 dispute; and for that reason, the court should grant it.

           7               THE COURT:    All right.

           8               MS. BIANROSA:     Your Honor, I'd just point out

           9 that Samsung does have invalidity argument in this case

10:59AM   10 and invalidity argument necessarily questioning whether

          11 the patent examiner was correct in allowing the patents.

          12 So, Samsung should therefore be allowed to introduce

          13 evidence about the prosecution of the patents-in-suit and

          14 the propriety of the examiner's decision in allowing

11:00AM   15 those patents.

          16               THE COURT:    And I don't think that that is in

          17 any way a violation of the order that's sought here.

          18 This order would apply to arguments like the patent

          19 examiners only have a certain number of hours per, you

11:00AM   20 know, year that they can devote to each patent

          21 application or that they don't have enough expertise in

          22 certain areas or other similar arguments.             It definitely

          23 does not prevent Samsung from arguing that the examiners

          24 made a mistake in this case or from commenting on any of

11:01AM   25 the matters that are talked about in general in that


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           1 instructional video.

           2               So -- and I take it also that you don't intend

           3 to refer to patents as monopolies.

           4               MS. BIANROSA:     We do not, your Honor.

11:01AM    5               THE COURT:    Okay.    Then I think that I'll show

           6 that this No. 8 is granted but that it does not prevent

           7 argument that the examiners were in error in issuing

           8 these claims -- or this patent.

           9               MR. ENGER:    Your Honor, Limine Motion No. 9

11:01AM   10 prohibits Samsung from introducing evidence or argument

          11 about Rembrandt's indirect owners and improper character

          12 evidence about Rembrandt's indirect owners.              For example,

          13 that one may be a professional poker player.              This type

          14 of evidence and argument is irrelevant to the issues in

11:02AM   15 this case and would prejudice the jury against Rembrandt.

          16               From its response, again Samsung seems to

          17 agree to this MIL.       Samsung does say that it intends to

          18 elicit factual testimony about Rembrandt's business model

          19 but that factual testimony would seem to be more covered

11:02AM   20 by the limine motion that your Honor granted this morning

          21 with respect to MILs 1 and 2 which the court already

          22 heard argument on.

          23               Samsung also intends to elicit testimony

          24 regarding the potential financial interest of the

11:02AM   25 witnesses in the outcome of this litigation.              However, as


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           1 Rembrandt's indirect owners are not going to be witnesses

           2 in this case, that would not be covered by this MIL

           3 either.

           4               THE COURT:    And, Mr. Enger, tell me:          When you

11:02AM    5 use the term "indirect owners," what does that mean?

           6               MR. ENGER:    For example, the shareholder, the

           7 stakeholder of Rembrandt, the ultimate shareholder.

           8               THE COURT:    Is there a difference between

           9 indirect owners and direct owners?

11:03AM   10               MR. ENGER:    Well, you know, I guess to the

          11 extent if I own one share of Coca-Cola stock, I'm an

          12 indirect owner of Coca-Cola; but to suggest that I own

          13 the company is quite a different story.

          14               THE COURT:    Okay.    I just didn't know if there

11:03AM   15 was some particular meaning in this case or -- is there

          16 another group of individuals or entities who you consider

          17 to be the direct owners?

          18               MR. ENGER:    Well, there are a number of

          19 corporate entities that own other corporate entities.

11:03AM   20 Those are the types that would not be prohibited by this

          21 MIL.

          22               What we're really getting at here, your Honor,

          23 is this particular shareholder who may be the poker

          24 player.   That's what we don't want to come in.

11:03AM   25               THE COURT:    All right.      So, then the way I


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           1 interpret this is that it's seeking to avoid evidence or

           2 argument about individuals who are shareholders of

           3 Rembrandt.     And with that limitation, is there any

           4 opposition to it from the defendant?

11:04AM    5               MR. SHERWOOD:     Your Honor, we will not oppose

           6 it, with that limitation.

           7               THE COURT:    Okay.

           8               MR. SHERWOOD:     I do want to just point out,

           9 though, that I think this is somewhat connected also --

11:04AM   10 and I say this really just for the record, not for the

          11 court to take any action on -- to Samsung's No. 14 that

          12 you've already ruled upon where, in effect, Rembrandt is

          13 saying, "Well, we would like to be able to talk about

          14 Samsung's investments but we don't want you to talk about

11:04AM   15 who invested in Rembrandt."         And I don't think -- so, in

          16 other words, I guess what I'm saying is if they get into

          17 a position where they start talking about Intellectual

          18 Discovery or whatever it's called, No. 14, then I think

          19 we should be able to talk about poker players, which I

11:05AM   20 assume we're not going to get to.           But I think the two --

          21 it's kind of talking out of both sides of your mouth as I

          22 read this, your Honor.        That's my only point.

          23               THE COURT:    Okay.    Well, I'm not going to tie

          24 those issues together but I understand that you might and

11:05AM   25 if you want to urge to the trial judge whatever you want


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           1 to, that's certainly up to you.          But this ruling will

           2 simply be that Motion in Limine No. 9 is granted as to

           3 individuals with an ownership interest in Rembrandt.

           4               Okay.   The way I have handled No. 10 before,

11:05AM    5 Mr. Aycock, is to say that if you, the plaintiff, doesn't

           6 open the door to this testimony by eliciting evidence

           7 that Mr. Weinstein has been accepted as an expert by

           8 other courts or by providing any details about his

           9 testimony in other cases, then I will grant the motion

11:06AM   10 and prevent the defendant from eliciting evidence about

          11 any cases in which his testimony may have been questioned

          12 or limited.

          13               MR. AYCOCK:     We agree with that, your Honor.

          14               THE COURT:    All right.      Then let me hear from

11:06AM   15 Samsung if they want to offer argument against that.

          16               MS. HERMES:     Yes, your Honor.       Rebecca Hermes

          17 for Samsung.     Generally that's okay with us; but our

          18 concern would be if Rembrandt were to open the door by

          19 saying that Mr. Weinstein's testimony has been found

11:07AM   20 credible or given weight, especially here in the Eastern

          21 District of Texas, that that would open the door to us

          22 being able to impeach him with cases where his testimony

          23 has been found unreliable or not based on proper

          24 methodologies.

11:07AM   25               THE COURT:    All right.      I would agree with


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           1 that.     I think the way you phrased that, if they

           2 specifically elicit or argue that his testimony has been

           3 accepted by this or other courts, that they would be

           4 putting at issue the matters that you're wanting to get

11:07AM    5 in.

           6               Mr. Aycock, do you understand that also?

           7               MR. AYCOCK:     Yes, your Honor.       That's

           8 acceptable.     I just want to make sure that just the fact

           9 that he has testified before, you know, sort of general

11:08AM   10 testimony of that nature wouldn't open the door.

          11               THE COURT:    The fact that he has testified

          12 before does not run afoul of this.           I think, you know, if

          13 you go much further than that, then I think you run that

          14 risk.

11:08AM   15               MR. AYCOCK:     Yes, your Honor.

          16               MR. JENNER:     Your Honor, just one -- Jesse

          17 Jenner.    I'm sorry.      One further narrow point here along

          18 the line, we would be concerned -- I don't know if this

          19 is going to be the case; but we would be concerned if

11:08AM   20 they implicitly create the problem by saying

          21 Mr. Weinstein has testified numerous times before, dozens

          22 of times before, scores of times before, something

          23 numerical which would create the impression in the jury's

          24 mind this must be some whiz-bang expert on this subject.

11:08AM   25 That would indirectly potentially create the same


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           1 problem, I submit.

           2               MR. ALAVI:    Your Honor, from our perspective,

           3 we just want clarity.        I think what Ms. Hermes talked

           4 about makes sense.       If we suggest that his testimony has

11:09AM    5 been accepted, juries have accepted his testimony, that

           6 makes sense.     Mr. Weinstein is an expert.          That's what he

           7 does for a living.       What we don't want to be precluded

           8 from doing is asking him, you know, "Where did you go to

           9 school," "What job do you hold?"

11:09AM   10               "What do you do for a living?"          "I'm an

          11 expert."

          12               "How long have you been an expert?"           "I've

          13 been an expert for 20 years."

          14               That doesn't suggest that courts or juries

11:09AM   15 have found his testimony to be credible, therefore

          16 opening the door.      We have to be at least able to

          17 demonstrate what he does for a living.            And, so, I think

          18 there is a nuance here where if you suggest by talking

          19 about his experience that juries and courts have accepted

11:10AM   20 his testimony, that runs afoul of I think the policy

          21 objective that you're trying to satisfy, your Honor; but

          22 to suggest that we can't say that he has been testifying

          23 as an expert, he's worked at this company for 20 years,

          24 it means we can't talk about his background.              I mean,

11:10AM   25 we're at least allowed to talk about his qualifications


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           1 and background so the jury understands he's not some guy

           2 who just took this up yesterday.

           3               MR. JENNER:      Your Honor, I would not quarrel

           4 with the way counsel is putting it because the way

11:10AM    5 counsel just put it doesn't get into my numerical

           6 problem.      The fact that he's testified many times, if

           7 something numerical happens, even without saying it's

           8 been accepted by a court, is to say implicitly it's been

           9 accepted by a court because he's been allowed to do it 40

11:10AM   10 times.

          11               If counsel is limiting the presentation to the

          12 fact that he works in a certain place, he has testified

          13 as an expert, and kind of limited to that and then goes

          14 on, nothing of a numerical nature implying vast

11:11AM   15 acceptance comes up.

          16               THE COURT:     Well, the length of his

          17 consultation experiences I think does involve a numerical

          18 number; but I don't find that that in any way violates

          19 this.    So, I'm just going to say that they can talk about

11:11AM   20 the fact that he has testified previously and talk about

          21 how long he's been doing it; but as long as there's no

          22 numerical component or any reference to being accepted as

          23 an expert by courts previously, then I don't consider

          24 that they've opened the door.

11:11AM   25               MR. JENNER:      Thank you, your Honor.


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           1               THE COURT:    All right.      Mr. Aycock, tell me

           2 what it is you're seeking to exclude in No. 11.

           3               MR. AYCOCK:     So, for No. 11 we're seeking to

           4 exclude references to royalties that allegedly might have

11:12AM    5 to be paid or other unidentified patents that would have

           6 to be practiced to sell products that are compliant with

           7 the Bluetooth + EDR specification.           Relates to stacked

           8 royalties or holdup.

           9               And, your Honor, the Federal Circuit just

11:13AM   10 issued an opinion in December.          This had to do with jury

          11 instructions, but there they explained that the district

          12 court doesn't need to instruct the jury on holdup or

          13 stacking unless an accused infringer presents actual

          14 evidence of holdup or stacking.          That was the Ericsson

11:13AM   15 case.

          16               Here there is no evidence.         It's just a

          17 theoretical concern about stacking of royalties.

          18               THE COURT:    Well, why isn't the testimony of

          19 an expert about it evidence?

11:13AM   20               MR. AYCOCK:     Well, in that case they were

          21 talking about specific evidence rather than simply

          22 conjecture about what might happen in the field; and here

          23 we have something similar.

          24               THE COURT:    So, this is the Ericsson versus

11:14AM   25 D-Link case?


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           1               MR. AYCOCK:     That's correct, your Honor.

           2               THE COURT:    And you're saying there the Fed

           3 Circuit said that the district court did not err by

           4 including certain jury instructions?

11:14AM    5               MR. AYCOCK:     There they held the district

           6 court -- that's right.        The district court did not

           7 include this instruction and it didn't err by not

           8 including it.     And we think that this would be -- it's

           9 not relevant because there is no specific evidence of

11:14AM   10 stacking in this situation and we think that it would be

          11 highly prejudicial because -- for Samsung to be allowed

          12 to say that there are potentially thousands of patents

          13 that they're going to have to pay for when there's no

          14 actual evidence that there are other patents that apply.

11:14AM   15               THE COURT:    Well, I mean, obviously one of the

          16 ways that a manufacturer acquires licenses for its

          17 products is through cross-licensing and lots of other

          18 ways that would not involve a specific royalty for a

          19 specific product.

11:15AM   20               Are you saying that Samsung can't tell the

          21 jury in its analysis of the Georgia-Pacific factors that

          22 there is lots of intellectual property involved in its

          23 products?

          24               MR. AYCOCK:     Well, your Honor, there is

11:15AM   25 another Motion in Limine No. 16 that relates to what


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           1 you're referring to.        It's the RAND Zero policy or

           2 license, and we have also moved to exclude that evidence

           3 as well.

           4               THE COURT:    If all you're relying on is the

11:15AM    5 Ericsson case to argue that the defendant has a burden of

           6 putting on certain evidence before it can include in its

           7 damages analysis a royalty stacking argument, then I

           8 don't think the Ericsson case gives you what you're

           9 trying to get.

11:16AM   10               Do you have any other case that says that?

          11 Because I see this as part of every damage analysis we

          12 do.

          13               MR. AYCOCK:     I think that the Ericsson case is

          14 the first case where the Federal Circuit has addressed

11:16AM   15 stacking; but here, your Honor, there just -- there are

          16 no other specific patents that Samsung has pointed to.

          17 So, we think to raise this as a general issue and point

          18 to potentially thousands of other patents is prejudicial

          19 to Rembrandt.

11:16AM   20               THE COURT:    Okay.    I'm going to deny No. 11.

          21 I don't think there's an adequate foundation established

          22 for that.

          23               No. 12 does not appear to be opposed as far as

          24 the reference to fees other than for a testifying

11:17AM   25 witness.


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           1               MR. ENGER:     Your Honor, that was my reading as

           2 well.   Since counsel is not going to be a testifying

           3 witness in this case, it seems like that's a distinction

           4 without a difference and that your Honor should grant

11:17AM    5 this MIL.

           6               THE COURT:     And obviously this MIL would not

           7 apply to any witness who does testify, whether they're

           8 counsel or otherwise, right?          If they have a financial

           9 interest in the case, the defendant is free to point that

11:18AM   10 out.

          11               MR. ENGER:     That's fair, your Honor.

          12               THE COURT:     All right.      With that

          13 understanding, Mr. Sherwood, do you have any opposition

          14 to this MIL?

11:18AM   15               MR. SHERWOOD:      Not with that understanding,

          16 your Honor.      In other words, with that limitation the

          17 court has just articulated, I don't have any opposition.

          18               THE COURT:     All right.      And basically what it

          19 would apply to, then, is the contingent fee interest of

11:18AM   20 counsel in the case, is I guess would be what's left.

          21               MR. SHERWOOD:      Well, your Honor, that I'm not

          22 quite sure about.       There may be a witness who works for

          23 Rembrandt who might have a financial interest in the

          24 outcome.      So, I'd just point out that's a possibility.

11:18AM   25               THE COURT:     Yeah.    I'm just saying what is


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           1 being excluded is references to basically the contingent

           2 fee interest of counsel because anybody who testifies,

           3 their financial interest, whatever its nature may be, is

           4 fair game.

11:19AM    5               MR. SHERWOOD:     Correct.     And I just, again,

           6 for the interest of clarity, as we've discussed, wanted

           7 to make that statement so that you'd know about it.

           8               THE COURT:     And I appreciate that.        That's a

           9 good approach.

11:19AM   10               Okay.    All right, Mr. Enger.       What's next?

          11               MR. ENGER:     Your Honor, Motion in Limine

          12 No. 13 prohibits Samsung from introducing evidence or

          13 argument that awarding Rembrandt damages would drive up

          14 the prices of Samsung's products or cause Samsung to lay

11:19AM   15 off employees.        Again, that evidence would be irrelevant

          16 and unduly prejudicial.        Again, I don't see the beef

          17 here.

          18               In response, Samsung says that it does not

          19 oppose this MIL with respect to testimony that a damages

11:19AM   20 award would negatively impact Samsung's employees or

          21 customers.     That seems like they've agreed to it.            They

          22 introduce some other information about introducing

          23 evidence that Rembrandt's requested royalty rate is

          24 disproportionate and that it may affect Samsung's chip

11:20AM   25 purchasing decisions and profitability.             Again, those are


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           1 outside the scope of this MIL.

           2               THE COURT:    All right.      And I think that the

           3 reason they made the concession they made about

           4 negatively impacting employees or customers is because

11:20AM    5 that's what was ruled in a previous case.             But I think

           6 that what you have agreed to is fine for this case.

           7               Ms. Hermes, is that -- you're agreeing that

           8 there won't be any argument that a damage award in this

           9 case would endanger your company or negatively impact

11:21AM   10 employees or customers?        Is that --

          11               MS. HERMES:     Correct.      We just wanted to make

          12 sure that we still can cross-examine Mr. Weinstein on

          13 certain assumptions he made in his analysis and how that

          14 would affect the hypothetical negotiation in terms of

11:21AM   15 Samsung looking at the profitability of its products or

          16 its purchasing decisions with third-party chip suppliers.

          17               THE COURT:    Okay.    Well, as long as he doesn't

          18 raise the specter that a certain damage award in this

          19 case would threaten the financial viability of Samsung or

11:21AM   20 negatively impact employees or customers, then you will

          21 have no problem with this ruling.

          22               MS. HERMES:     Yes, your Honor.

          23               THE COURT:    Okay.    As to 14, Mr. Enger,

          24 what -- what's the issue that you're after there?

11:22AM   25               MR. ENGER:    Your Honor, this limine motion


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           1 basically prohibits Samsung from taking back the binding

           2 admissions that were taken during depositions of

           3 Samsung's corporate representatives; and this is limited

           4 to the subjects for which they were actually properly

11:22AM    5 designated.

           6               THE COURT:    Why isn't this just something that

           7 should be left for impeachment?          If you think they have

           8 contradicted the testimony of a corporate representative,

           9 why isn't your remedy to impeach them with that?

11:23AM   10               MR. ENGER:    Well, your Honor, I think that

          11 would be one option; but the better solution would be not

          12 to let them do that in the first place.             And the reason

          13 being is because when you look at the text of

          14 Rule 30(b)(6), it says that you're bound by the

11:23AM   15 admissions of your corporate representatives.

          16               THE COURT:    I understand that.        But how is

          17 making that an in limine ruling -- how does that help

          18 anything?

          19               MR. ENGER:    Well, it prohibits Samsung from

11:23AM   20 even trying in the first place to take back those

          21 admissions, which, you know, once you've rung the bell,

          22 it's tough to unring it.        Can't put that cat back in the

          23 bag.

          24               THE COURT:    I think that's what impeachment is

11:23AM   25 all about.


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           1               You know, if you think that you need an

           2 instruction to the jury that certain testimony was -- or

           3 should be considered by the jury to be binding, which

           4 would only come up if you impeached a witness, and then

11:24AM    5 Samsung says that that prior testimony shouldn't be

           6 binding, but I -- you know, I think that's something you

           7 can take up with the judge if you think that you need

           8 some kind of limiting instruction to the jury but this to

           9 me is in the nature of a limine ruling that just says

11:24AM   10 "follow the rules" and I stay away from those because I

          11 don't think they help.        So, I'm going to deny this one.

          12 Not because I disagree with the gist of it but because I

          13 don't believe it's helpful.

          14               MR. ENGER:    Thank you, your Honor.

11:24AM   15               THE COURT:    The same thing I think is true of

          16 15, unless you can point out some difference.

          17               MR. ENGER:    Well, some background might be

          18 helpful, your Honor.       Samsung submitted 30(b)(6) notices

          19 that included kind of two broad categories of topics,

11:25AM   20 damages topics and technical topics.            We presented

          21 Dr. Paul Schneck on the technical topics and Mr. Derek

          22 Wood on the damages topics.

          23               The problem was during the technical

          24 deposition, which should have been all about technical

11:25AM   25 topics, the entirety of the deposition was spent on


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           1 damages issues.      So, our corporate representative

           2 basically punted and said, "I'm not the guy that knows

           3 about that.     Talk to Mr. Wood.       I have not been

           4 designated to speak on behalf of the company about that."

11:25AM    5               Now, the problem with this is on

           6 cross-examination -- or I'm sorry -- yeah,

           7 cross-examination, they can use this type of information

           8 and these type of answers to the questions where he's

           9 punting to Mr. Wood to make the witness look very

11:25AM   10 unknowledgeable; and in fact he wasn't supposed to be

          11 knowledgeable about those topics.           It was outside the

          12 scope.   It's prejudicial, your Honor.

          13               THE COURT:    Well, that -- I don't see any

          14 reference to that in your motion.           If that's what this is

11:25AM   15 all about --

          16               MR. ENGER:    I can give you some examples of

          17 the testimony that we're exactly afraid of, your Honor.

          18               THE COURT:    I mean, this is all relating to

          19 the testimony of one witness?

11:26AM   20               MR. ENGER:    Yes, your Honor.

          21               THE COURT:    Well, I guess my problem is that

          22 that issue has not been presented very well.              Typically

          23 whether a question is outside the scope of the deposition

          24 notice is going to have to be taken up on a

11:26AM   25 question-by-question basis.


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           1               MR. ENGER:     I think this is a very narrow

           2 limine motion, your Honor.         I think it's -- it's highly

           3 prejudicial, you know, being able to impeach Dr. Schneck

           4 on damages testimony for which he was not the corporate

11:26AM    5 representative, make him look like he's unknowledgeable

           6 whenever he was not, again, the corporate representative

           7 on those topics.      He didn't need to be knowledgeable, in

           8 other words.

           9               THE COURT:     And this is Dr. Schneck?

11:27AM   10               MR. ENGER:     Dr. Paul Schneck, S-C-H-N-E-C-K.

          11               THE COURT:     All right.     Let me hear from the

          12 defendant about Dr. Schneck.

          13               MS. HIGGINS:     Your Honor, as you point out,

          14 the motion itself is vague and overbroad; and even if

11:27AM   15 we're talking specifically about the testimony from

          16 Dr. Schneck, Rembrandt's counsel is still asking for a

          17 blanket rule here with respect to his testimony.               We

          18 submit that this is something that is very difficult to

          19 do with respect to and as you've said -- as you've

11:27AM   20 pointed out, your Honor, should be taken up on a

          21 case-by-case basis if it even comes up.             If the witness

          22 is asked a question and the answer is "I don't know,"

          23 then frankly there's no need to impeach the witness.

          24               We also -- I think that this is just not the

11:28AM   25 proper subject of a MIL.        It's a request for mandatory


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           1 relief; and once again, you know, we believe this is a

           2 situation where the parties ought to be able to follow

           3 the federal rules.

           4               THE COURT:     And, Ms. Higgins, I do not intend

11:28AM    5 to grant this motion as broadly written; but if there's

           6 an issue lurking about Dr. Schneck that is going to come

           7 up during the trial, then I would like to see if there's

           8 a way to reach that before trial.

           9               MS. HIGGINS:     Your Honor, if, for example,

11:28AM   10 Dr. Schneck at trial -- this is classic impeachment

          11 scenario.     If Dr. Schneck at trial is asked a question

          12 and all of a sudden his memory is better and he can

          13 answer the question, you know, that's a situation where

          14 we should be able to impeach him with the fact that he

11:29AM   15 said at his deposition "I don't know."            That's proper

          16 impeachment.     And, so, once again, I think a blanket rule

          17 here is improper.

          18               THE COURT:     Well, if Dr. Schneck was asked

          19 questions at his deposition and the deposition was just a

11:29AM   20 30(b)(6) deposition and the topics in that 30(b)(6)

          21 deposition did not include the subject about which he was

          22 questioned, then the fact that he didn't know at that

          23 time would not impeach his later knowing if he testifies

          24 as a corporate representative at trial.             And, so, I guess

11:30AM   25 what I'm struggling with is that there may be a series of


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           1 questions that he was asked at his 30(b)(6) deposition to

           2 which objection should have been made.

           3               Mr. Enger, was there a contemporaneous

           4 objection about those questions being beyond the scope of

11:30AM    5 the deposition notice?

           6               MR. ENGER:     Yes, your Honor.      I objected to

           7 that numerous occasions, and I also got a running

           8 standing objection at the beginning of the deposition

           9 whenever it became apparent what the tactic was going to

11:30AM   10 be.

          11               MS. HIGGINS:     But still, your Honor, you know,

          12 dealing with this in the hypothetical as opposed to a

          13 specific instance with a specific question and answer, I

          14 think it's difficult.

11:31AM   15               THE COURT:     Well, I guess the only way it

          16 occurs to me it might be helpful is if the plaintiff has

          17 a series of questions that Dr. Schneck was asked at his

          18 30(b)(6) deposition as to which a contemporaneous

          19 objection was made, then I'm willing to rule on those

11:31AM   20 objections with an eye toward whether that testimony will

          21 be allowed to be used even to impeach Dr. Schneck.                   In

          22 other words, if it was beyond the scope of the deposition

          23 notice and that objection was made at the time, then I

          24 think they're entitled to a ruling on that and that

11:31AM   25 testimony would not be available to impeach him.


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           1               So, what I'm going to say on this is I'm going

           2 to deny this motion in limine; but I'm going to instruct

           3 counsel to meet and confer about the use of Dr. Schneck's

           4 deposition.     And if you're able to work it out, fine.             If

11:32AM    5 not, then I want the plaintiff to file a supplemental

           6 motion in limine that will be filed in time to be taken

           7 up at our next hearing before trial.

           8               Mr. Enger, how soon do you think you can

           9 accomplish meeting and conferring with the other side and

11:32AM   10 raising that issue in any supplemental motion?

          11               MR. ENGER:     I certainly think we could meet

          12 and confer this week.        In terms of getting the motion

          13 filed, early next week seems reasonable.

          14               THE COURT:     Okay.

11:33AM   15               MS. HIGGINS:     And, your Honor, if I may, it

          16 might be helpful to know whether plaintiff's counsel

          17 plans to call Mr. Schneck for topics outside of his

          18 30(b)(6) testimony.

          19               MR. ANAIPAKOS:     We anticipate calling

11:33AM   20 Dr. Schneck, your Honor, on a variety of topics; and we

          21 do anticipate some of those will be outside the scope of

          22 his 30(b)(6) designation.         That's the purpose for the

          23 motion in limine.

          24               THE COURT:     All right.     Well, that means it's

11:33AM   25 still a live issue, I guess, so...


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           1               MS. HIGGINS:     Your Honor, if I may, it's very

           2 difficult, if we don't know what the testimony is at the

           3 time of trial, to know whether or not we -- you know.                We

           4 believe the right to impeach or at least discuss that on

11:34AM    5 a case-by-case basis here is important.

           6               THE COURT:     Well, on what basis would you be

           7 allowed to use an answer that was beyond the scope of the

           8 deposition notice when you got a timely objection?

           9               MS. HIGGINS:     Your Honor, as I said, I think

11:34AM   10 it's very case-by-case specific; and I think that having

          11 to review the specific testimony from the deposition of

          12 Mr. Schneck versus the testimony that he's offering on

          13 the stand is really the only way that you could resolve

          14 that issue.     And I don't have a specific example in mind.

11:34AM   15               THE COURT:     Well, I guess what I'm saying is

          16 how would you be entitled to use it if you asked the

          17 question in violation of the scope of your notice and

          18 that was timely pointed out?         Under what theory would you

          19 use that testimony?

11:35AM   20               MS. HIGGINS:     Well, for example, Mr. Schneck

          21 is the CEO of Rembrandt and there might be certain

          22 factual information that is within the scope of what the

          23 man knows and if he did not answer questions that were

          24 outside the scope of the deposition -- and there was also

11:35AM   25 the issue of whether those -- that testimony and the


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           1 question was indeed outside the scope.            And I think

           2 unless you're looking at the specifics of the question

           3 and answer and counsel's objection, we don't even know

           4 for sure that the objection itself is meritorious.                   So,

11:35AM    5 I --

           6               THE COURT:    I agree.     That's the matter we

           7 would be taking up at the next hearing.

           8               MR. ENGER:    Your Honor, whenever you really

           9 get down to it, this is a very simple issue.              He was

11:36AM   10 designated on technical topics, things like inception,

          11 reduction to practice, prosecution.           He was not --

          12 99 percent of the deposition was about the corporate

          13 structure, what's their business model, how much did they

          14 acquire the patents for, things of that nature, which he

11:36AM   15 said "I don't know" after being instructed -- I'm

          16 sorry -- after an objection that that was outside the

          17 scope.

          18               Now if he comes to trial and he testifies in

          19 his personal capacity, not as a 30(b)(6) witness, he

11:36AM   20 shouldn't be impeached for saying "I don't know the

          21 answer."

          22               THE COURT:    I understand the theory.          And to

          23 the extent that the point Ms. Higgins is making is that

          24 we should look at the context of the answer and the

11:36AM   25 notice, I agree with all that.          I'm just saying I don't


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           1 want to leave that for the trial judge to have to take up

           2 cold with the jury in the box.          So, I'm going to allow

           3 Mr. Enger until some date next week.            And I guess the

           4 earlier the better.

11:37AM    5               How about if we say you're to file that by

           6 next Monday, Mr. Enger?

           7               MR. ENGER:     That's acceptable, your Honor.

           8               THE COURT:     Okay.

           9               MR. ENGER:     Providing we can have a timely

11:37AM   10 meet and confer.

          11               THE COURT:     And we can gather back here on

          12 Monday the 2nd for a hearing on it.            And the defendant

          13 can file its response -- if you get it on Monday, file

          14 your response by -- Ms. Higgins, do you think by midnight

11:38AM   15 Thursday?     Basically three days.         Can you handle that?

          16               MS. HIGGINS:     Yes, your Honor.

          17               THE COURT:     And then we will gather here on

          18 the 2nd -- on, say, the morning of the 2nd to take that

          19 up.

11:38AM   20               MS. HIGGINS:     Thank you, your Honor.

          21               THE COURT:     All right.     Thank you.

          22               But the motion in limine itself is denied on

          23 the theory that it's just overbroad.

          24               All right.     Tell me about No. 16, Mr. Aycock.

11:39AM   25               MR. AYCOCK:     Your Honor, No. 16 we referred to


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           1 earlier when we were talking about Motion in Limine

           2 No. 11.   And here we're seeking to exclude evidence and

           3 arguments related to the RAND Zero policy and license,

           4 and this is -- there is an industry group, the Bluetooth

11:39AM    5 SIG, that has a -- essentially a cross-license, just like

           6 as your Honor alluded to earlier; and here we're seeking

           7 to exclude this information.

           8               There's no dispute that Rembrandt and Summit

           9 were never Bluetooth SIG members and they don't have an

11:39AM   10 obligation under that policy or license.             And we think

          11 that the fact that Samsung and other entities have

          12 entered into royalty-free licenses has nothing to do with

          13 the value of the patents at issue here, and we think that

          14 that's only prejudicial because it suggests that the

11:40AM   15 value is nothing.

          16               THE COURT:    All right.

          17               MS. HERMES:     As Rembrandt noted, Samsung is a

          18 member of the Bluetooth SIG working group and is aware

          19 of -- and was aware at the time of the hypothetical

11:40AM   20 negotiation -- of the existence of the royalty-free

          21 cross-licensing.      I think that would have been a factor

          22 they would have considered at the time of the

          23 hypothetical negotiation when they were sitting down with

          24 Rembrandt.

11:40AM   25               Further, the accused EDR functionality in this


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           1 case is an optional feature of the Bluetooth standard and

           2 as such would clearly have been in Samsung's mind when it

           3 was thinking about licensing this technology.              We think

           4 it's relevant background information for damages.               We

11:41AM    5 think it's relevant to Georgia-Pacific Factor 8.               It goes

           6 to the profitability of the products, as well as

           7 Factor 15, the hypothetical negotiation.             That's it.

           8               THE COURT:    All right.      Thank you, Ms. Hermes.

           9               MR. AYCOCK:     If I may respond, your Honor.

11:41AM   10               THE COURT:    Mr. Aycock, do you have any

          11 authority dealing with exclusion of this particular kind

          12 of evidence?

          13               MR. AYCOCK:     I don't, your Honor.

          14               THE COURT:    I don't see why this is not fair

11:41AM   15 game for the experts to testify about.

          16               MR. AYCOCK:     Well, your Honor, I believe that

          17 Samsung has repeatedly asserted that it's relevant to the

          18 hypothetical negotiation without actually explaining why.

          19 Why the fact that they have entered into licenses that

11:41AM   20 are royalty-free with other entities related to other

          21 aspects of the Bluetooth standard has anything to do with

          22 the value of this particular patent.            They've asserted

          23 it, but they've never explained why there's any

          24 relationship there.

11:42AM   25               THE COURT:    Well, I think that's something


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           1 that is best left to the testimony of the experts and the

           2 cross-examination of them.         I'll deny No. 16.

           3               MR. ENGER:    Your Honor, Motion in Limine

           4 No. 17 prohibits Samsung from arguing that some claim

11:42AM    5 elements are more important than others.             I think the law

           6 is clear that the claims define the invention as a whole

           7 and any argument that some claim elements are more

           8 important than others is improper.           I understand this is

           9 a relatively common limine motion that's been granted in

11:43AM   10 the Eastern District on other occasions.

          11               What we're afraid of and what we don't want to

          12 happen is Samsung's invalidity expert shouldn't be

          13 permitted to say that some missing limitation is

          14 unimportant and therefore you don't have to -- pay it

11:43AM   15 little mind whenever you're assessing invalidity.               That's

          16 what this all boils down to.

          17               THE COURT:    All right.

          18               MR. HADDAD:     Gerard Haddad for Samsung, your

          19 Honor.   Your Honor, Rembrandt's motion doesn't identify

11:43AM   20 with any specificity the evidence it seeks to exclude

          21 other than a very general reference; and the only law

          22 Rembrandt cites is a cropped portion of a citation to the

          23 Hilton Davis case, your Honor, where --

          24               THE COURT:    Well, tell me:       Do you intend to

11:44AM   25 elicit any such testimony?         I'm not -- I would be


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           1 surprised if you're going to have your infringement

           2 expert testify that a certain limitation doesn't matter.

           3               MR. HADDAD:      Your Honor, I'm not sure what

           4 limitation that they might be referencing.              I don't know

11:44AM    5 of any particular limitation where he says one is less

           6 important than the other.          If there were -- if there was

           7 something like that, I think it should be brought to our

           8 attention so I could look at it and think about it.

           9               THE COURT:     Well, Mr. Enger, whether something

11:44AM   10 is -- has been granted in other cases or not as an in

          11 limine ruling doesn't really tell me much because often

          12 it's something by agreement or otherwise.              I just don't

          13 want to grant in limine rulings that I don't fully

          14 understand because I think that just creates mischief.

11:45AM   15               What -- everybody knows the law is that the

          16 device or system or whatever it is that is accused will

          17 have to meet all of the limitations of the claim.

          18               MR. ENGER:     Your Honor, let me give you an

          19 example.      Our claims have a number of limitations.                One

11:45AM   20 of the limitations is this master/slave protocol.                What I

          21 don't want to have happen, for example, is Samsung's

          22 invalidity expert to get up there and say, "Yeah, I know

          23 that the master/slave protocol isn't present; but that's

          24 unimportant.      That doesn't really get to the heart of

11:45AM   25 this invention.       Therefore, it's not really important


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           1 that it's not found in this prior art reference."               That's

           2 the type of argument we're seeking to prohibit.

           3               THE COURT:    Mr. Enger, you should hope that

           4 they testify that way.        I -- do you have some reason to

11:45AM    5 expect that in this case, from the report or deposition

           6 of their expert?

           7               MR. ENGER:    Your Honor, the way that they

           8 framed the invention really downplays this master/slave

           9 notion and really up-plays other aspects of the invention

11:46AM   10 that are found in other limitations, which is their

          11 prerogative to explain it that way but not to suggest

          12 that certain limitations are more important than others.

          13               THE COURT:    I am going to deny that.          I think

          14 that's something you can address in jury instructions.

11:46AM   15 If you believe that the defendant has tried to give the

          16 jury a false impression about what the law is regarding

          17 infringement, that's something that I think should be

          18 argued to the court and cleared up in jury instructions.

          19 And I think that the jury instructions, even the

11:46AM   20 preliminary instructions, will be clear that each of the

          21 limitations of the claim must be met.            But in any event,

          22 I'm going to deny that.

          23               18.   I understand from the briefing that the

          24 parties are in agreement that there will be no reference

11:47AM   25 to the fact that certain claims are not being asserted in


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           1 the case but that that will have no effect on the

           2 defendants' ability to go through the prosecution history

           3 and talk about what changes were made or what discussions

           4 there were about the claims during the prosecution

11:47AM    5 history.      Is that --

           6               MR. ENGER:     Your Honor, we don't believe that

           7 falls within the scope of this MIL.

           8               THE COURT:     Okay.    Well, Mr. Haddad, tell me

           9 if you understand this differently.

11:48AM   10               MR. HADDAD:      Your Honor, we agree not to

          11 present evidence or elicit testimony regarding the fact

          12 that Rembrandt narrowed the list of claims that it

          13 intends to assert in this litigation; but Samsung

          14 shouldn't be precluded from presenting evidence relating

11:48AM   15 to, for example, its marking defense, factual -- factual

          16 evidence relating to the prosecution.

          17               So, for example, your Honor, during

          18 prosecution he -- just last month, part of the

          19 prosecution record is that Rembrandt disclaimed several

11:48AM   20 claims in two filings with the patent office; and that

          21 should be part of what we can elicit because that's

          22 relevant to the prosecution record, like all the other

          23 facts of the prosecution record, your Honor.

          24               THE COURT:     I think that I can say with

11:48AM   25 confidence that that evidence would not violate this


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           1 order.

           2               MR. HADDAD:     Thank you, your Honor.

           3               THE COURT:     Whether or not it's otherwise

           4 admissible is a different issue that I'm not addressing,

11:49AM    5 but this has no effect on the evidence of the prosecution

           6 history before the PTO.

           7               MR. HADDAD:     Okay.

           8               THE COURT:     If that -- just to use the word

           9 "prosecution" that way.         The prosecution of this lawsuit

11:49AM   10 is what we're talking about not allowing, but prosecution

          11 history before the PTO is not implicated by this ruling.

          12               MR. HADDAD:     Thank you, your Honor.

          13               THE COURT:     Okay.    All right, Mr. Enger.

          14 What's next?

11:49AM   15               MR. ENGER:     Am I understanding that you're

          16 granting MIL 18?

          17               THE COURT:     Yes, as to the fact that the

          18 plaintiff has narrowed the claims asserted during this

          19 litigation.

11:49AM   20               MR. ENGER:     Understood.

          21               MIL 19 is about products and third parties

          22 that are not accused of infringement.            I think there

          23 might be a disagreement -- or a misunderstanding between

          24 the parties about the scope of this motion in limine.                 It

11:50AM   25 really only prohibits Samsung from introducing evidence


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           1 or argument suggesting that products or parties not

           2 accused of infringement did not infringe, as that would

           3 not -- be improper and would be confusing to the jury.

           4 MIL 19 does not prohibit the mere mention of any third

11:50AM    5 party or products, including BlackBerry.             It just

           6 prohibits Samsung from inferring that there are a whole

           7 host of non-infringing products available by virtue of

           8 the fact that Rembrandt didn't sue them in this

           9 litigation.

11:50AM   10               Samsung agrees to this MIL and the scope

          11 intended.     In their response, they say they agree not to

          12 elicit any testimony that a product or party not accused

          13 of infringement in this case does not mean such products

          14 or parties do not infringe the patents-in-suit.

11:50AM   15               THE COURT:     And that would be not to elicit

          16 testimony and not to argue to the jury the fact that some

          17 product was not sued means that --

          18               MR. ENGER:     It doesn't infringe.

          19               THE COURT:     -- it doesn't infringe.

11:51AM   20               MR. ENGER:     Yes, your Honor.

          21               THE COURT:     And that's the understanding that

          22 the defendants have of this as well?

          23               MR. SHERWOOD:      Yes, your Honor, I think that's

          24 correct.

11:51AM   25               THE COURT:     All right.      Then that -- it will


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           1 be granted to that extent.

           2               All right.

           3               MR. ENGER:     Your Honor, Limine Motions No. 20

           4 and 21 I think are related, and perhaps it makes sense to

11:51AM    5 discuss those together.         Those motions prohibit Samsung

           6 from introducing evidence or argument about privileged

           7 subject matter and asking questions that attempt to

           8 elicit privileged subject matter.            Those privileged

           9 matters are not discoverable and forcing Rembrandt to

11:52AM   10 object in front of the jury every time a privilege issue

          11 arises would cause undue prejudice.

          12               From reading the response, I don't think

          13 Samsung really disputes that privileged matters are

          14 off-limits; but basically their dispute is this motion

11:52AM   15 in limine is just too vague.          Not so, your Honor.        The

          16 parties have engaged in extensive discovery, and the

          17 lines are clear about what matters are considered

          18 privileged and what matters are not.            And I have a list

          19 of examples that, you know, from the deposition

11:52AM   20 testimony, should be very clear what we consider to be

          21 privileged and why we shouldn't have to get up and object

          22 that they're seeking information on privileged matters.

          23               The bottom line, as we see it, is if a topic

          24 drew a privilege objection during deposition such that

11:52AM   25 Samsung knows Rembrandt considers that topic privileged,


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           1 Samsung should have to ask the court's permission before

           2 presenting evidence on that topic or asking questions

           3 about that topic during trial.

           4               THE COURT:     All right.

11:53AM    5               MS. BIANROSA:      Your Honor, Samsung maintains

           6 that Rembrandt's motions in limine are vague.               There's no

           7 specific testimony that they cite in here that they're

           8 specifically objecting to.         Samsung is not going to be

           9 asking any questions to a witness such as "What did you

11:53AM   10 say to your lawyer" or "What did your lawyer say to you";

          11 but there are certain questions that normal businesses

          12 could answer about the nature of their business that

          13 Rembrandt won't answer because of the nature of

          14 Rembrandt's business and they're claiming privilege more

11:53AM   15 broadly than a normal business would.            And the fact that

          16 Rembrandt is in the license and litigation business is --

          17 shouldn't preclude Samsung from being allowed to ask the

          18 same questions that it could ask any other business.

          19               THE COURT:     And I guess, Ms. BianRosa, I think

11:53AM   20 what we're talking about here is if you're on notice that

          21 the plaintiff has asserted a privilege to something, then

          22 should you be ordered not to go into that in the presence

          23 of the jury without approaching the court first.                That's

          24 really the way I understand this.            And I think it would

11:54AM   25 apply both ways, frankly.


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           1               But if you know that they have previously

           2 asserted a privilege as to that, why shouldn't that be

           3 something that is off-limits unless you get leave of

           4 court on an approaching-the-bench basis?

11:54AM    5               MS. BIANROSA:      Well, your Honor, I think it's

           6 just that the way it is outlined in Rembrandt's motions,

           7 it's just too broad right now.           We really do need a list

           8 as to what they are asserting privilege over.               Otherwise,

           9 it's just really too broad.

11:54AM   10               THE COURT:     Well, the way I was contemplating

          11 this was that it wouldn't be what they intend to assert

          12 privilege as to but only what they have already asserted

          13 is privileged.      So, you would be on notice of that.

          14               Is there -- I just -- I don't think that they

11:55AM   15 should have to reassert the privilege in front of the

          16 jury if they've already asserted it before trial as to

          17 something.     And if you're -- if you can point out to me

          18 how that would create a hardship for you, then I want to

          19 try and accommodate that.

11:55AM   20               MS. BIANROSA:      Well, I think, again, your

          21 Honor, this also goes to, like in one of the previous

          22 MILs, that -- the propriety of any of those privilege

          23 assertions and whether or not we should have to follow

          24 them.   So, I think that some of these things will need to

11:55AM   25 be gone through on a question-by-question basis here as


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           1 well.

           2               THE COURT:     Well, the privilege would have

           3 been asserted during discovery; and I assume if you think

           4 that a privilege was improperly asserted during

11:56AM    5 discovery, you have the vehicle of a motion to compel to

           6 bring that up.      If you haven't done that and you still

           7 want to challenge it, then I'm sure there are other

           8 procedural vehicles that you can use; but one of them

           9 should not be just bringing it up in front of the jury

11:56AM   10 and causing the court to have to address a privilege

          11 objection that you already know about in that way.

          12               Are you concerned that there are some

          13 privilege defenses that they've asserted that you intend

          14 to attack at the trial?

11:56AM   15               MS. BIANROSA:      No, I don't think we have

          16 anything specific in mind, your Honor.             I think it's just

          17 that we haven't received the universe of what Rembrandt

          18 thinks that we're going to go through at trial and what

          19 they're objecting to, and it's -- it really places the

11:57AM   20 burden on us to go through all the deposition transcripts

          21 and look for any privilege objection and tailor our

          22 questioning around that.

          23               THE COURT:     Well, all I'm going to say is that

          24 if you are aware of a privilege objection as to

11:57AM   25 something, then you should not raise it in front of the


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           1 jury without getting some ruling from the court out of

           2 the presence of the jury.         You know, frankly, even the

           3 morning before court starts would be preferable but --

           4 and obviously it may come up that there's something you

11:57AM    5 did not realize they had asserted a privilege to and that

           6 would be unfortunate, but it happens.

           7               But to the extent you know they have claimed a

           8 privilege as to certain evidence, then don't present that

           9 evidence without raising it with the court out of the

11:58AM   10 presence of the jury.        So, I guess I'm granting 20 and 21

          11 to that extent.      And that applies to both sides.

          12               All right.     No. 22.

          13               MR. ENGER:     Your Honor, Limine Motion 22

          14 prohibits Samsung from parading before the jury

11:59AM   15 Rembrandt's ties to Texas or lack thereof so as to

          16 suggest that Rembrandt is abusing the court system by

          17 filing this lawsuit in Marshall or otherwise wasting the

          18 Texas jurors' time.        Again, we don't believe that that

          19 evidence has any probative value and unduly prejudices

11:59AM   20 Rembrandt.

          21               From reading the response, I don't see that

          22 there's a big beef about this.           They say they will not

          23 present arguments or evidence to suggest Rembrandt filed

          24 this lawsuit in Marshall, Texas, for an improper or

11:59AM   25 underhanded purpose but they instead merely seek


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           1 permission to ask Rembrandt's witnesses about background

           2 issues such as where they work.

           3               THE COURT:     You know, and I guess I see this

           4 as related also to a motion that the defendant has filed,

11:59AM    5 a motion in limine regarding the fact that Samsung is a

           6 foreign company based in Korea and --

           7               MR. ENGER:     I see parallels as well, your

           8 Honor.

           9               THE COURT:     And I would assume that you're

12:00PM   10 going to abide by the same restrictions that you're

          11 seeking from them, that you're not going to seek to draw

          12 attention to that or emphasize that.

          13               MR. ENGER:     No, your Honor.       As their MIL is

          14 written, it prohibits us from even mentioning they're

12:00PM   15 from Korea.     That goes too far.        But for us to make that

          16 a trial theme and suggest some sort of a nativist, you

          17 know, because they're from Korea and we're a United

          18 States company, that's a problem; but we will not be

          19 making any of those types of arguments.             But the issue

12:00PM   20 that they are Korean, you know, in the appropriate tone

          21 and the appropriate time for the damage analysis is

          22 necessary.

          23               THE COURT:     Well, I think that the court's

          24 intention is to restrict both sides from arguments about

12:00PM   25 where the parties are located.           Certainly you can draw


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           1 out any factual evidence about the -- where any

           2 particular witness lives or works, but there shouldn't be

           3 any argument that Rembrandt has no connection to Texas or

           4 that Samsung is a foreign or Korean company and that that

12:01PM    5 has anything to do with the issues in the case.               And as

           6 long as both sides abide by that, then I don't expect

           7 there will be any trouble.

           8               MR. ENGER:     Just a little clarification, your

           9 Honor.    Are you saying that we're not allowed to mention

12:01PM   10 that Samsung is from Korea?

          11               THE COURT:     No.   You're allowed to mention

          12 that where relevant.

          13               MR. ENGER:     I see.    But not to make any sort

          14 of nativist arguments.

12:01PM   15               THE COURT:     Not to -- to use it in a way that

          16 is not relevant to whatever you're talking about.

          17               MR. ENGER:     Understood.

          18               THE COURT:     All right.      Does the defendant

          19 need any clarification on that issue?            Ms. Hermes?

12:02PM   20               MS. HERMES:     With regards to Rembrandt, I

          21 think we're in agreement.          We would only think that that

          22 would be relevant if they were to present to the jury

          23 some ties to Texas, that we would be able to

          24 cross-examine on that topic only if they opened the door

12:02PM   25 by saying that they have a strong presence in Texas or


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           1 something of that nature.

           2               With regard to Samsung's foreign status, we

           3 are obviously -- we feel like what they've said doesn't

           4 draw a very distinct line in terms of what they're going

12:02PM    5 to say about Samsung being a foreign corporation.                We

           6 think that that fact is of no consequence under the

           7 patent laws and is more prejudicial to Samsung to paint

           8 them as a foreign corporation than to say that Rembrandt

           9 is from Pennsylvania, for example.

12:03PM   10               THE COURT:     Well, I agree.      I do think that

          11 there are points in the case where it will be relevant to

          12 have testimony or argument about where Samsung is from;

          13 but if the plaintiffs are making arguments that are not

          14 based on the relevance of it, then that's something that

12:03PM   15 you can take up with the trial judge and that I can

          16 expect the plaintiff to desist from.

          17               Anyway, I think that we're as clear as we can

          18 be on that; and I -- more than that I don't know that we

          19 can put out at this time.         But I don't think there's any

12:03PM   20 doubt but that the members of the jury will know that

          21 Samsung is a foreign corporation, but I just don't expect

          22 the plaintiff to base arguments on that.

          23               Okay.   Then I'll show that No. 22 is granted

          24 except to the extent of facts regarding where particular

12:04PM   25 witnesses or -- where particular witnesses are located.


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           1 And I guess -- I don't know.          Do I need to make it any

           2 broader than that for --

           3               Ms. Hermes, do you -- is there anything other

           4 than that that you're interested in being able to put on

12:04PM    5 about the defendants -- the plaintiff?

           6               MS. HERMES:     Only if the plaintiff were to

           7 open the door by suggesting that they have had contacts

           8 with Texas.

           9               THE COURT:     That you don't think they do.

12:04PM   10               MS. HERMES:     Correct.

          11               THE COURT:     All right.      Tell me about No. 23,

          12 Mr. Enger.

          13               MR. ENGER:     Yes, your Honor.       This is about a

          14 defense of practicing the prior art.            We don't think

12:05PM   15 Samsung should be allowed to introduce evidence or

          16 present arguments comparing the accused devices to the

          17 prior art because there is no practicing prior art

          18 defense to infringement.

          19               Again this doesn't seem disputed.           Seems like

12:05PM   20 it should have been agreed to.           They agree not to present

          21 a practicing prior art defense but want to present

          22 evidence pertaining to its invalidity defense.               I guess,

          23 your Honor, so long as Samsung is comparing the claims to

          24 prior art and not the infringing Bluetooth products to

12:05PM   25 the prior art -- that would be improper -- Samsung is not


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           1 going to run afoul of this MIL.

           2               THE COURT:     I mean, all I see reserved in the

           3 opposition is the right to present prior art to show

           4 anticipation, if I'm reading that right.

12:06PM    5               MR. HADDAD:     Yes, your Honor.

           6               THE COURT:     Okay.    Well, I will show then that

           7 this motion is granted to the extent of the -- any

           8 argument that they're not infringing because they're

           9 practicing the prior art but does not in any way impair

12:06PM   10 their right to present their invalidity defense based on

          11 anticipation.

          12               MR. HADDAD:     Or obviousness, your Honor.

          13               THE COURT:     Okay.    Or obviousness.      Thank you.

          14               MR. HADDAD:     Thank you.

12:07PM   15               THE COURT:     All right.      Mr. Enger, what's

          16 next?

          17               MR. LARSON:     It's actually Mr. Larson, your

          18 Honor.

          19               THE COURT:     All right.      Mr. Larson.

12:07PM   20               MR. LARSON:     This next MIL is to exclude

          21 references to prior art that were not properly included

          22 in Samsung's original invalidity contentions.               Now, we

          23 filed a motion to strike portions of Dr. Goodman's

          24 invalidity report, which is Docket No. 165, that are

12:07PM   25 related to this MIL, your Honor.             So, I'm happy to


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           1 present argument on that motion, on the motion to strike;

           2 but I believe the motion to strike will take care of this

           3 motion in limine.

           4               THE COURT:     All right.      Then what I would

12:07PM    5 intend to do is just carry this motion to be taken up in

           6 connection with the motion to strike the expert's

           7 testimony.

           8               Does that appear likely to handle all the

           9 issues in it, Mr. Haddad?

12:07PM   10               MR. HADDAD:     We agree, your Honor.        Thank you.

          11               THE COURT:     Okay.    And as I understand it, 25

          12 is granted by agreement.

          13               MR. ENGER:     That's correct, your Honor.

          14               THE COURT:     Okay.    All right.     That takes care

12:08PM   15 of plaintiff's motions in limine.

          16               Do any of the counsel who will need to

          17 participate further also need to be upstairs for the

          18 docket call at 1:30, I think it is?

          19               MR. WARD:     I've got someone covering for my

12:08PM   20 group.    So, no.

          21               MR. SMITH:     I will either get someone to cover

          22 for me or someone else here will cover for me down here,

          23 your Honor.

          24               THE COURT:     Okay.    Then what I'd propose to

12:08PM   25 do, I -- unless counsel think that we can in just a few


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           1 minutes get through the rest of it, I propose to break

           2 until after lunch.

           3               I see no objection to that.          Then we will

           4 reconvene here at 1:30.         I've got a conference call at

12:09PM    5 1:00, but I'll be clear in plenty of time to resume at

           6 1:30.    So, we will be in recess until that time.              Thank

           7 you.

           8               (Recess, 12:09 p.m. to 1:33 p.m.)

           9               THE COURT:     I think we are ready now to turn

01:33PM   10 to the defendants' motions in limine.

          11               Who wants to speak to those for the

          12 defendants?

          13               MR. ALAVI:     Your Honor, I'm sorry to -- if I

          14 may.    On Motion in Limine No. 1 for the defendants,

01:33PM   15 there's a protective order issue because we are going to

          16 be discussing a license with BlackBerry.             BlackBerry has

          17 designated that document as AEO, outside counsel only,

          18 and has requested that we seek to have the courtroom

          19 sealed during the discussion of that license and the

01:34PM   20 transcript designated as sealed.             Or in the alternative,

          21 if the court doesn't do so, that the parties refrain from

          22 mentioning the amount of the settlement in the open

          23 courtroom.

          24               THE COURT:     Well, I will just direct the

01:34PM   25 parties then not to mention the amount of the license


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           1 payment.      I don't think there's any need to mention the

           2 specific amount.

           3               MR. JENNER:     I think, your Honor, the numbers

           4 are all contained in one provision of the agreement which

01:34PM    5 is quoted in full in the brief so that we can refer your

           6 Honor to that and perhaps just refer to something like

           7 numbers A, B, and C or something like that.

           8               THE COURT:     I think it's in your motion, in

           9 fact, so --

01:34PM   10               MR. JENNER:     Page 5, yeah.

          11               THE COURT:     Yes.   So, I've got it; and it's no

          12 problem.

          13               I understand the request that's made in order

          14 to comply with the agreement, but I'll deny the request

01:35PM   15 to close the courtroom and instead just ask that we not

          16 mention the dollar amounts.

          17               MR. ALAVI:     Thank you, your Honor.

          18               MR. JENNER:     Having said all that, your Honor,

          19 MIL No. 1 is pretty closely tied to the Daubert motion;

01:35PM   20 and as your Honor carried one of the MILs this morning,

          21 would your Honor prefer to carry this MIL to

          22 consideration with the Daubert or to go ahead and take

          23 the whole thing on now?

          24               THE COURT:     If both sides are comfortable that

01:35PM   25 they have briefed the issue fully in connection with the


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                                           409.654.2833
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           1 Daubert motion, I don't have a problem with taking it up

           2 in that connection.

           3               MR. ALAVI:     The plaintiffs believe it's fully

           4 briefed and are happy to have the MIL taken up with the

01:35PM    5 Daubert motion, your Honor.

           6               THE COURT:     All right.      In that case, I will

           7 carry defendants' Motion in Limine No. 1 to take it up

           8 with the Daubert motion.

           9               And being as I'm from Louisiana, I guess that

01:36PM   10 I should say I don't pronounce it Daubert or Daubert

          11 (pronouncing) or any other French term because I was with

          12 the lawyer from Ohio who represented the family at a

          13 conference and he assured me that they call themselves

          14 Dauberts (pronouncing).         So, I simply refer to them as

01:36PM   15 Daubert motions.       But I like the French pronunciation on

          16 it otherwise, being from New Orleans; but anyway, we'll

          17 take up the Daubert motion then.

          18               Ms. Higgins.

          19               MS. HIGGINS:     Your Honor, Samsung's Motion

01:36PM   20 in Limine No. 2 specifically goes to Samsung's request

          21 that references to two particular -- two agreements in

          22 particular, a Wi-LAN agreement between Wi-LAN and Samsung

          23 as well as a MOSAID agreement between MOSAID and Samsung,

          24 request that references and testimony regarding these

01:37PM   25 licenses be excluded.


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           1               And I think first and foremost, if you look to

           2 Rembrandt's expert, Mr. Weinstein's expert report, what

           3 you will find there is that Mr. Weinstein has admitted

           4 that both of these agreements are not technologically

01:37PM    5 comparable to the patents-in-suit.            So, we're dealing

           6 with a situation here where we submit that these

           7 agreements in the context of this lawsuit that relates to

           8 Bluetooth and EDR -- that's "enhanced data rate

           9 technology" -- these agreements specifically relate to

01:38PM   10 WiFi patents.      And as your Honor may know, Wi-LAN and

          11 MOSAID are notorious patent enforcement entities; and

          12 they have been involved in a lot of litigation.               So, we

          13 submit that these agreements have no probative value.

          14               Specifically, the Federal Circuit in Lucent

01:38PM   15 has said that a party must show that agreement be

          16 sufficiently comparable to the hypothetical license at

          17 issue in suit.      That's 580 F.3d at 1325.         And we would

          18 submit that here these licenses are not that.               They're

          19 not relevant in this particular case.

01:38PM   20               I think if you look to Rembrandt's opposition,

          21 what they say these agreements are relevant to is

          22 Samsung's -- and this is a quote -- willingness -- this

          23 is at page 5 of their opposition -- "Samsung's

          24 willingness to pay to license patented technology."

01:39PM   25 That's any patented technology, your Honor.              They're not


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           1 referring to the patented technology or even comparable

           2 technology here.       As their expert has admitted, these are

           3 licenses that are not technologically comparable to the

           4 patents-in-suit.

01:39PM    5               Rembrandt also argues that these agreements

           6 must come in because they're the best evidence, and

           7 that's just not the case here.           Better evidence, by far,

           8 for example, would be Samsung's agreement with BandSpeed

           9 that pertains to two patents and specifically Bluetooth

01:39PM   10 technology.

          11               In addition to not being probative, we also

          12 submit that these two licenses, Wi-LAN and MOSAID, are

          13 also highly prejudicial.         Clearly what Rembrandt seeks to

          14 do here is take two agreements that have nothing to do

01:40PM   15 with the technology at issue here and they want to waive

          16 those agreements in front of the jury, agreements that

          17 have big numbers in them, and this, quite frankly, is

          18 highly prejudicial, not probative, and should be

          19 excluded.

01:40PM   20               And indeed, you know, based on your Honor's

          21 ruling earlier today where your Honor considered 403 in

          22 connection with an agreement in connection with the

          23 patents-in-suit, here we're dealing with agreements that

          24 are even way far afield from that and should also be

01:40PM   25 excluded not only under 402 but 403.


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           1               THE COURT:     Ms. Higgins, tell me:        How did

           2 these licenses come to be at issue in this case?

           3               MS. HIGGINS:     There were document requests,

           4 your Honor, that were served that were broad; and, so,

01:40PM    5 they were produced in the course of discovery.               They were

           6 then included in Mr. Weinstein's expert report under

           7 Georgia-Pacific Factor 2 and then indeed in response to

           8 that included in Samsung's expert report and specifically

           9 distinguishes having to do with WiFi technology, not

01:41PM   10 Bluetooth technology.

          11               THE COURT:     But you mentioned that your

          12 position is that they have no relationship to the

          13 technology at issue and, yet, they were responsive to a

          14 request.      How is that?

01:41PM   15               MS. HIGGINS:     Because they were, as I

          16 understand it, your Honor, a broad document request that

          17 sought production of Samsung's license agreements.

          18               THE COURT:     Well, it's my understanding from

          19 the briefing that there were three licenses produced and

01:41PM   20 that these are two of the three.

          21               MS. HIGGINS:     Yes, your Honor.       So, Wi-LAN and

          22 MOSAID are two of them.         The third agreement that was

          23 produced is the Samsung/BandSpeed agreement.              And as I

          24 explained, that agreement dealt specifically with two

01:42PM   25 patents and Bluetooth technology, not WiFi technology.


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           1               THE COURT:     Okay.    All right.     Let me hear

           2 from counsel for the plaintiff, and I'll give you a

           3 chance to respond.

           4               MR. ALAVI:     Your Honor, Mr. Talanov from our

01:42PM    5 firm will argue it.        And if the court will indulge me,

           6 the numbers in the agreements are AEO; so, we will not

           7 be, in the argument, disclosing the numbers in the

           8 agreement because of the designations on those documents.

           9               THE COURT:     All right.      That's fine.     I don't

01:42PM   10 have a need for the numbers.

          11               And you're Mr. Talanov?

          12               MR. TALANOV:     Yes, Mr. Talanov for Plaintiff

          13 Rembrandt, your Honor.

          14               THE COURT:     All right.

01:42PM   15               MR. TALANOV:     Your Honor, if I may, Rembrandt

          16 is not disputing the fact that the MOSAID and Wi-LAN

          17 licenses are not comparable; but nevertheless, they are

          18 highly relevant under several Georgia-Pacific factors

          19 because they provide the context of the hypothetical

01:43PM   20 negotiation, including the willingness and the

          21 reasonableness of the parties entering into the

          22 hypothetical negotiation as well as the general licensing

          23 practices and the commercial context surrounding the

          24 hypothetical negotiation.

01:43PM   25               THE COURT:     Well, do you want these in even if


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           1 they come in without the numbers?

           2               MR. TALANOV:     No, your Honor.       We believe that

           3 the numbers are highly relevant as well.             And just to be

           4 clear, we believe that this is highly similar to your

01:43PM    5 Honor's -- right along the lines of your Honor's ruling

           6 on Plaintiff's Motion in Limine No. 16 that had to do

           7 with the Bluetooth RANDZ license where defendants argued

           8 that this license is -- essentially the same argument,

           9 that it's highly probative of the context of hypothetical

01:44PM   10 negotiation and specifically comparing it to the size of

          11 the Rembrandt claim.        And we believe that the numbers of

          12 the MOSAID and Wi-LAN licenses are highly relevant in

          13 this case because otherwise the jury would be unfairly

          14 misled and Rembrandt would be prejudiced by only

01:44PM   15 considering the royalty-free Bluetooth RANDZ license --

          16 which, by the way, has not been established as

          17 sufficiently comparable and does not relate specifically

          18 to the patents-in-suit -- and also the lower value

          19 BandSpeed license.       So, we believe that the jury is

01:44PM   20 entitled to hear the evidence and to see all the licenses

          21 and all the amounts to sufficiently establish the context

          22 of the hypothetical negotiation.

          23               THE COURT:     And --

          24               MR. ALAVI:     If I may, your Honor, the way

01:45PM   25 Mr. Weinstein uses these licenses is in Factor No. 15 to


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           1 establish the willingness of Samsung to license patented

           2 technology and the willingness of Samsung to pay material

           3 amounts of money to license such technology.              We didn't

           4 cherry-pick these licenses.          These were the three

01:45PM    5 licenses that Samsung produced in response to the request

           6 for production.

           7               THE COURT:     And what was the request for

           8 production?

           9               MR. ALAVI:     The request for production covered

01:45PM   10 licenses for Bluetooth or -- I don't think it used the

          11 word "comparable" -- Bluetooth or other wireless patents.

          12               If you're left with just the BandSpeed license

          13 and the Bluetooth license, Mr. Weinstein is not -- so,

          14 there's two issues.        One, can we get these licenses in

01:45PM   15 without the numbers.        The answer is we want them even

          16 without the numbers just to show that in the commercial

          17 context, under Factor No. 15, that Samsung is willing to

          18 enter into negotiations and enter into licenses for

          19 bandwidth technology.        That's Georgia-Pacific Factor 15.

01:46PM   20               The numbers are relevant because it shows that

          21 Samsung pays more than nominal amounts to license

          22 important technology.        You exclude the numbers and what

          23 you are left with is two licenses that Samsung

          24 handpicked, the Bluetooth license with SIG -- that's the

01:46PM   25 Zero -- and the BandSpeed license for a lower number.


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           1 And it creates a false impression with the jury as to

           2 what Samsung is willing to pay for licenses for

           3 technology that they believe is important.

           4               If they had produced hundreds of licenses, I

01:46PM    5 think they could have made an argument that we

           6 cherry-picked the best licenses.             This was all that was

           7 produced.      So, we have to be able to allow the expert to

           8 testify about the commercial context; and that's what

           9 Mr. Weinstein does.       And he's very clear in his report

01:46PM   10 that he does not use this as a comparable license and he

          11 does not suggest that they are a basis for calculating

          12 royalty.      They establish the commercial context, which is

          13 Samsung enters into licenses for patented technology in

          14 the wireless area and is willing to pay substantial

01:47PM   15 amounts of money to do so.         So, that's the context that

          16 it's used in Georgia-Pacific Factor 15.

          17               MR. TALANOV:     Your Honor, if I could make just

          18 one additional point.        Counsel for Samsung cites to the

          19 Lucent v. Gateway opinion from Federal Circuit.               However,

01:47PM   20 the cite that Samsung provides specifically relates to

          21 Factor No. 2 within the Georgia-Pacific factor where it

          22 goes to calculating the actual amount of the royalty.

          23               Here, your Honor, what we're doing is we're

          24 not trying to say that the MOSAID and the Wi-LAN licenses

01:47PM   25 should go into the actual calculation or to suggest to


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           1 the jury what the actual range for the damages amount

           2 should be.     What we're doing is we're trying to say is

           3 under other factors, such as 8 and 15, these licenses are

           4 highly instructive of the context of the negotiation, the

01:47PM    5 willingness and the reasonableness of the negotiation.

           6 In other words, if Samsung was only willing to pay

           7 nominal amounts as opposed to higher amounts, the jury

           8 may not consider that reasonable for Samsung to not

           9 pay --

01:48PM   10               THE COURT:     Mr. Talanov, do you have any

          11 reason to believe that there were more licenses that

          12 would have been responsive to that request than the three

          13 that were produced by Samsung?

          14               MR. TALANOV:     Your Honor, I have no such

01:48PM   15 reason to believe that there were more.             These are the

          16 licenses that Samsung did produce.            They could have

          17 objected, but these are the licenses that Samsung did

          18 produce in response to our request for any licenses

          19 related to this lawsuit.

01:48PM   20               THE COURT:     All right.      The only -- I don't

          21 want to say "the only."         The main factor that you have

          22 argued that relates to the amount of these licenses is

          23 willingness to pay more than minor amounts for technology

          24 licenses.     Do you have any case law that you think

01:49PM   25 supports the idea that the court should allow licenses


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           1 that aren't of comparable technology in order to support

           2 that factor?

           3               MR. TALANOV:     Well, your Honor, we don't have

           4 any specific cases on point; but I would just refer your

01:49PM    5 Honor back to the decision with regard to Plaintiff's

           6 Motion in Limine No. 15.         It hasn't been established that

           7 the Bluetooth RANDZ licenses relate to these patents or

           8 that they are sufficiently comparable.             They haven't been

           9 addressed as such in either parties' expert reports; and,

01:49PM   10 yet, our belief is that it's best for this type of

          11 testimony -- for the licenses to be considered and for

          12 counsel to develop testimony of experts regarding these

          13 licenses both on direct and cross.

          14               THE COURT:     All right.      Ms. Higgins, I'll give

01:50PM   15 you the last word on this.

          16               MS. HIGGINS:     Yes, your Honor.       Under

          17 Rule 403, these licenses are clearly highly prejudicial

          18 and indeed it's straight out admitted conditioning of the

          19 jury to high royalty numbers that have nothing to do with

01:50PM   20 the patents-in-suit here.

          21               In particular, Rembrandt doesn't need the

          22 numbers in these irrelevant, noncomparable agreements to

          23 argue that Samsung is willing to pay money for patented

          24 technology.     The relevant test here should be whether or

01:50PM   25 not these agreements are comparable, and their own expert


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           1 admits in his report that they are not.

           2               In terms of case law, we did cite the Lucent

           3 case; and I still think that that case applies here.

           4 Your Honor, I may suggest another Federal Circuit case,

01:51PM    5 which I'm sure your Honor is familiar with, RescueNet.

           6 On RescueNet, certain agreements were kept out; and

           7 certain agreements were allowed in.            With respect to

           8 agreements that were precluded, what the court said in

           9 RescueNet was (reading) notably, none of these licenses

01:51PM   10 even mention the patent-in-suit or show any other

          11 discernable link to the claimed technology.              And that's

          12 exactly what we have here.         We have two agreements that

          13 have nothing to do with the patent-in-suit.              If Samsung

          14 had patents to -- Samsung sells refrigerators; and if

01:51PM   15 they had licenses with high numbers in them that related

          16 to refrigerators, would they be able to allow Rembrandt

          17 to wave those licenses in front of the jury?              This is the

          18 same situation.

          19               In terms of discovery, the document requests

01:52PM   20 that were served on Samsung were broad.             They were

          21 related to "Give us your license agreements relating to

          22 wireless technology."        That includes WiFi.        These

          23 agreements were produced, but that does not mean that

          24 they should be put in front of the jury here.               They are

01:52PM   25 highly prejudicial and should be kept out.


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           1               THE COURT:     I understand your arguments.             I'm

           2 going to carry this motion.          I want an opportunity to

           3 look at the case law a little more closely.

           4               Let's move on to No. 3.

01:52PM    5               MS. HERMES:     Your Honor, as to Plaintiff's

           6 Motion in Limine No. 3, we seek to preclude Rembrandt

           7 from referencing Samsung's gross profit, gross revenue

           8 figures as well as indications of Samsung's wealth.                   That

           9 was also a topic mentioned in our Daubert motion, and

01:53PM   10 here it is more broad.        We would want to preclude not

          11 just Mr. Weinstein but any witness from disclosing those

          12 sorts of large billion-dollar figures that would be

          13 prejudicial to Samsung.

          14               THE COURT:     And I understand there's an

01:53PM   15 agreement on this one; is that right?

          16               MR. ALAVI:     Yeah.    Your Honor, my

          17 understanding is we've entered into a stipulation and

          18 filed it with the court that resolves this motion

          19 in limine.

01:53PM   20               THE COURT:     I knew that there was a

          21 stipulation, and I didn't know -- or didn't remember

          22 which motion it was regarding.

          23               MR. ALAVI:     So, we negotiated specific

          24 language on this in the stipulation; so, I think it's

01:53PM   25 moot.


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           1               MS. HERMES:     I'll just note that the

           2 stipulation only refers to Mr. Weinstein's testimony and

           3 only discusses the Daubert; but if counsel is happy for

           4 this stipulation to apply to the motion in limine,

01:54PM    5 then --

           6               MR. ALAVI:     I'm confused, your Honor.            We had

           7 a negotiation to resolve both this MIL and the Daubert

           8 motion on this point and entered into a stipulation.                  So,

           9 if it's the defendants' position that they now want to

01:54PM   10 argue the motion in limine and get a broader protection,

          11 I think we can withdraw the stipulation and argue it.                  I

          12 don't see the need to do so when we've negotiated a

          13 stipulation to deal with this motion in limine and the

          14 Daubert motion.

01:54PM   15               THE COURT:     Is there a disagreement about --

          16               MS. HERMES:     Well, as I read -- yes.         I

          17 believe I -- yes, that's correct.            The stipulation states

          18 that Rembrandt agreed to Samsung's Motion in Limine

          19 No. 3, including as set forth in the stipulation; and

01:54PM   20 that was in the corrected notice of agreements reached

          21 during the meet and confer.          So, if that is the agreement

          22 of the parties, then we are in agreement.

          23               MR. ALAVI:     But the scope of the agreement set

          24 forth in the stipulation.

01:55PM   25               MS. HERMES:     Well, the stipulation only refers


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           1 to --

           2               THE COURT:     There's a separate document

           3 entitled "Stipulation"?         Is that what you're indicating?

           4               MR. ALAVI:     Yes, your Honor.       The way we

01:55PM    5 resolved this MIL as well as another MIL and a portion of

           6 the Daubert motion was through a stipulation that the

           7 parties negotiated, drafted, entered into, and filed with

           8 the court.

           9               THE COURT:     All right.      And, Ms. Hermes, are

01:55PM   10 you aware of that stipulation?

          11               MS. HERMES:     I'm holding it in my hand.

          12               THE COURT:     All right.      Does that resolve it?

          13               MS. HERMES:     To the extent that plaintiffs do

          14 not intend to introduce testimony of Samsung's gross

01:55PM   15 revenues, gross profits, and wealth, if that's the

          16 understanding of both sides, then yes, it is resolved.

          17               THE COURT:     Well, I'm --

          18               MR. ALAVI:     We're going to abide by the

          19 stipulation, your Honor.

01:56PM   20               THE COURT:     All right.

          21               MS. HERMES:     The stipulation doesn't actually

          22 refer to the motion in limine.           The stipulation withdraws

          23 a portion of the Daubert motion in exchange for

          24 withdrawing portions of Mr. Weinstein's report and

01:56PM   25 refraining Mr. Weinstein from testifying about them.                  So,


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           1 we believe it would be counter to the agreement the

           2 parties reached if Rembrandt then put the testimony in

           3 through another witness.

           4               MR. JENNER:     I'm sorry.      Your Honor, do you

01:56PM    5 have a copy of that stipulation?             Is that what you're

           6 looking at?

           7               THE COURT:     I'm looking at the corrected

           8 notice, which is Document 220; and I'm trying to put my

           9 hands on the stipulation.

01:56PM   10               MR. JENNER:     It's on page -- well, they're not

          11 numbered -- yeah, page 2 of 7, it says at the top; and

          12 it's within Roman No. III on that page 2.              And the

          13 language that I think counsel are referring to is the

          14 second paragraph that begins "Samsung withdrew

01:57PM   15 Defendants' Motions in Limine 5 and 6" and so forth.

          16               Do you have that?

          17               THE COURT:     I do.    But what I'm understanding

          18 from Mr. Alavi is that there is another document entitled

          19 "Stipulation"; is that right?

01:57PM   20               MS. HERMES:     Yes.    I have an extra copy if

          21 you'd like for me to pass it up, your Honor.              It's Docket

          22 No. 222.

          23               THE COURT:     Okay.

          24               MR. JENNER:     Your Honor, rather than force you

01:57PM   25 to hunt around for this, I'd be happy to hand up what I'm


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           1 told is the further stipulation.

           2               THE COURT:     I guess -- all right.        I'm just

           3 trying to figure out if the parties believe they have

           4 resolved Motion in Limine No. 3.

01:57PM    5               MR. ALAVI:     Your Honor, I think I can solve

           6 this.   The stipulation and the reason why the stipulation

           7 is important to the plaintiff is that when we addressed

           8 this issue, there is a carve-out in the stipulation that

           9 allows our expert to talk about what the gross profit

01:58PM   10 margin is and allows him to discuss that he looked at,

          11 for example, Samsung's financial information and how he

          12 calculated the gross margin, without revealing that

          13 information.      So, I thought that we had resolved this MIL

          14 and the Daubert motion with this stipulation.

01:58PM   15               If the defendants now believe that the

          16 stipulation is too narrow because it only speaks to

          17 Mr. Weinstein, I'm happy to solve that problem for them

          18 as long as the stipulation -- as long as the Motion

          19 in Limine No. 3 as granted has the same carve-out that's

01:58PM   20 in the stipulation that will allow Mr. Weinstein, the

          21 expert, to talk about gross margin calculations, how he

          22 came about it, and there's some additional language about

          23 what he's trying to say.

          24               What I don't want to have happen is you grant

01:58PM   25 MIL No. 3 and suddenly that is a broader grant of relief


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           1 on Mr. Weinstein than what's in the stipulation.                That's

           2 why I keep pointing to the stipulation, because the MIL

           3 is much broader than what we agreed to in the

           4 stipulation.

01:59PM    5               THE COURT:     Well, I'm looking at the

           6 stipulation now on page 2 of Document 222, paragraph 3a,

           7 where it says, "However, in the event that the court

           8 denies Sections 5 and 6 of Samsung's Daubert motion" and

           9 following then.

01:59PM   10               So, is that contingent on the outcome of

          11 another motion?

          12               MS. HERMES:     If I could respond.        Your Honor,

          13 if the court denies those sections of Samsung's Daubert

          14 motion, Samsung certainly intends to abide by the

01:59PM   15 provisions of Section 3a of the stipulation.              Our concern

          16 is that there's no doubt that by covering the stipulation

          17 through the stipulation here and not ignoring the broader

          18 language in the report to the court, that Rembrandt won't

          19 be able to introduce, you know, multibillion-dollar

02:00PM   20 revenue and profit figures through a witness other than

          21 Mr. Weinstein, which we believe would be prejudicial.                 We

          22 just want to make sure there's no misunderstanding there.

          23               MR. ALAVI:     To answer your question, your

          24 Honor, there's a Daubert motion to strike Mr. Weinstein's

02:00PM   25 actual opinions; and if the court denies that Daubert


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           1 motion, then we'll have a damage expert.             That's what

           2 that Section 5 and 6 talks about.            And he'll be allowed

           3 to talk about it -- even though he won't be able to talk

           4 about, under our stipulation, the actual revenue number

02:00PM    5 and the actual profit number, he's allowed to talk about

           6 certain things like the gross profit margin and how he

           7 calculated it and that he wasn't making it up out of thin

           8 air, he actually looked at numbers.            So, I thought that

           9 resolved both the MIL and the motion to strike as part of

02:00PM   10 the Daubert motion.

          11               We're happy to enter into and agree to MIL 3

          12 since defendants don't have that understanding; but we

          13 want that carve-out that's in the stipulation to be part

          14 of MIL 3 so that the granting of the MIL does not take

02:01PM   15 away what we've agreed to in the stipulation as it

          16 relates to Mr. Weinstein.

          17               MS. HERMES:     We're amenable to that, your

          18 Honor.

          19               THE COURT:     All right.      Then Motion in Limine

02:01PM   20 No. 3 will be granted subject to the provisions of

          21 paragraph 3 of the stipulation in Docket 222.

          22               MR. ALAVI:     I don't have the stipulation in

          23 front of me.      If I may speak to Ms. Hermes and

          24 double-check.      As you can tell, I was not anticipating we

02:01PM   25 would be arguing this motion in limine so...


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           1               That's correct.        Paragraph 3a.

           2               THE COURT:     Okay.     All right.

           3               MR. ALAVI:     We apologize for the confusion on

           4 that motion in limine, your Honor.

02:02PM    5               THE COURT:     Okay.     I think we've addressed

           6 No. 4 to some extent.        That's Samsung's status as a

           7 foreign company.       And with the understanding that we're

           8 granting that except as it may be relevant to any issues

           9 in this case.      In other words, it is not that it -- there

02:03PM   10 can be no mention of their foreign status but just that

          11 there will only be mention or argument in connection with

          12 an issue to which their nationality is relevant.

          13               Ms. Hermes, do you have a better idea of how

          14 to approach that?

02:03PM   15               MS. HERMES:     No, your Honor.

          16               THE COURT:     Okay.

          17               MS. HERMES:     Your Honor, I was just standing

          18 up because I believe that there was a footnote that

          19 defendants had addressed in their opposition and just

02:03PM   20 wanted to make sure that we didn't pass Motion in Limine

          21 No. 4 about the Footnote 4 on page 7 of plaintiff's

          22 motion in limine that says (reading) Samsung also moves

          23 to preclude any testimony or argument regarding the

          24 absence of any Samsung witness at trial or any suggestion

02:04PM   25 or questions of a witness or argument that a witness or


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           1 party is not trustworthy or is dishonest based on the

           2 language they speak, their nationality or ethnicity.                  I

           3 think that the opposition was geared at the first

           4 sentence of that, but I'll defer to counsel for

02:04PM    5 Rembrandt.

           6               MR. ENGER:     Your Honor, I'm not sure about the

           7 propriety of including a separate MIL in a footnote; but

           8 to the extent that that's proper, as we set forth in our

           9 response, we believe that there is this missing person

02:04PM   10 presumption that the testimony would be unfavorable.                  And

          11 we've cited a number of cases where that was the case.

          12 We haven't heard any reason why those cases don't apply

          13 here.    So, there's -- we should be afforded the

          14 long-standing missing witness presumption for witnesses

02:05PM   15 not called who are under Samsung's control.

          16               MS. HERMES:     We have a response to that, your

          17 Honor.

          18               THE COURT:     All right.      Samsung is seeking

          19 here to preclude any reference to an uncalled witness; is

02:05PM   20 that right?

          21               MS. HERMES:     In particular what we had in mind

          22 was the idea that Rembrandt would suggest that there was

          23 something improper about Samsung not bringing a

          24 high-level or C level executive from Korea.              That's why

02:05PM   25 we have included it in this motion in limine, because it


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           1 related to the fact that Samsung is a foreign

           2 corporation.

           3               So, obviously to the extent witnesses were

           4 disclosed as having information relevant to the case,

02:05PM    5 they have been deposed and the parties are working

           6 towards the admissibility of that testimony.              Or

           7 obviously if a witness comes live, Rembrandt would be

           8 entitled to cross-examine them.           This would be the idea

           9 that Samsung should have brought some sort of C level

02:06PM   10 executive and that if they don't, then Rembrandt can

          11 argue to the jury that that says something about the

          12 value of the case to Samsung.

          13               THE COURT:     You know, the uncalled witness

          14 rule is that a witness who is equally available to both

02:06PM   15 sides cannot be attributed to either side for failing to

          16 call them.     But to the extent that witnesses are not

          17 equally available, such as Samsung witnesses who are

          18 beyond the subpoena power of the court, why should the

          19 court preclude the defendant from -- or the plaintiff

02:06PM   20 from commenting on the failure to call?

          21               MS. HERMES:     We're not aware that Rembrandt

          22 has requested that any particular C level employee be at

          23 the trial; and, so, it would be that they wouldn't call

          24 anybody and then they would still argue that somehow it

02:07PM   25 was improper for us to have not brought someone anyway.


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           1               THE COURT:     I mean, I occasionally see this

           2 motion granted as a mutual motion where both sides agree

           3 not to comment on the other side's failure to call a

           4 witness; but absent any agreement, the only thing the

02:07PM    5 court would enforce would be the standard rule that if

           6 the witness is equally available to both sides, then --

           7 then you can't comment on that and attribute it to the

           8 other side.

           9               MS. HERMES:     We would certainly be open to a

02:07PM   10 mutual agreement if the other side -- but we're not aware

          11 that they have requested the availability of any

          12 witnesses that we're not providing.

          13               THE COURT:     Mr. Enger?

          14               MR. ENGER:     Your Honor, what this -- what we

02:08PM   15 want to make sure that we preserve the right to do, if

          16 they bring a corporate representative who is not

          17 particularly knowledgeable about the facts or issues of

          18 this case, we want to be able to point out to the jury

          19 that they brought a corporate representative who is not

02:08PM   20 knowledgeable about this issue.           As long as we're allowed

          21 to cross-examine the witness on that particular issue and

          22 point out that they could have brought someone that was

          23 more knowledgeable but chose not to, then we don't have a

          24 problem here.

02:08PM   25               THE COURT:     Well, the question is:        Do you


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           1 join in a request to have a rule that's broader than the

           2 default rule which is just that it only applies to

           3 witnesses that are equally available to both sides?

           4               MR. ENGER:     No, your Honor.

02:08PM    5               THE COURT:     In that case, I'll deny the

           6 request and either side can comment on the failure of the

           7 other side to call any witness that is not equally

           8 available to their side.

           9               MR. JENNER:     Your Honor, I'm not sure I

02:09PM   10 understand what their predicate is for this.              I mean, I

          11 could understand it if they had asked us to bring a

          12 particular witness with germane knowledge about

          13 something.     Samsung has thousands and thousands of

          14 witnesses in Korea, and what the -- I think what I hear

02:09PM   15 them asking the court is to be able to choose anybody who

          16 doesn't show up that we didn't know they wanted and make

          17 an uncalled witness argument on that.            That just doesn't

          18 seem fair.

          19               THE COURT:     I don't think I heard that from

02:09PM   20 Mr. Enger.     What he indicated was that if your witness is

          21 not able to answer certain relevant questions, that they

          22 wanted to be able to criticize you for bringing a witness

          23 who didn't have that knowledge.

          24               MR. JENNER:     That narrows it down somewhat

02:09PM   25 but --


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           1               THE COURT:     Well, do you have any authority

           2 for the proposition that the court can preclude them from

           3 commenting on the failure of one side to call witnesses

           4 that are only available to it?           If you do, tell me about

02:10PM    5 it.

           6               MR. JENNER:     Well, your Honor, I don't.          I

           7 don't know that we understood this is where this was

           8 going to wind up.       But as I understand it, they had asked

           9 for one witness; and we don't know about other witnesses.

02:10PM   10 We don't know what they would want to cross-examine them

          11 about.    So, unless what they were to cross about and

          12 complain about a lack of knowledge in response to is

          13 strictly limited to the scope of the direct, I guess I

          14 could understand where they would be coming from.                But if

02:10PM   15 there were to be any opportunity to start cross-examining

          16 witnesses about subject matters that we had no reason to

          17 anticipate and then take the position that we should have

          18 brought somebody else who could answer the questions that

          19 we didn't anticipate, it just doesn't seem fair.

02:11PM   20               So, I guess what I'm saying is no, I haven't

          21 looked for authority on what we're talking about now.

          22 I'd like to have the opportunity to do that if it's

          23 important to your Honor.         But it just seems to me that

          24 right now this is a fairness issue.

02:11PM   25               THE COURT:     And what you're seeking in


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           1 fairness is a rule to prohibit them from what?

           2               MR. JENNER:     Making the uncalled witness

           3 argument as to witnesses they gave us no opportunity or

           4 notice to bring to the trial, because that would seem to

02:11PM    5 be argument by ambush.

           6               THE COURT:     Okay.    When do you want that

           7 notice?

           8               MR. JENNER:     Well, given the fact that we have

           9 to try to get people freed up in Korea, I'd like to have

02:11PM   10 that notice as expeditiously as possible, if there's

          11 somebody they think that should come.            I know they can't

          12 do that today.      But if they're making this argument, I

          13 presume they've got something in mind.             We'd like to hear

          14 about it by perhaps the end of the day tomorrow.

02:12PM   15               THE COURT:     I don't know.      Our rules typically

          16 don't provide for one side to ask the other to bring

          17 particular witnesses, but if that's what you're

          18 proposing.

          19               MR. ENGER:     Your Honor, this is --

02:12PM   20               MR. JENNER:     Had I known, your Honor, if there

          21 was some witness of that character, I would have thought

          22 the witness that they want us to bring would be on their

          23 witness list, so that they really ought to know who that

          24 witness is.     If it's somebody that's not on their witness

02:12PM   25 list, then I don't know where this is coming from.


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           1               THE COURT:     Basically I don't think that this

           2 is in a posture at this point for me to decide; but I'll

           3 say that to the extent that Samsung was asking for relief

           4 in Footnote 4 on page 7 of your motion in limine, that

02:13PM    5 relief is denied.       And if you come up with a basis to

           6 seek additional relief, let me know.

           7               MR. JENNER:     Okay.    Thank you, your Honor.

           8               THE COURT:     5 and 6 I think were by agreement.

           9               They're withdrawn by defendant?

02:13PM   10               MS. HERMES:     Yes.    Yes, your Honor.       We

          11 withdrew those as duplicative of the exact evidence we

          12 were asking you to exclude in the Daubert motion.                 So,

          13 it's subject to the stipulation.

          14               THE COURT:     7 is -- as I understand it,

02:14PM   15 although 7 is worded broadly at the introduction, it is

          16 intended to relate specifically to just two witnesses,

          17 Philip Koopman and Stuart Kerry; is that right?

          18               MR. HADDAD:     Yes, your Honor.

          19               THE COURT:     And your request is based on the

02:14PM   20 failure to timely disclose those witnesses?

          21               MR. HADDAD:     Yes, your Honor.       I mean, as we

          22 had mentioned in our motion, there were 13 witnesses that

          23 they put on their trial witness list that were not

          24 disclosed in their 26(a) disclosures; but we're not

02:14PM   25 complaining about the bulk of them.            It's just the two


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           1 that were never deposed.

           2                The first time we ever heard of these

           3 witnesses was in their invalidity -- their invalidity

           4 expert's report in November of 2014.

02:14PM    5                THE COURT:     I tell you what, Mr. Haddad, let

           6 me let them first try to tell me what their theory is on

           7 disclosure; and then I'll give you a chance to respond to

           8 that.

           9                MR. HADDAD:     Thank you, your Honor.

02:15PM   10                THE COURT:     Thank you.

          11                MR. ENGER:     Thank you, your Honor.        This is

          12 not -- Dr. Akl's report was not the first time that

          13 defendants had ever heard of Messrs. Kerry and Koopman.

          14 These are authors of defendants' own prior art documents.

02:15PM   15 Mr. Koopman wrote an article that they were relying upon

          16 as --

          17                THE COURT:     Mr. Enger, them knowing about a

          18 person's existence and them knowing that you intend to

          19 call the person as a witness are two very different

02:15PM   20 things.       When did you disclose to the other side that you

          21 intended to call these individuals as witnesses at the

          22 trial?

          23                MR. ENGER:     They showed up by name in our --

          24 Dr. Akl's invalidity report, and the first time that they

02:15PM   25 showed up as a witness for trial was on the trial list.


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           1               THE COURT:     Why?

           2               MR. ENGER:     Well, frankly, you know, we didn't

           3 discover their relevance and their importance until later

           4 in the case.

02:16PM    5               THE COURT:     So, what is the actual date on

           6 which the defendant was first given notice of any intent

           7 to call either of these as witnesses?

           8               MR. ENGER:     In the expert report of Dr. Akl.

           9               THE COURT:     Did that expert report state that

02:16PM   10 you intended to call them as witnesses?

          11               MR. ENGER:     It did not.     It said that they had

          12 conversations with the invalidity expert Dr. Akl, and it

          13 set forth two and three pages long of exactly what the

          14 conversation was.

02:16PM   15               THE COURT:     And when is the first date that

          16 you advised the defendant of an intent to call them as

          17 witnesses?

          18               MR. ENGER:     I believe that would be on the

          19 trial list, your Honor.

02:16PM   20               THE COURT:     And I'm just trying to get a date.

          21 I don't know when you exchanged those.

          22               MR. ENGER:     I believe it was in early

          23 December, your Honor.        I can look at the pleadings.

          24               December 5th.

02:17PM   25               THE COURT:     And, Mr. Enger, do you contend


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           1 that that is a timely disclosure of a witness under the

           2 rules?

           3               MR. ENGER:     Well, your Honor, I think it was a

           4 harmless -- no harm, no foul kind of situation because

02:17PM    5 there was still an opportunity to depose both gentlemen.

           6 Defendants never asked for it.

           7               THE COURT:     And you're saying they could have

           8 asked to take their depositions late, or are you

           9 contending that's within the time allowed for

02:17PM   10 depositions?

          11               MR. ENGER:     I'm saying they could have asked

          12 to take the depositions later, your Honor.

          13               THE COURT:     All right.      And what is the

          14 prejudice to your side if they're not allowed to testify?

02:18PM   15               MR. ENGER:     With respect to Kerry, on one side

          16 you'll have O'Hara who is one of the authors of this

          17 draft WiFi standard.        He'll show up live at trial, and

          18 he'll be able to say that it was publicly available.

          19 Mr. Kerry, who was actually more senior on that

02:18PM   20 committee, has the exact opposite conclusion.               We should

          21 be able to present rebuttal testimony to Mr. O'Hara --

          22 namely, that testimony of Mr. Kerry -- to show that the

          23 draft WiFi standard was not publicly available.

          24               THE COURT:     And when did you learn of the

02:18PM   25 position of Mr. O'Hara on it?


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           1               MR. ENGER:     I believe sometime over the

           2 summer.

           3               THE COURT:     And when did you learn that

           4 Mr. Kerry had a different position on that?

02:18PM    5               MR. ENGER:     I believe we didn't identify

           6 Mr. Kerry until shortly before Dr. Akl's rebuttal report

           7 was due.

           8               THE COURT:     Which was when?

           9               MR. ENGER:     Early November.

02:19PM   10               THE COURT:     And what about Mr. Koopman?

          11               MR. ENGER:     What specifically about

          12 Mr. Koopman?

          13               THE COURT:     I mean -- all right.        What is the

          14 prejudice to your side if Mr. Koopman is not allowed to

02:19PM   15 testify?

          16               MR. ENGER:     Defendants are misinterpreting a

          17 paper that Dr. Koopman wrote in such that they are

          18 believing that it provides a motivation to combine the

          19 prior art with a master/slave protocol.             Dr. Koopman

02:19PM   20 would show up at trial and would explain that they've

          21 completely misinterpreted his paper.            It does -- in fact,

          22 it teaches away from applying a master/slave protocol.

          23 So, it would present an unfair picture of the evidence to

          24 the jury, your Honor.

02:19PM   25               THE COURT:     And when did you learn that the


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           1 defendant would be presenting that picture which you

           2 believe is unfair?

           3               MR. ENGER:     They identified Dr. Koopman's

           4 paper early in the case and -- at the time of their

02:20PM    5 initial invalidity contentions; but it wasn't until much

           6 later in the case whenever we received their invalidity

           7 report, Dr. Goodman's report, that we realized it would

           8 be such an important part of their invalidity case.

           9               THE COURT:     And when was that?

02:20PM   10               MR. ENGER:     September.

          11               That sound right, Gerry?

          12               MR. HADDAD:     Goodman's?     October 6th.

          13               MR. ENGER:     October 6th.

          14               THE COURT:     So, you learned of that

02:20PM   15 October 6th; and you listed Koopman as a witness two

          16 months later.

          17               MR. ENGER:     Yes, your Honor.

          18               THE COURT:     Is there any reason you didn't do

          19 that sooner?

02:20PM   20               MR. ENGER:     We believed that putting them on

          21 notice of the conversation in Dr. Akl's report was

          22 sufficient.

          23               THE COURT:     You don't really think that just

          24 somebody knowing of the existence of a person is the same

02:21PM   25 as putting them on a witness list, do you?


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           1                MR. ENGER:     No, your Honor.

           2                THE COURT:     Well, I -- so, did -- you really

           3 thought that the fact that your expert mentioned the

           4 person --

02:21PM    5                MR. ENGER:     It was more than a mention.          It

           6 was several pages of a conversation that they had.                 It

           7 put them on notice certainly that he was an important

           8 person to their invalidity case.

           9                THE COURT:     Yes.   And they're not claiming

02:21PM   10 that you failed to disclose the existence of the person,

          11 just that it wasn't a timely designation as a witness.

          12 Yes?

          13                MR. ENGER:     I believe that's their position,

          14 your Honor.

02:22PM   15                THE COURT:     All right.      Thank you, Mr. Enger.

          16                MR. HADDAD:     Your Honor, one more thing about

          17 Mr. Koopman.       I'd just like to add that he's a paid

          18 expert.       The testimony they're using from Dr. Koopman

          19 is -- he's going to be interpreting an article that he

02:22PM   20 wrote and making some arguments that another article he

          21 wrote interprets that article -- the article on which we

          22 are relying, a published article, should be interpreted

          23 somehow differently.         We've received no expert report on

          24 that either, and that is expert testimony.               It's doing an

02:22PM   25 interpretation analysis.          It's not just that he is a fact


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           1 witness.      There's an issue there as well, your Honor.

           2               THE COURT:     All right.      With respect to

           3 Mr. Kerry, what do you say to the prejudice argument that

           4 Mr. Enger made about the jury being left with an unfair

02:23PM    5 impression of the evidence?

           6               MR. HADDAD:     Your Honor, Mr. Kerry, we just

           7 learned about him -- this is sort of a trial by ambush

           8 here.   We disclosed Mr. O'Hara early on, long ago, well

           9 within the fact discovery time period in our 26(a)

02:23PM   10 disclosures.      Rembrandt had plenty of opportunity to take

          11 his deposition, learn what he was going to say; and they

          12 have known about Mr. Kerry since October of 2013.                They

          13 had 90 people to choose from that were disclosed on this

          14 piece of prior art and which we disclosed back in October

02:23PM   15 of 2013.      We relied on Mr. O'Hara.        They knew what our

          16 position was with Mr. O'Hara.          They had plenty of time to

          17 find someone, and we learned about it just a few weeks

          18 ago.

          19               THE COURT:     Do you agree that Mr. Kerry and

02:24PM   20 Mr. O'Hara have opposing positions on whether or not this

          21 information was publicly available?

          22               MR. HADDAD:     It's hard to say without us

          23 knowing really what happened in a hearsay conversation.

          24 There's a phone call between their expert and someone

02:24PM   25 else, and it's hard to say what our interpretation is of


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           1 their -- of their expert's phone call without us asking

           2 some more questions.        And we didn't have that

           3 opportunity.      Absolutely no opportunity.         And we're just

           4 weeks from trial here.

02:24PM    5               THE COURT:     I understand.      They've indicated

           6 that they did not learn of this -- of the materiality of

           7 Mr. Kerry's testimony until recently as well.

           8               MR. HADDAD:     They must have known the

           9 materiality of Mr. Kerry's testimony.            They took the

02:25PM   10 deposition of Mr. O'Hara during the summer, and

          11 Mr. Kerry's testimony is to oppose Mr. O'Hara.               So, they

          12 must have known that -- maybe they didn't like what

          13 Mr. O'Hara said.       They could have found someone else.

          14 And that was during the summer, and fact discovery didn't

02:25PM   15 close.    We extended fact discovery for certain issues

          16 several times for things that the various parties weren't

          17 able to conclude.       But, you know, we just found out about

          18 this when the trial list was served on us a couple weeks

          19 ago, month ago.

02:25PM   20               THE COURT:     And do you have reason to believe

          21 that the plaintiff knew about Mr. Kerry's position on

          22 this issue well before they notified you?

          23               MR. HADDAD:     They certainly could have asked

          24 him and let us know.        They knew of Mr. O'Hara's position

02:25PM   25 as of the summer, long before fact discovery closed; and


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           1 they could have picked one of the 90 people that were on

           2 this list that were -- also attended these meetings and

           3 found someone within the time period of fact discovery,

           4 not just let us know in the trial on the trial witness

02:26PM    5 list.

           6               THE COURT:     All right.      Let me hear from

           7 Mr. Enger again on Mr. Kerry.

           8               When did you become aware of Mr. Kerry's

           9 position on this issue about public knowledge?

02:26PM   10               MR. ENGER:     Not until shortly before Dr. Akl's

          11 report when we disclosed it to defendants.

          12               THE COURT:     And that was what date again?

          13               MR. ENGER:     September.

          14               Dr. Akl's report, the initial -- the

02:26PM   15 invalidity rebuttal reports were in October.

          16               MR. HADDAD:     November.

          17               MR. ENGER:     November.

          18               THE COURT:     So, you learned of this sometime

          19 in around November or just before; and you disclosed it

02:27PM   20 December the 5th?

          21               MR. ENGER:     We put the witness on the witness

          22 list on December the 5th.         That's right.      We learned

          23 about it during the one-month period whenever Dr. Akl was

          24 preparing his invalidity rebuttal report.              We disclosed

02:27PM   25 it shortly thereafter in the report, and then we put him


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           1 on the list December 5th.

           2               THE COURT:     And I take it Mr. Kerry has not

           3 been deposed?

           4               MR. ENGER:     No, your Honor.       Defendants have

02:27PM    5 not asked to depose him.

           6               THE COURT:     Mr. Haddad, does the defendant

           7 want to depose Mr. Kerry if he's allowed to testify?

           8               MR. HADDAD:     Well, I mean, your Honor, I guess

           9 that would be very important for us.            I mean, I would

02:27PM   10 think they would need to have sought leave to add a

          11 witness like this long after fact discovery ends and

          12 after they knew our -- long after they knew our position

          13 and knowing the prior art since October of 2013.                I think

          14 it really handicaps us weeks before the trial here.                   It's

02:28PM   15 an ambush.

          16               THE COURT:     Mr. Haddad, the reason this is

          17 giving me trouble is that we are trying to achieve a

          18 resolution of the case on the merits.            It's important

          19 that the rules be followed, but exceptions are made when

02:28PM   20 there are circumstances that are beyond the control of

          21 either side.      What I'm hearing is that it's a very close

          22 time frame from when the defendants learned of the

          23 importance of Mr. Kerry's testimony, when it was

          24 disclosed to you in the expert report, and when they put

02:28PM   25 him on their trial witness list; and it sounds like the


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           1 prejudice to you can be cured by causing him to be

           2 presented for deposition.

           3               How will you be prejudiced as long as you get

           4 his deposition before trial?

02:29PM    5               MR. HADDAD:     And I guess after the deposition

           6 we'll figure that out and we'll have to look at our

           7 expert reports and see whether that needs any updating

           8 and -- we're only talking about Mr. Kerry, correct, not

           9 Mr. Koopman?

02:29PM   10               THE COURT:     I believe that the case regarding

          11 Dr. Koopman is not compelling enough, especially given

          12 that he is at this point retained by plaintiff, to

          13 justify his joinder in the case at this stage.               And I'm

          14 going to grant the motion to exclude with respect to

02:29PM   15 Dr. Koopman, but I at this point will deny the motion

          16 with respect to Mr. Kerry with the stipulation that he be

          17 made available promptly for deposition.               And if you want

          18 to file some supplemental motion after that, if you can

          19 show some prejudice beyond that which is contemplated at

02:30PM   20 this time, then I'll give you an opportunity to make that

          21 argument.

          22               MR. HADDAD:     Okay, your Honor.

          23               THE COURT:     All right.      No. 8.

          24               MR. HADDAD:     Your Honor, this is related to

02:30PM   25 No. 7, your Honor.       It's the private conversations


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           1 between Rembrandt's expert Dr. Akl and Dr. Koopman and

           2 also Mr. Kerry.      I think it's -- I think it's sort of

           3 definitely tied in with the previous motion.              And if

           4 we're going to exclude Dr. Koopman, your Honor, I think

02:31PM    5 we need to exclude the conversations on which any opinion

           6 that conversation was based.

           7               THE COURT:     You know, experts can routinely

           8 rely upon hearsay in formulating their opinions; but

           9 they're not thereby entitled to repeat that hearsay to

02:31PM   10 the jury.     Are we talking about just preventing Dr. Akl

          11 from testifying to the jury about these conversations, or

          12 are you talking about trying to prevent him from basing

          13 an opinion on that?

          14               MR. HADDAD:     Well, I think it's both, your

02:32PM   15 Honor.    He relied on Dr. Koopman for expert --

          16 essentially expert testimony that Dr. Koopman did not

          17 submit an expert report on.          This is also not the type of

          18 information that one would find in a learned treatise or

          19 other type of hearsay that an expert often relies on.

02:32PM   20 This is, you know, a private conversation between two

          21 people, again that we had no opportunity to examine,

          22 where Dr. Koopman was interpreting an article that he was

          23 an author on but when he talked about it, he was talking

          24 about a former version of the article, a draft version

02:32PM   25 that was submitted for publication, edited, and then


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           1 published.     We relied on the published application -- the

           2 published article, your Honor.

           3               So, I think any testimony on which he relies

           4 on opinions of Dr. Koopman as opposed to -- unlike --

02:33PM    5 they cited to Rule 703 which really relates to facts and

           6 data, that type of hearsay.          That's not what Dr. Koopman

           7 was.    Dr. Koopman is opinion testimony, and they're

           8 trying to get that in through their expert Dr. Akl.

           9               THE COURT:     So, you are trying to restrict the

02:33PM   10 testimony -- or actually the opinions of Dr. Akl through

          11 this motion?

          12               MR. HADDAD:     Yes, your Honor.

          13               THE COURT:     And are you contending that the

          14 opinion is beyond the scope of Dr. Akl's expertise?

02:33PM   15               MR. HADDAD:     What I'm contending, your Honor,

          16 is that he sought out the expert opinion of another

          17 expert who hasn't given us an expert report -- who is a

          18 paid expert, by the way, and has been retained by the

          19 plaintiffs -- and we haven't seen an expert report and

02:34PM   20 it's unlike relying on facts and data.

          21               THE COURT:     You only get an expert report from

          22 someone who is going to testify.

          23               MR. HADDAD:     Yes, your Honor.       So, this was

          24 their way around it.        Get another opinion from someone

02:34PM   25 else.    And it's not as if he is relying on another piece


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           1 of, you know -- relying on a textbook, your Honor, to

           2 help him convey his opinions.          He's relying on the

           3 opinion of someone who said, "Well, I wrote another

           4 article and it got edited and that's what was published

02:34PM    5 and what I meant to say was" and interpreted -- is

           6 interpreting what he submitted that no one ever even saw.

           7 We don't even know what it was he submitted in draft

           8 form, and now he's trying to get that in through --

           9               THE COURT:     How would he get that in?

02:35PM   10               MR. HADDAD:     By a conversation that we

          11 don't --

          12               THE COURT:     Well, he -- over your objection,

          13 he's not going to be allowed to testify about his

          14 conversation with Dr. Koopman.           That would be hearsay.

02:35PM   15 He can't introduce hearsay evidence just because he

          16 relied upon it.

          17               Are you saying that you don't want him to be

          18 able to give the opinion that he formulated after

          19 consulting with Dr. Koopman?

02:35PM   20               MR. HADDAD:     I guess his own opinion where --

          21 if he's interpreting the article to mean one thing and we

          22 interpret the article to mean another thing, completely

          23 devoid of any reference to what an author of the article

          24 may have said or may not have said, I can't -- you know,

02:35PM   25 I can't control that, what he's going to interpret, if


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           1 it's within the scope of his report, other than what

           2 he's -- that conversation.         But if that opinion is based

           3 on that conversation, your Honor, then that opinion has

           4 to be excluded, too.

02:36PM    5               THE COURT:     I don't think so.       I think that an

           6 expert is entitled to consult other experts and he's

           7 entitled to consider matters that are inadmissible as

           8 long as they're the sorts of things that experts

           9 typically rely upon and certainly consulting other

02:36PM   10 experts is common.       They simply can't be the mouthpiece

          11 then to tell the jury what that other person said; but if

          12 you challenge their opinion, then they're entitled to

          13 support it by reference to whatever their sources were.

          14               MR. HADDAD:     Okay.    Your Honor, then we accept

02:37PM   15 that if they don't -- if we keep the testimony out

          16 relating to -- we're talking about Dr. Koopman right now.

          17               THE COURT:     And that -- the ruling would be

          18 that over your objection the plaintiff is not permitted

          19 to have Dr. Akl refer before the jury to what Dr. Koopman

02:37PM   20 told him.

          21               MR. HADDAD:     Okay.    Fair enough, your Honor.

          22               THE COURT:     He can offer his opinions,

          23 whatever they are; and then if you don't open the door by

          24 challenging his basis for that opinion, then he can't

02:37PM   25 provide it on cross.


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           1               MR. HADDAD:     Okay, your Honor.

           2               MR. ENGER:     Your Honor, I'd like to seek a

           3 brief point of clarification, if I may.

           4               THE COURT:     Go ahead.

02:38PM    5               MR. ENGER:     So, what Dr. Akl did with

           6 Dr. Koopman is exactly the same thing that Samsung's

           7 expert, Dr. Goodman, did with Mr. O'Hara.              He relied only

           8 upon a conversation that he had with Mr. O'Hara to form

           9 his opinion on public availability.

02:38PM   10               So, if you're going to make a rule that says

          11 you can't get into the substance of that conversation and

          12 the foundation of what he relied upon because that's

          13 hearsay for our expert Dr. Akl, the same rule should

          14 apply for Samsung's expert Dr. Goodman with respect to

02:38PM   15 O'Hara.

          16               THE COURT:     I didn't make the rule.         Believe

          17 it or not, it's in the Federal Rules of Evidence.                I'm

          18 just applying it when I get objections.             So, if you have

          19 an objection to what their expert is saying, you've got

02:38PM   20 to raise it.      And all I'm doing is ruling on their

          21 objection to your expert.         If you --

          22               MR. ENGER:     I just want to make sure we're

          23 playing by the same set of rules, your Honor, because

          24 what we're doing with Dr. Akl is exactly the same thing

02:39PM   25 that Samsung is doing with Dr. Goodman.             They're both


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           1 relying upon another expert to provide them information

           2 about, you know, prior art.           And if you're going to say

           3 that our expert Dr. Akl can't get into the substance, he

           4 can say he relied upon a conversation he had with Koopman

02:39PM    5 but not the substance of that, then the same should go

           6 for Samsung's expert Dr. Goodman.            He should be able to

           7 say he relied upon something Mr. O'Hara told him but not

           8 get into the substance of what Mr. O'Hara told him.

           9               THE COURT:     And if you present that objection,

02:39PM   10 it will get the same ruling.          We're going to apply the

          11 rules the same way.        But I don't have that objection

          12 before me right now.

          13               MR. ENGER:     Thank you, your Honor.

          14               MR. HADDAD:     Your Honor, there's a reason you

02:39PM   15 don't have that objection and that's because we are

          16 calling Mr. O'Hara live and, so, there is no hearsay

          17 issue with respect to Mr. O'Hara on whom Dr. Goodman will

          18 rely.

          19               THE COURT:     Okay.    Well, then, I won't be

02:39PM   20 looking forward to that objection.

          21               MR. HADDAD:     Okay.

          22               THE COURT:     So, No. 8 is granted to the extent

          23 that Dr. Akl will not be permitted to repeat what

          24 Dr. Koopman told him but he can rely upon it as a basis

02:40PM   25 for his opinion.


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           1                MR. SMITH:     Your Honor, if I could request a

           2 clarification.

           3                THE COURT:     Mr. Smith.

           4                MR. SMITH:     Previously you had said Dr. Akl

02:40PM    5 could not refer to what Mr. Koopman told him and I

           6 believe what the court just said was could not repeat and

           7 I wanted to make sure I was clear on what the court's

           8 ruling was.

           9                THE COURT:     I think that you're right.          I

02:40PM   10 meant refer to it.        He can rely upon it, but he can't

          11 refer to it.

          12                MR. SMITH:     Okay.

          13                THE COURT:     And I would --

          14                MR. ALAVI:     Your Honor?

02:41PM   15                THE COURT:     Yes.

          16                MR. ALAVI:     So I have a clarification, can the

          17 expert describe what he did, interviewed Dr. Koopman?

          18 Doesn't say what was said, doesn't refer to what was

          19 said, but just lays out the basis for his opinion.                    Which

02:41PM   20 he has to do for the record on appeal anyway.                You can't

          21 just stand up and give opinions without disclosing the

          22 basis for it.

          23                THE COURT:     Well --

          24                MR. ALAVI:     We don't want to run afoul of the

02:41PM   25 ruling.       So, I just wanted to make sure he can do that


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           1 without referring to or describing what was said to him.

           2               MR. SMITH:     Which would be making him the

           3 mouthpiece of the witness, as the court referred to,

           4 Factory Mutual Insurance versus Alon, Fifth Circuit,

02:42PM    5 705 F.3d 518.

           6               MR. ALAVI:     It's his own opinion.        He's

           7 saying, "What did you do to develop your opinion?"

           8               "I looked at this document.          I looked at this

           9 document.     I interviewed the author.         I did X and Y.        I

02:42PM   10 relied on my expertise."

          11               "And what's your opinion?"

          12               "My opinion is."

          13               That's not a mouthpiece because he's not

          14 repeating the hearsay conversation.            He's giving his

02:42PM   15 opinion, and he's letting the jury -- and more

          16 importantly the appellate court -- know what the basis

          17 for his opinion is so there's a full record that he has a

          18 basis for rendering the opinion that he renders.

          19               THE COURT:     If -- what I don't want is for you

02:42PM   20 to connect those two things closely together.               I don't

          21 think there's anything objectionable to Dr. Akl

          22 mentioning that he talked to Dr. Koopman, along with

          23 everything else he did; but if he says that he talked

          24 with Dr. Koopman and "In my opinion, here it is," I'll

02:43PM   25 consider that to be a violation of it and, you know, I


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           1 will let Judge Gilstrap know that and he will have to

           2 enforce that line.       But as long as you're simply

           3 mentioning talking to Dr. Koopman in connection with all

           4 the other work he did and not in connection with this one

02:43PM    5 opinion, then I don't believe you will have violated that

           6 rule.

           7               MR. ALAVI:     Thank you for the clarification,

           8 your Honor.

           9               THE COURT:     All right.

02:44PM   10               MR. SMITH:     Thank you, your Honor.

          11               THE COURT:     Thank you.

          12               MR. HADDAD:     Your Honor, there's the -- we

          13 also moved on this motion with respect to Mr. Kerry, a

          14 private conversation with Mr. Kerry.

02:44PM   15               THE COURT:     And the same ruling would apply to

          16 that.   Obviously if Mr. Kerry testifies at trial, then

          17 there's nothing wrong with Dr. Akl alluding to that

          18 testimony in connection with his opinion; but if Dr. --

          19 or if Mr. Kerry has not testified at the time of

02:44PM   20 Dr. Akl's testimony, then he should not make any

          21 statement that conveys Dr. -- or Mr. Kerry's statements

          22 to the jury.      Does that make sense?

          23               MR. HADDAD:     Yes, your Honor.

          24               THE COURT:     Okay.    All right.     That takes us

02:46PM   25 to No. 9.


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           1               MR. SHERWOOD:      Your Honor, we've withdrawn

           2 No. 9.

           3               THE COURT:     Okay.    That's good.

           4               What's the disposition of No. 10?

02:46PM    5               MR. ALAVI:     Your Honor, I'll let the

           6 defendants confirm this; but I think No. 10 was withdrawn

           7 as -- in the motion itself.

           8               THE COURT:     All right.

           9               MR. ALAVI:     I think it's an agreed -- so, let

02:46PM   10 me -- I'll let Mr. Haddad confirm this.             I think we

          11 agreed to No. 10; so, there's no briefing on it.                We just

          12 need to submit an agreed limine.

          13               THE COURT:     All right.      I see in the table of

          14 contents it refers to it has withdrawn.             Okay.

02:47PM   15               MR. ALAVI:     But to be clear, because I don't

          16 want to misrepresent anything to the court, it's

          17 withdrawn because it's agreed to; so, the parties need to

          18 submit agreed language to the court on the doctrine of

          19 equivalents.      It's going to be an agreed motion in

02:47PM   20 limine.

          21               THE COURT:     Okay.    And what is it going to

          22 agree to do?

          23               MR. ALAVI:     That Rembrandt will not argue

          24 doctrine of equivalents.

02:47PM   25               THE COURT:     Okay.


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           1               MR. ALAVI:     We'll put together some language

           2 that both sides agree to and submit it to the court.

           3 Sorry for the -- it's a little confusing but...

           4               THE COURT:     All right.      And No. 11 is one that

02:48PM    5 I would expect to grant.

           6               MR. SHERWOOD:      Your Honor, I take it I don't

           7 need to argue.

           8               THE COURT:     Well, not at this point.         You're

           9 ahead.

02:48PM   10               MR. SHERWOOD:      Okay.    I'll sit down, then.

          11               MR. HEIM:     Your Honor, Mike Heim for

          12 Rembrandt.

          13               THE COURT:     Yes, Mr. Heim.

          14               MR. HEIM:     Couple of things to note.         First of

02:48PM   15 all, as we said earlier, there have been ten IPRs filed

          16 in this case; and those IPRs, the PTO has reached a

          17 decision with respect to the asserted claims in this

          18 case.    The decisions in those IPRs are final decisions

          19 that are not appealable pursuant to 35 U.S.C., 314(d).

02:48PM   20 So, we have, you know, a unique situation here where

          21 Samsung, as the party who filed the IPRs, presented

          22 argument as to these trial claims that is identical to

          23 the arguments that they are making in this case.                It's

          24 the same references; it's the same arguments.               They're

02:49PM   25 submitting the same evidence.            They're submitting the


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           1 declarations from their expert, declarations from

           2 Mr. O'Hara that we just talked about.

           3               The Patent and Trademark Office, after

           4 receiving those ten different IPRs with respect to the

02:49PM    5 claims that we are asserting, has denied those IPRs; and

           6 the Patent and Trademark Office gave a very lengthy

           7 explanation of the two main prior art references that

           8 defendants were relying on.

           9               The first is a draft WiFi standard and the

02:49PM   10 Patent and Trademark Office ruled that that standard was

          11 not prior art; and as a result, it did not institute the

          12 IPR as to the IPRs that relied on that draft standard.

          13 That is a final decision.         The defendants requested

          14 reconsideration.       That was denied.

02:50PM   15               And, so, we have a situation first, as to the

          16 first piece of prior art, where they have fired their

          17 guns, they've gone off to IPRs, they filed all these

          18 proceedings, and they have lost.             It is part of the

          19 prosecution history in this case.             It is a final

02:50PM   20 decision.     It is the exact argument by the exact party in

          21 this case.

          22               They are going to get up at trial and they're

          23 going to argue that same reference again and they're even

          24 going to say that the Patent and Trademark Office hasn't

02:50PM   25 looked at it because they're going to refer to the


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           1 original prosecution, which is just blatantly wrong.                  We

           2 have an extensive file history, 15-page opinion from the

           3 Patent and Trademark Office, explaining exactly why the

           4 draft standard is not prior art.             That's the first piece

02:50PM    5 of prior art.

           6               The second piece of prior art is a patent by

           7 the name of "Boer."        They filed additional IPRs based on

           8 Boer.   With respect to those IPRs, the Patent and

           9 Trademark Office refused to institute proceedings as to

02:51PM   10 the trial claims based on Boer, again giving extensive

          11 rationale of why they were doing that.

          12               So, it's part of the record.          It's the

          13 argument made by this very party.             Same arguments, same

          14 evidence.     It has been denied by the Patent and Trademark

02:51PM   15 Office; and, your Honor, the jury is entitled to hear

          16 that evidence.      It says if it was an ex parte or

          17 inter partes reexamination, that is final.              And which the

          18 defendants have made all the arguments and they've lost

          19 and they want to start anew in the litigation.

02:51PM   20               So, for that reason, your Honor -- and there's

          21 been fairly extensive briefly on this -- we think that

          22 this is a unique situation because of the fact that it's

          23 the same party, Samsung, making the same arguments with

          24 the same evidence.

02:51PM   25               THE COURT:     Mr. Heim, you know, up until I


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           1 guess a couple hours ago, I was not aware that the

           2 plaintiff was no longer asserting the claims as to which

           3 the IPR was instituted; and the situation there is that

           4 the court has in the past simply kept out all the

02:52PM    5 references on both sides.         What you're presenting is a

           6 little different situation here.

           7               MR. HEIM:     Yes, your Honor.       In the Droplets

           8 case, you have a situation where both sides were

           9 selectively trying to keep things out of reexamination

02:52PM   10 for covered business method.          That's not the case here.

          11 We have a final decision on the trial claims.

          12               THE COURT:     Well, I can certainly understand

          13 the concern that if the defendants are going to argue to

          14 the jury that the PTO never had an opportunity to examine

02:52PM   15 that art, that that would raise a serious question in

          16 view of the fact that it has been presented to the PTAB.

          17               MR. HEIM:     And it goes beyond that, your

          18 Honor.    What you've heard earlier today is they want to

          19 get the record out and say they've given up on these

02:53PM   20 claims or there's all this history, including disclaimers

          21 that occurred in the IPRs.         So, what they want to do is

          22 give a completely one-sided picture of what has gone on

          23 in these IPRs when, in fact, the most dispositive, the

          24 most clear picture here is that they made their

02:53PM   25 arguments, they took their shot, and they lost.


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           1               THE COURT:     There's still proceedings going on

           2 in the PTAB in connection with this IPR on the claims

           3 where it was not instituted.          Tell me what your view of

           4 those is.

02:54PM    5               MR. HEIM:     Yes.   Let me just break it up for a

           6 second, your Honor.

           7               First of all, we have the IPR proceedings that

           8 are based primarily on the WiFi standard.              As far as I

           9 understand it, those are done.           You know, that's a

02:54PM   10 situation where they denied institution of the IPR.

          11 There has been a request for reconsideration.               That has

          12 been denied.      I don't believe that's an appealable

          13 decision.     So, we're done.

          14               So, then there's the other IPRs in which

02:54PM   15 they've used the Boer reference.             And in that case, some

          16 of the claims, the trial claims, they did not institute

          17 the IPR; and then there are other claims on which they

          18 did institute the IPR.        The only thing of course that we

          19 would use is the PTO's decision with respect to the

02:54PM   20 failure to institute as to the trial claims.

          21               Now, they have filed new IPRs -- and we're not

          22 going to get into those -- where they're trying to join,

          23 trying to make other arguments.           But with respect to the

          24 final decision that occurred with respect to the Boer

02:55PM   25 reference on the trial claims, your Honor, we believe


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           1 that's final, that's done.

           2               THE COURT:     So, which claims -- was that Boer

           3 reference asserted against all of the claims that you're

           4 currently asserting?

02:55PM    5               MR. HEIM:     Yes, your Honor, it was.         And other

           6 claims as well which the PTO instituted.             But with

           7 respect in particular to the trial claims, they

           8 petitioned for an IPR in those claims and that petition

           9 was denied and the IPR was not instituted on those

02:55PM   10 claims, '580 claims 2, 19, 52, 59 and '228 patent

          11 claim 21.

          12               And let me just raise one other point, your

          13 Honor.    In this case, of course, the invalidity case,

          14 they're going to have to prove their case by clear and

02:56PM   15 convincing evidence.        They face a lesser standard at the

          16 Patent and Trademark Office.          It's a reasonably

          17 likelihood.     Some have compared to a substantial

          18 evidence -- a preponderance of the evidence -- I'm

          19 sorry -- preponderance of the evidence standard.                They

02:56PM   20 lost on that.      On a lesser standard at the IPR, they

          21 lost.

          22               At trial they have a greater standard.             They

          23 have clear and convincing evidence, and for that

          24 additional reason we believe that it's relevant for the

02:56PM   25 jury to hear this.


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           1               THE COURT:     Are there other references that

           2 are being asserted besides the Boer reference?

           3               MR. HEIM:     Your Honor, so, there was the draft

           4 WiFi standard which the Patent and Trademark Office found

02:56PM    5 was not prior art.        That's a set of their IPRs.         The

           6 other set is based primarily on Boer.            So, that's the

           7 general focus of the IPR.         There are some secondary

           8 references or prior art that's mentioned as secondary,

           9 but it's identical to what Dr. Goodman is doing in this

02:57PM   10 case.   And they submitted a declaration from Dr. Goodman

          11 that lays out virtually the same arguments, if not the

          12 identical arguments.

          13               THE COURT:     And is there other prior art

          14 that's being asserted in support of the invalidity case

02:57PM   15 in court?

          16               MR. HEIM:     Your Honor, there are two

          17 additional -- one or two, depending on how you count --

          18 two additional pieces of prior art that they are

          19 asserting; and, your Honor, their basis of asserting

02:57PM   20 those -- and there is actually a motion to strike that

          21 because it was raised late.          But those additional pieces

          22 of prior art are based exclusively on their argument that

          23 these patents are not entitled to their priority date.

          24 It is essentially a priority date attack that they're

02:57PM   25 making with respect to these other two references.


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           1               With respect to the substance, the 102/103

           2 substance, and giving effect to the priority date, those

           3 are the only two references, the same two references that

           4 were the subject of the IPRs.

02:58PM    5               THE COURT:     All right.      Thank you, Mr. Heim.

           6               MR. HEIM:     Thank you, your Honor.

           7               MR. SHERWOOD:      Your Honor, I take it you want

           8 to hear argument now.

           9               THE COURT:     Yes, I do.

02:58PM   10               MR. SHERWOOD:      So, first of all, your Honor, I

          11 think -- and this I suspect might have been the court's

          12 initial reaction to this issue.           This brings us into a

          13 whole set of collateral inquiries about what an IPR is,

          14 what the standards are, who makes the decision, what the

02:58PM   15 procedures are, what the PTAB follows with respect not to

          16 the merits of the issues but to whether an IPR ought to

          17 be instituted; and that is actually on, as the court well

          18 knows, a submission that is made by the petitioner to the

          19 PTAB.   So, there are a variety of issues here that I

02:59PM   20 think are collateral to the issues that the jury is going

          21 to decide; and as we have indicated, we think it's --

          22 particularly in a timed trial like this, it's a highly

          23 prejudicial thing to be forced to spend time with that.

          24               I also want to point out that specifically

02:59PM   25 with respect to the Boer reference, you know, what's been


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           1 going on here is that the IPRs have had a significant

           2 amount of success here in the sense that the number of

           3 claims that are not subject to trial has -- you know, the

           4 number of claims that are being tried at the PTAB, I

02:59PM    5 should say, is significant.          They've disclaimed.        They've

           6 dropped the ones.       I mean, so, we get into a whole issue

           7 of saying, "Well, we would want to tell the jury all

           8 about that, too," to explain to the jury all of the

           9 navigation that is going off by the plaintiff to try to

03:00PM   10 avoid what is going on in PTAB.           So, that's yet another

          11 aspect of this kind of collateral burdensome thing that

          12 if this wasn't granted, you know, the jury would be

          13 subjected to.

          14               Second of all, as the court has pointed out,

03:00PM   15 all of these claims are subject to pending proceedings

          16 before the PTAB.       And to me, this takes us right back to

          17 the argument that I made earlier today with respect to

          18 the motion to stay.       The sensible, streamlined thing

          19 would be to say, okay, let's actually let the PTAB finish

03:00PM   20 its process before we take any of this up.              And I

          21 understand the court has decided not to do that.                The

          22 plaintiff has opposed a stay; and, yet, now they want to

          23 talk about PTAB proceedings that everybody understands

          24 are not complete and that Samsung is, in fact, still

03:01PM   25 exercising its rights with respect to those.


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           1               THE COURT:     Well, tell me about the status

           2 with respect to the two references, the Boer reference

           3 and the draft WiFi standard.

           4               MR. SHERWOOD:      Well, so, your Honor, with

03:01PM    5 respect to the draft WiFi standard, to take that first,

           6 if the court looks at the decisions that Rembrandt

           7 attached to its opposition, those decisions are simply

           8 focused on one question; and that is whether that draft

           9 standard qualified as a printed publication.              And that's

03:01PM   10 not a decision on anything more than that.              It's not a

          11 decision on anticipation; it's not a decision on

          12 obviousness.      It's a decision on whether the petition as

          13 presented to the PTAB provided sufficient evidence in

          14 view of the PTAB, the three judges, as to whether it was

03:01PM   15 publicly accessible.        And, you know, there again, your

          16 Honor, I think we just get into a collateral, you know,

          17 prejudicial process and debating and litigating and

          18 arguing that.

          19               With respect to the Boer reference, that is

03:02PM   20 the reference upon which the PTAB did institute trial

          21 with respect to many of these claims.            That is obviously

          22 one of the two primary references that we're asserting

          23 here that -- with the 802.11 standard.             And we have

          24 various combinations that are in our expert's report.

03:02PM   25 They've taken depositions on that; and, you know, that's


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           1 all part of the record of the case at this point.

           2               There is not a complete identity with respect

           3 to the issues and the arguments that were presented to

           4 the PTAB and those that are going to be presented to the

03:02PM    5 jury.   Just by way of one example, we have a piece of

           6 prior art that we refer to as a "press release" that's

           7 actually issued contemporaneous -- or more or less

           8 contemporaneous, I should say, with the Boer reference.

           9 So, that is a combination that was not presented to the

03:03PM   10 PTAB that is a part of our case here.

          11               Have I answered your question about the two

          12 references, your Honor?         I'm not sure what else you

          13 wanted to know about them.

          14               THE COURT:     Are you going to make an argument

03:03PM   15 to the jury that the PTO did not look at one of these

          16 references?

          17               MR. SHERWOOD:      Well, your Honor, that's an

          18 interesting question.        I do appreciate the point with

          19 respect to saying that the PTO never saw, for example,

03:03PM   20 the draft standard, when we know there obviously was an

          21 IPR filed with respect to that; but again I go back to

          22 the point that that was not a decision on the merits with

          23 respect to any 102 or 103 issue.

          24               As Mr. Heim said, that decision is not

03:04PM   25 appealable.     We have no way to challenge the accuracy of


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           1 that other than to do what we've done, which is to file

           2 new IPRs.

           3               Now, the new IPRs have been filed on Boer, not

           4 on the 802.11 standard, just to be clear on that point,

03:04PM    5 your Honor.

           6               THE COURT:     Are you familiar with any

           7 jurisprudence dealing with the admissibility of decisions

           8 not to institute IPRs?

           9               MR. SHERWOOD:      Well, your Honor, we have cited

03:04PM   10 a couple of cases in our brief, specifically the Droplets

          11 case and the Interdigital case.           The Droplets case, as I

          12 understand it, does not contain any analysis, so to

          13 speak, of this issue.        The court is smiling.        I think the

          14 court may be more -- I'm sure is more aware of it than I

03:05PM   15 am.

          16               THE COURT:     I did know what the analysis was.

          17               MR. SHERWOOD:      It's probably what you were

          18 thinking when we took this one up.

          19               And as I said, we have cited the Interdigital

03:05PM   20 case; and I think the analysis there is essentially what

          21 I'm saying, which is that we're going to go off on a

          22 frolic here talking at length about the IPR process and

          23 issues and what the standard is.             I mean, Mr. Heim made

          24 reference to the standard.         The standard is a reasonable

03:05PM   25 likelihood that the petitioner would prevail with respect


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           1 to at least one of the claims challenged in the petition.

           2 And that is a different standard.            I agree, your Honor.

           3 But that is not a resolution, as I said before, with

           4 respect to anticipation or obviousness.

03:05PM    5               And what will happen here, though, is that the

           6 jury will get confused about what the PTAB actually did

           7 decide with respect to 802.11 in particular, the one that

           8 they attached to their papers, and what the issue is

           9 that's before it.

03:06PM   10               Now, we're going to have testimony; we're

          11 going to have evidence about that precise issue of public

          12 accessibility.      So, that's all going to be before the

          13 court; and it's going to be before the court in a much

          14 more robust and complete way than it was ever before the

03:06PM   15 PTAB.

          16               THE COURT:     All right.

          17               MR. SHERWOOD:      Your Honor, I mean, I just

          18 would add I think this is a really highly prejudicial

          19 thing to allow this to come in and for the jury to hear

03:06PM   20 this.   I think the court can understand that.

          21               THE COURT:     I think it is evidence that would

          22 carry significant weight with the jury and that's the

          23 reason why I think it's important to get it right and I

          24 think because this -- the posture of this has changed

03:06PM   25 since I looked at it yesterday, now that there has been a


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           1 change in the asserted claims, I want to look at the

           2 Interdigital case I guess and, anyway, give it some more

           3 thought.      But I'm -- I am concerned that even if the

           4 decision is not to admit this, that it would open the

03:07PM    5 door if the defendant makes an argument to the jury that

           6 it's not -- that the reference has not been seen by the

           7 PTO.    But in any event, I'll carry this one at this time;

           8 and I appreciate your argument.

           9               MR. SHERWOOD:      Thank you, your Honor.

03:07PM   10               That might be our last one -- oh, is there one

          11 more?    Okay.

          12               THE COURT:     I think that No. 12 has been

          13 granted by agreement, is my understanding.

          14               MS. BIANROSA:      Yes, your Honor.       We're on

03:08PM   15 Motion in Limine No. 13, to exclude any mention of

          16 spoliation or a destruction of documents.

          17               Rembrandt has been using the term "destroyed"

          18 with respect to these PICs documents but they don't have

          19 any evidence that any documents were in fact destroyed

03:08PM   20 and that type of accusation in front of the jury is

          21 highly prejudicial.        Rembrandt can't point to any

          22 documents or testimony that it got during discovery of

          23 Samsung's destruction of any documents, and exploration

          24 into that area again at trial is not going to prove to be

03:08PM   25 any more fruitful and will only serve to be prejudicial


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           1 and color the jury with inappropriate accusations of

           2 Samsung.

           3               And just to go into what those PICs documents

           4 are, some of those PICs documents may never have even

03:09PM    5 been created for certain products.            Where the PICs

           6 documents exist, Rembrandt has them.            And there are a lot

           7 of reasons why some PICs documents may not exist.                Like,

           8 for example, they may rely on an earlier version of

           9 certain products or they may rely on the Bluetooth chip

03:09PM   10 vendor certification of Bluetooth and in those cases

          11 there wouldn't be any PICs documents.

          12               But Samsung went to six different companies in

          13 Korea to get the PICs documents that are produced, and it

          14 produced what we received from the vendors.              Any

03:09PM   15 allegation that there was a contractual obligation to a

          16 third party, it's really irrelevant here to the issue of

          17 spoliation.     Samsung did in fact comply with its

          18 contractual obligations and its vendors that do the

          19 testing maintain those testing records and those are the

03:10PM   20 documents that we produced.

          21               In addition, spoliation doesn't exist here

          22 because the obligation to preserve those documents only

          23 arises at a time when the party knows that there was a

          24 claim against it -- so, here the March, 2013,

03:10PM   25 complaint -- and Rembrandt doesn't have any evidence of


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           1 destruction and can't connect any of its claims to a time

           2 when Samsung knew that it had an obligation to preserve.

           3               Rembrandt actually examined a Samsung witness

           4 on this very issue, Mr. Kim; and he said that if Samsung

03:10PM    5 ever heard that their Bluetooth certification companies

           6 destroyed documents, Samsung in fact would never use that

           7 company again.

           8               And Rembrandt cites cases in its opposition to

           9 this motion in limine.        Rembrandt's own cases state that

03:11PM   10 for an adverse inference instruction based on spoliation,

          11 the proponent must establish that the evidence was

          12 destroyed and that it was destroyed with a culpable state

          13 of mind.      And Rembrandt hasn't shown any of those here,

          14 your Honor.      There's no evidence of destruction, and

03:11PM   15 there's certainly no evidence that goes to a state of

          16 mind.

          17               THE COURT:     Well, you are seeking to prevent

          18 them from offering evidence on it because you don't

          19 believe they have enough evidence.

03:11PM   20               MS. BIANROSA:      We don't believe there's any

          21 evidence, your Honor.        We are trying to exclude any

          22 mention or argument even as to spoliation because it

          23 would be highly prejudicial in front of the jury.

          24               THE COURT:     All right.      Let me hear from the

03:12PM   25 plaintiff.


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           1               MR. ENGER:     Your Honor, this case is all about

           2 Bluetooth and how Samsung's products implement Bluetooth.

           3 So, it should come as no surprise to Samsung that one of

           4 the most important pieces of evidence in this case would

03:12PM    5 be the testing data that Samsung generates as part of

           6 confirming that its products adhere to Bluetooth; these

           7 protocol implementation conformance statements, or PICs,

           8 which Samsung fills out based upon that testing data that

           9 explains how its products implement Bluetooth; and,

03:12PM   10 three, this declaration of compliance that Samsung fills

          11 out where Samsung certifies that it adheres to the

          12 Bluetooth specification and promises to keep all this

          13 testing data, all these PICs in a, quote/unquote,

          14 compliance folder that it maintains at an address, which

03:13PM   15 was put down as Samsung's own address.

          16               Samsung doesn't dispute that it doesn't have

          17 these compliance folders with the testing data, the PICs,

          18 and the declarations of compliance for about half of its

          19 products.     This is not only a violation of the court's

03:13PM   20 discovery obligations but it's also a violation of the

          21 Bluetooth membership agreement.

          22               You heard argument that we didn't have any

          23 evidence of destruction.         That's not true.       I deposed

          24 Samsung's corporate representative, Jun Hak Lim, at

03:13PM   25 length about this issue; and he testified that despite


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           1 being obligated to maintain the compliance folders and

           2 despite telling the Bluetooth SIG that it maintained the

           3 compliance folders at its corporate headquarters, at the

           4 address of Samsung's corporate headquarters, that Samsung

03:13PM    5 or its -- what Samsung actually did was delegate that

           6 third-party testing data to the third-party test labs.

           7 And then when it became apparent that the compliance

           8 folders were important to this issue, so much so that

           9 Rembrandt had to file a motion to compel, Samsung tried

03:13PM   10 to get these compliance folders from the test labs but

          11 they could not get them.         This strongly suggests that

          12 they were destroyed.

          13               Samsung's corporate representative on this

          14 topic did virtually no investigation.            And that's why

03:14PM   15 they claim that we don't have any discovery on this, is

          16 because they refused to educate their corporate

          17 representative on how they were destroyed.

          18               At the end of the day, your Honor, the jury

          19 should be permitted to hear evidence related to Samsung's

03:14PM   20 document retention practices and decide whether and to

          21 what extent relevant evidence has been lost in this case

          22 due to those practices.

          23               THE COURT:     All right.      Thank you, Mr. Enger.

          24               MS. BIANROSA:      Your Honor, this kind of

03:14PM   25 prejudicial language is really what we are trying to


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           1 avoid in front of the jury.          Mentioning that Samsung

           2 refused to instruct its witness on how it destroyed

           3 documents presupposes the fact that there was any

           4 destruction to begin with.

03:14PM    5               Samsung is not going to allege that Rembrandt

           6 can't prove infringement because they don't have the

           7 Bluetooth PICs documents for certain products.               And, in

           8 fact, Samsung admitted that its accused products comply

           9 with the Bluetooth standard and the PICs documents would

03:15PM   10 only confirm that and add nothing else to Rembrandt's

          11 case.

          12               THE COURT:     Mr. Enger, tell me how these

          13 documents that you're -- it's a worthwhile issue.                If

          14 you're going to be arguing that these documents should

03:15PM   15 have been presented, what would they have added to your

          16 case?

          17               MR. ENGER:     Well, your Honor, the compliance

          18 folders for each one of these products is a stack of

          19 paper maybe 8 inches tall.         There's a lot of testing data

03:15PM   20 in there, there's these PICs, and there's the declaration

          21 of compliance.      What we don't have is the testing data

          22 and the declaration of compliance.            That information you

          23 cannot get from the Bluetooth SIG's website.              The only

          24 place to get it was from Samsung.            Those have been

03:15PM   25 destroyed.     We don't have those; and that's crucial


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           1 evidence that we could use to prove up our infringement

           2 case, your Honor.

           3               THE COURT:     Tell me how.

           4               MR. ENGER:     Well, they show exactly how the

03:16PM    5 products implement the Bluetooth specification.               They

           6 show exactly that Samsung declares compliance with that

           7 specification.      They show exactly, you know, the manner

           8 in which Samsung implements Bluetooth and all the

           9 different functionality that their products have that are

03:16PM   10 Bluetooth related.

          11               Plus, your Honor, as I mentioned, there was,

          12 you know, 8 inches of paper per compliance folder per

          13 product.      You know, who knows what we might have found in

          14 there.     That's entirely why this issue is important and

03:16PM   15 why we're entitled to this adverse inference instruction.

          16               THE COURT:     Well, whether or not you get an

          17 adverse inference instruction is something that would be

          18 determined at the end of the evidence.             So, I don't see

          19 that as the issue on this motion.            This is simply whether

03:17PM   20 or not you can present to the jury the evidence about

          21 these documents.

          22               Ms. BianRosa has argued that the fact that

          23 Samsung stipulates that it complied with the Bluetooth

          24 standard lessens the importance of this.             What do you say

03:17PM   25 to that?


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           1               MR. ENGER:     I would agree it lessens the blow;

           2 but it doesn't eliminate it, your Honor.             Who knows what

           3 we would have found in those big compliance folders.                  We

           4 don't have the testing data to be able to show the jury

03:17PM    5 exactly what Dr. Morrow considered for infringement, and

           6 we don't have the declaration of compliance which

           7 explains and certifies the compliance with the Bluetooth

           8 specification.

           9               THE COURT:     All right.      Well, I'm --

03:17PM   10               MS. BIANROSA:      Your Honor, if I could just

          11 add.   From all of the PICs documents that were produced,

          12 Rembrandt still hasn't articulated here what was so

          13 important in those 8 inches of documents that it would

          14 use from the PICs documents that it is alleging are

03:18PM   15 missing now.

          16               MR. ENGER:     With all due respect, that's not

          17 true, your Honor.       I said we would use the testing data

          18 to show exactly how the products comply with the

          19 Bluetooth specification.

03:18PM   20               THE COURT:     Well, I'm going to grant this

          21 motion to a limited extent; and that is that I'm going to

          22 direct that you not make any argument to the jury in your

          23 voir dire or opening about spoliation.             But I'll allow

          24 you to explore whether or not the defendant has

03:18PM   25 maintained and produced the records that you believe that


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           1 they're required to regarding Bluetooth, and you can

           2 address that matter with the court before your closing

           3 arguments as to whether or not there's a basis to argue

           4 spoliation to the jury at that time.

03:19PM    5               MR. ENGER:     So, to be very clear, we can

           6 present evidence showing that there was destruction but

           7 we cannot ask for an adverse inference until the very

           8 end.

           9               THE COURT:     Well, you can present evidence as

03:19PM   10 to whether or not the documents exist.             "Destruction" is

          11 a conclusory term that I think needs to not be used until

          12 you've got the evidence in about it.            Does that make

          13 sense?

          14               MR. ENGER:     So, to be clear, all this evidence

03:19PM   15 will come from a deposition of a Samsung Korean witness

          16 which we can't -- they're not bringing the Korean witness

          17 to trial, and we don't have time to go back and take

          18 another deposition.        So, does it make sense whenever we

          19 do the deposition designations to go through pages 100

03:19PM   20 through 108 of Lim's deposition and get some more

          21 guidance on whether or not we can use that particular

          22 evidence at the time?

          23               THE COURT:     If there's objections to it,

          24 certainly we'll go through it.           But what I'm -- I'm

03:20PM   25 simply at this point granting this motion as to argument,


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           1 not as to evidence.

           2               MR. ENGER:     Understood.

           3               THE COURT:     Okay.    All right.

           4               And I think we've already dealt with No. 14.

03:20PM    5               MR. SHERWOOD:      That's correct, your Honor.

           6               THE COURT:     All right.      What other issues

           7 besides the -- I know there's some pending motions that

           8 need to be addressed by the court.

           9               Are there other issues that either side wants

03:21PM   10 to present today?

          11               MR. ALAVI:     Your Honor, I think, taking

          12 guidance from the court, we'll defer the exhibits and the

          13 depo designations until February 2nd so that we can have

          14 another opportunity to meet and confer and see if we can

03:21PM   15 reduce the scope of objections.           So, from the plaintiff's

          16 perspective, we have nothing further -- oh, I'm sorry.

          17 Mr. Ward has something.

          18               MR. WARD:     One thing, your Honor.        And

          19 Mr. Smith and I talked before lunch about Samsung

03:21PM   20 potentially limiting its prior art references like we've

          21 limited our claims.        I didn't know if the court had a

          22 practice where if we don't reach an agreement, the court

          23 enters an order.       Obviously we're trying to get things

          24 streamlined as we get down for trial.            We haven't had a

03:21PM   25 chance to discuss that.         So, I know -- maybe we can take


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           1 a break and then come back and hopefully articulate some

           2 type of agreement on the record.             If not, maybe get some

           3 guidance from your Honor.

           4               MR. SMITH:     Your Honor, I think you just heard

03:22PM    5 what our invalidity argument is, how limited the

           6 references are in our expert's report.             It's down to --

           7 we received a request yesterday to try and cut it down

           8 from I think 40 that were in our '282.             It is cut down to

           9 I think somewhere -- 10 or 12 in the expert's report.

03:22PM   10 But it's what you've just heard of.             We think it's been

          11 cut down sufficiently.        It may or may not be cut down

          12 further.      We don't know that and I can't represent

          13 whether it will or won't, but at this point I don't know

          14 that we're -- that there are any additional changes that

03:22PM   15 we're going to make to it.

          16               THE COURT:     All right.      Well, I'd ask you just

          17 to finish out this conversation between the two sides.

          18               And then, Mr. Ward, if you've got something

          19 that you want to seek from the court, you can present it

03:22PM   20 at that time.

          21               MR. WARD:     Sure.

          22               THE COURT:     With respect to the exhibits and

          23 the deposition designations, I would like to get updated

          24 lists before the February 2 hearing.             I want to -- I

03:23PM   25 guess, frankly, if you'll just bring them to the hearing.


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           1 I just want to have an up-to-date list to go from at that

           2 time.     It won't do me any good to have them in advance;

           3 but if I don't have them at the hearing, it will be very

           4 hard for us to make a record of what the decisions are as

03:23PM    5 we go through.

           6               So, if you could just, each side, bring an

           7 up-to-date list of their exhibit objections and their

           8 deposition designation objections, we'll go from there on

           9 the 2nd.

03:23PM   10               And I --

          11               MR. JENNER:     I beg your pardon, your Honor.

          12 Did you set a time for February 2nd?

          13               THE COURT:     I don't know that I did.         Is there

          14 a preference?      I know some of you are coming in, if it

03:24PM   15 helps you to do it in the afternoon.            It doesn't really

          16 matter to me whether we start at 1:00 or at 9:00.

          17               MR. ANAIPAKOS:      Your Honor, I will note for

          18 the record the Super Bowl is the night preceding.

          19               MR. JENNER:     My wife would be very happy if I

03:24PM   20 got on an airplane early Monday morning instead of

          21 Sunday.

          22               THE COURT:     What time would accommodate your

          23 wife?

          24               MR. JENNER:     That's always difficult and

03:24PM   25 dangerous.     Whatever your Honor considers the afternoon


                                   Tonya B. Jackson, RPR-CRR
                                           409.654.2833
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                                                                                   187
           1 start, 1:00 o'clock, 1:30, I think we can get here by

           2 then.

           3               THE COURT:     Why don't we say 1:30, and you can

           4 tell Mrs. Jenner we did that just for her.

03:24PM    5               MR. JENNER:     I will make a point of that.

           6               THE COURT:     All right.      And if the Saints were

           7 in the Super Bowl, we'd be starting later; but they're

           8 not.

           9               All right.     Well, then, is there anything

03:24PM   10 further that either side needs?

          11               Mr. Smith?

          12               MR. SMITH:     Nothing from the defendants, your

          13 Honor.

          14               THE COURT:     Mr. Ward?

03:24PM   15               MR. WARD:     Nothing from the plaintiff.

          16               THE COURT:     All right.      Then we're in recess.

          17               (Proceedings adjourned, 3:25 p.m.)

          18

          19 COURT REPORTER'S CERTIFICATION

          20               I HEREBY CERTIFY THAT ON THIS DATE,

          21 JANUARY 22, 2015, THE FOREGOING IS A CORRECT TRANSCRIPT

          22 FROM THE RECORD OF PROCEEDINGS.

          23

          24

          25                               /s/
                                         TONYA JACKSON, RPR-CRR

                                   Tonya B. Jackson, RPR-CRR
                                           409.654.2833
